                                             Case 2:17-cv-08894-JFW-JEM Document 1 Filed 12/11/17 Page 1 of 97 Page ID #:1

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                                              13                      UNITED STATES DISTRICT COURT
             Los Angeles, California 90017
               617 W. 7th St., Suite 702




                                              14                     CENTRAL DISTRICT OF CALIFORNIA
                   (213) 550-4020
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                                              15                                                CASE NO.
                                                 HOWARD L. ABSELET, an individual; and
                                              16 ISRAEL ABSELET, an individual,                 COMPLAINT (1) TO QUIET
                                                              Plaintiffs,                       TITLE (TWO COUNTS); AND
                                              17                                                (2) FOR CONSPIRACY TO
                                                         vs.                                    CHILL BIDDING
                                              18

                                              19   ELKWOOD ASSOCIATES, LLC, a
                                              20   California limited liability company;
                                                   FIELDBROOK, INC., a California
                                              21   corporation; RELIABLE PROPERTIES, a
                                              22   California corporation; J.P. MORGAN
                                                   CHASE BANK, N.A., a national banking
                                              23   association; FEREYDOUN DAYANI, an
                                              24   individual; SODA PARTNERS, LLC, a
                                                   California limited liability company;
                                              25   DMARC 2007-CD5 GARDEN STREET,
                                              26   LLC, a Delaware limited liability company;
                                                   JACK NOURAFSHAN, an individual;
                                              27   CITIVEST FINANCIAL SERVICES, INC.,
                                              28   a Nevada corporation; JOHN MALAKZAD,
                                                   an individual; NOOSHIN MALAKZAD, an

                                                                                     -1-
                                                                         COMPLAINT TO QUIET TITLE ETC.
                                             Case 2:17-cv-08894-JFW-JEM Document 1 Filed 12/11/17 Page 2 of 97 Page ID #:2

                                                   individual; J.P. MORGAN CHASE
                                               1
                                                   CUSTODY SERVICES, INC., a Delaware
                                               2   corporation; QUALITY LOAN SERVICE
                                                   CORPORATION, a California corporation;
                                               3
                                                   DAVID K. GOTTLIEB, as trustee of the
                                               4   bankruptcy estates of Massoud Aaron
                                               5
                                                   Yashouafar and Solyman Yashouafar; and
                                                   DOES 1 through 50, inclusive,
                                               6
                                                                        Defendants.
                                               7

                                               8
                                                          Plaintiffs Howard L. Abselet (“Howard 1”) and Israel Abselet (“Israel,” and
                                               9
                                                   together with Howard, “Plaintiffs”) allege for their Complaint as follows:
                                              10

                                              11
                                                                                               I.
                                              12
                                                                              JURISDICTION AND VENUE
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                                              13
                                                          1.     This Court has, and may exercise, original subject matter jurisdiction
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                                              14
                                                   over this matter under its ancillary/supplemental jurisdiction, because Howard
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                                              15
                                                   brings this action to enforce his rights, and to collect the sums due to him, pursuant
                                              16
                                                   to that Second Amended Judgment entered on or about August 10, 2012, as Docket
                                              17
                                                   No. 477 in that case entitled Howard L. Abselet v. Allied Lending Group, Inc. et
                                              18
                                                   al., Case No. 2:11-cv-00815-JFW(JEMx) in this Court (the “Underlying Action”),
                                              19
                                                   and, in particular, to enforce his rights under an abstract of judgment that this Court
                                              20
                                                   issued in the Underlying Action and that Howard recorded against the real property
                                              21
                                                   that is the subject of this action.
                                              22
                                                          2.     Venue is proper in this District under 28 U.S.C. § 1391(a) because
                                              23
                                                   certain of the defendants reside in this District, a substantial part of the events
                                              24
                                                   related to the claims occurred within this District, and the real property that is the
                                              25
                                                   subject of this action is located in this District.
                                              26

                                              27
                                                   1
                                              28         Plaintiffs use first names as to certain parties to avoid confusion, not out of
                                                   disrespect.

                                                                                        -2-
                                                                            COMPLAINT TO QUIET TITLE ETC.
                                             Case 2:17-cv-08894-JFW-JEM Document 1 Filed 12/11/17 Page 3 of 97 Page ID #:3

                                               1

                                               2                                            II.
                                               3                      PARTIES AND RELEVANT NON-PARTIES
                                               4   A.    Plaintiffs
                                               5         3.     Howard is citizen and a resident of the State of New York and
                                               6   domiciled in Port Jefferson Station, New York.
                                               7         4.     Israel is a citizen and a resident of the State of New York and
                                               8   domiciled in Port Jefferson Station, New York.
                                               9   B.    The Yashouafars
                                              10         5.     Plaintiffs are informed and believe, and on that basis allege, that Non-
                                              11   Party Solyman Yashouafar (“Solyman”) is a citizen and a resident of the State of
                                              12   California and domiciled in this District. Solyman is the debtor in that bankruptcy
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                                              13   case entitled In re Solyman Yashouafar, Case No. 1:16-bk-12255-GM, pending in
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                                              14   the United States Bankruptcy Court for the Central District of California. Plaintiffs
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                                              15   are further informed and believe, and on that basis allege, that Solyman, as trustee
                                              16   of the Solyman and Soheila Yashouafar 2004 Trust dated March 8, 2004 (the
                                              17   “Solyman Family Trust”), was the owner of that real property commonly known as
                                              18   580 Chalette Drive, Beverly Hills, CA, and more specifically described in Exhibit 1
                                              19   to this Complaint, which is incorporated in this Complaint as though set forth in full
                                              20   (the “Chalette Home”). Plaintiffs are further informed and believe, and on that
                                              21   basis allege, that Solyman, as trustee of the Solyman Family Trust, remained the
                                              22   owner of the Chalette Home until an order for relief was entered in Solyman’s
                                              23   bankruptcy (at which time his bankruptcy estate became the owner of the Chalette
                                              24   Home) because, as alleged below, a purported foreclosure on the Chalette Home,
                                              25   which purported to extinguish the interest of the Solyman Family Trust in the
                                              26   Chalette Home, was void.
                                              27         6.     Plaintiffs are informed and believe, and on that basis allege, that Non-
                                              28   Party Massoud Aaron Yashouafar (“Massoud”) is a citizen and a resident of the

                                                                                       -3-
                                                                           COMPLAINT TO QUIET TITLE ETC.
                                             Case 2:17-cv-08894-JFW-JEM Document 1 Filed 12/11/17 Page 4 of 97 Page ID #:4

                                               1   State of California and domiciled in this District. Solyman and Massoud (together,
                                               2   the “Debtors”) are brothers. Massoud is the debtor in that bankruptcy case entitled
                                               3   In re Massoud Aaron Yashouafar, Case No. 1:16-bk-12408-GM, pending in the
                                               4   United States Bankruptcy Court for the Central District of California, which is
                                               5   being jointly administered with Solyman’s bankruptcy. Plaintiffs are further
                                               6   informed and believe, and on that basis allege, that Massoud, as trustee of the
                                               7   Massoud and Parinaz Yashouafar 2003 Trust, u/d/t June 18, 2003 (the “Massoud
                                               8   Family Trust”), was the owner of that real property commonly known as 910 North
                                               9   Rexford Drive, Beverly Hills, California, and more specifically described in
                                              10   Exhibit 2 to this Complaint, which is incorporated in this Complaint as though set
                                              11   forth in full (the “Rexford Home”). Plaintiffs are further informed and believe, and
                                              12   on that basis allege, that Massoud, as trustee of the Massoud Family Trust,
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                                              13   remained the owner of the Rexford Home until an order for relief was entered in
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                                              14   Massoud’s bankruptcy (at which time his bankruptcy estate became the owner of
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                                              15   the Rexford Home) because, as alleged below, a purported foreclosure on the
                                              16   Rexford Home, which purported to extinguish the interest of the Massoud Family
                                              17   Trust in the Rexford Home, was void.
                                              18   C.    The Nourafshan Defendants
                                              19         7.     Plaintiffs are informed and believe, and on that basis allege, that Jack
                                              20   Nourafshan (“Nourafshan”) is a citizen and a resident of the State of California and
                                              21   domiciled in this District. Plaintiffs are further informed and believe, and on that
                                              22   basis allege, that Nourafshan is the brother of Massoud’s wife Parinaz Yashouafar
                                              23   (“Parinaz”), and hence is Massoud’s brother-in-law.
                                              24         8.     Plaintiffs are informed and believe, and on that basis allege, that
                                              25   Elkwood Associates, LLC (“Elkwood”) is a limited liability company formed under
                                              26   the laws of the State of California on or about December 17, 2014, with its
                                              27   principal place of business in Sacramento, California, and doing business in
                                              28   Los Angeles, California.

                                                                                       -4-
                                                                           COMPLAINT TO QUIET TITLE ETC.
                                             Case 2:17-cv-08894-JFW-JEM Document 1 Filed 12/11/17 Page 5 of 97 Page ID #:5

                                               1         9.      Plaintiffs are informed and believe, and on that basis allege, that
                                               2   Fieldbrook, Inc. (“Fieldbrook”) is a corporation formed under the laws of the State
                                               3   of California, with its principal place of business in Encino, California.
                                               4         10.     Plaintiffs are informed and believe, and on that basis allege, that
                                               5   Reliable Properties (“Reliable”) is a corporation formed and existing under the laws
                                               6   of the State of California, with its principal place of business in Los Angeles,
                                               7   California.
                                               8         11.     Plaintiffs are informed and believe, and on that basis allege, that some
                                               9   or all of Parinaz’s brothers (that is, Massoud’s brothers-in-law), including but not
                                              10   limited to Defendant Nourafshan (collectively, the “Nourafshan Family”), own and
                                              11   control Fieldbrook, Elkwood, and Reliable.
                                              12   D.    The Other Lienholders
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                                              13         12.     Plaintiffs are informed and believe, and on that basis allege, that J.P.
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                                              14   Morgan Chase Bank, N.A. (“Chase”) is a national banking association with its
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                                              15   principal place of business in New York, New York.
                                              16         13.     Plaintiffs are informed and believe, and on that basis allege, that
                                              17   Fereydoun Dayani (“Dayani”) is a citizen and a resident of the State of California
                                              18   and domiciled in this District.
                                              19         14.     Plaintiffs are informed and believe, and on that basis allege, that Soda
                                              20   Partners, LLC (“Soda Partners”) is a limited liability company formed under the
                                              21   laws of California, with its principal place of business in West Hollywood,
                                              22   California. Plaintiffs are further informed and believe, and on that basis allege, that
                                              23   Soda Partners was dissolved on or about November 4, 2013, and that its Articles of
                                              24   Organization were cancelled on or about December 17, 2014.
                                              25         15.     Plaintiffs are informed and believe, and on that basis allege, that
                                              26   DMARC 2007-CD5 Garden Street, LLC (“DMARC”) is a limited liability
                                              27   company formed under the laws of Delaware, doing business in this District.
                                              28


                                                                                        -5-
                                                                            COMPLAINT TO QUIET TITLE ETC.
                                             Case 2:17-cv-08894-JFW-JEM Document 1 Filed 12/11/17 Page 6 of 97 Page ID #:6

                                               1   Plaintiffs are further informed and believe, and on that basis allege, that DMARC is
                                               2   obligated to qualify to do business in the State of California, but has failed to do so.
                                               3   D.     Other Parties
                                               4          16.    Plaintiffs are informed and believe, and on that basis allege, that
                                               5   Citivest Financial Services, Inc. (“Citivest”) is a corporation formed under the laws
                                               6   of Nevada, with its principal place of business in Las Vegas, Nevada. Plaintiffs are
                                               7   further informed and believe, and on that basis allege, that Citivest does business in
                                               8   California, but has not qualified to do business in California.
                                               9          17.    Plaintiffs are informed and believe, and on that basis allege, that
                                              10   Defendants John Malakzad and Nooshin Malakzad (together, the “Malakzads”),
                                              11   and each of them, are citizens and residents of the State of California and domiciled
                                              12   in this District.
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                                              13          18.    Plaintiffs are informed and believe, and on that basis allege, that J.P.
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                                              14   Morgan Chase Custody Services, Inc. (“Chase Custody Services”) is a corporation
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                                              15   formed under the laws of Delaware, with its principal place of business in Monroe,
                                              16   Louisiana.
                                              17          19.    Plaintiffs are informed and believe, and on that basis allege, that
                                              18   Quality Loan Service Corporation (“Quality Loan”) is a corporation formed under
                                              19   the laws of California, with its principal place of business in San Diego, California.
                                              20          20.    David K. Gottlieb (the “Trustee”) is the chapter 11 trustee in the
                                              21   Debtors’ bankruptcies (together, the “Bankruptcies”). Plaintiffs are informed and
                                              22   believe, and on that basis allege, that the Trustee and the Debtors each is a citizen
                                              23   and a resident of the State of California and domiciled in this District.
                                              24          21.    Plaintiffs do not know the true names and capacities, whether
                                              25   individual, corporate, associate, or otherwise, of the defendants that Plaintiffs sue in
                                              26   this Complaint as Does 1 through 50, inclusive (collectively, the “Doe Defendants”
                                              27   and collectively with the defendants identified in paragraphs 8 through 20,
                                              28   inclusive, the “Defendants”), and, therefore, sue the Doe Defendants by these

                                                                                        -6-
                                                                            COMPLAINT TO QUIET TITLE ETC.
                                             Case 2:17-cv-08894-JFW-JEM Document 1 Filed 12/11/17 Page 7 of 97 Page ID #:7

                                               1   fictitious names. Plaintiffs will amend this Complaint to allege the true names and
                                               2   capacities of the Doe Defendants when Plaintiffs ascertain the true names of the
                                               3   Doe Defendants. Plaintiffs are informed and believe, and on that basis allege, that
                                               4   the Doe Defendants, and each of them, are responsible in some manner for the acts
                                               5   and omissions that Plaintiffs allege in this Complaint and that the conduct of the
                                               6   Doe Defendants, and each of them, proximately caused Plaintiffs’ damages as
                                               7   alleged in this Complaint. Plaintiffs are further informed and believe, and on that
                                               8   basis allege, that none of the Doe Defendants is a resident or a citizen of the State
                                               9   of New York.
                                              10

                                              11                                            III.
                                              12                              FACTUAL ALLEGATIONS
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                                              13   A.    Overall Nature of Fraudulent Scheme by the Debtors
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                                              14         22.    This action arises from a scheme that the Debtors and their close
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                                              15   relatives carried out to put the Debtors’ assets out of the reach of the Debtors’
                                              16   creditors (including Plaintiffs), by transferring such assets to such Debtors’
                                              17   relatives, the Debtors’ companies, and their relatives’ companies. The specific
                                              18   assets that are the subject of this action are the Rexford Home and the Chalette
                                              19   Home (together, the “Homes”), with the acts to cause such transfers occurring in
                                              20   late 2014 and early 2015. Other assets that the Debtors transferred as part of the
                                              21   same scheme and are the subjects of other litigation pending before this Court
                                              22   include:
                                              23         (A)    the Debtors’ stock in ECP Building, Inc. and their interests in Encino
                                              24                Corporate Plaza, L.P., which stock and interests the Debtors and others
                                              25                purported to transfer in January 2015 and again in July 2015;
                                              26         (B)    the Debtors’ stock in Alliance Property Investments, Inc., which they
                                              27                purported to transfer in March 2014; and
                                              28


                                                                                       -7-
                                                                           COMPLAINT TO QUIET TITLE ETC.
                                             Case 2:17-cv-08894-JFW-JEM Document 1 Filed 12/11/17 Page 8 of 97 Page ID #:8

                                               1         (C)    the Debtors’ indirect interests in a reserve account that Levene Neale
                                               2                Bender Yoo & Brill, LLP held, which they purported to transfer
                                               3                commencing no later than February 2012 and ending no later than
                                               4                November 2012.
                                               5   This Court already is presiding over actions regarding such transfers (Case Nos. 15-
                                               6   cv-7625, 15-cv-8570, and 16-cv-6263).
                                               7         23.    As alleged in greater detail below, the scheme to make the Homes
                                               8   unreachable by the Debtors’ creditors included the Debtors and the Debtors’
                                               9   relatives, acting as strawmen for and/or agents of the Debtors:
                                              10         (A)    buying a loan secured by deeds of trust on the Homes (the “PWB
                                              11                Loan”), and non-judicially foreclosing under such deeds of trust at
                                              12                tainted and defective foreclosures; and
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                                              13         (B)    ensuring, through intentional deceit and concealment, that no one
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                                              14                except the relatives themselves (and their companies) would, or could,
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                                              15                bid on or buy the Homes at such foreclosures, including
                                              16                (1)   making the senior liens on the Homes appear to potential
                                              17                      bidders to be millions of dollars greater than the senior liens on
                                              18                      the Homes actually were, by
                                              19                      (a)    overstating by approximately $5.8 million the balance of
                                              20                             the PWB Loan being foreclosed on the Rexford Home in
                                              21                             the published notices of the foreclosure sale that
                                              22                             California Civil Code section 2924f(b) requires; and
                                              23                      (b)    by not recording reconveyances of the senior deeds of
                                              24                             trust before the foreclosures, thereby concealing that a
                                              25                             loan secured by senior deeds of trust on both Homes in
                                              26                             the original principal amount of $2,000,000 had been
                                              27                             satisfied,
                                              28


                                                                                        -8-
                                                                            COMPLAINT TO QUIET TITLE ETC.
                                             Case 2:17-cv-08894-JFW-JEM Document 1 Filed 12/11/17 Page 9 of 97 Page ID #:9

                                               1                       thus misleading potential unrelated bidders to believe that a bid
                                               2                       of more than $8,500,000 would be required to match a “credit
                                               3                       bid” at the Rexford Home at foreclosure, instead of the bid of
                                               4                       $782,508.05 that actually would have been necessary;
                                               5                (2)    preventing potential unrelated bidders from attending the
                                               6                       Rexford Foreclosure Sale by publishing an incorrect and/or
                                               7                       materially misleading address in the notices that California Civil
                                               8                       Code section 2924f(b) required;
                                               9                (3)    preventing Sina Abselet (“Sina”), the then-holder of the claim
                                              10                       that Israel now owns, from bidding at either foreclosure by
                                              11                       sending the notices of trustee’s sale to which Sina was entitled
                                              12                       to Homan Taghdiri (“Taghdiri”), the Debtors’ own counsel; and
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                                              13                (4)    not giving Howard notice of either sale.
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                                              14         24.    Plaintiffs are informed and believe, and on that basis allege, that
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                                              15   Nourafshan and the Debtors intended, and knew, that their acts and omissions
                                              16   would result in no one else bidding at the foreclosure sales on the Homes, as
                                              17   demonstrated by, among other things, the fact that they instructed Citivest to bid
                                              18   $782,508.05 at the Rexford Home foreclosure sale with no arrangement to bid any
                                              19   higher amount even though the equity in the Rexford Home over and above that
                                              20   deed of trust exceeded at least $11 million. Plaintiffs are further informed and
                                              21   believe, and on that basis allege, that no one other than Citivest (ostensibly on
                                              22   behalf of Elkwood and Fieldbrook) appeared at the foreclosure sales on the Homes.
                                              23   B.    Plaintiffs’ Claims and Liens
                                              24         25.    Sina, Plaintiffs’ father, lent $2 million to the Debtors and their
                                              25   companies. In March 2009, that loan was rolled over and redocumented to be a
                                              26   loan to the Debtors and two of their companies (S&R Equities, L.P., and Madison
                                              27   Equities, L.P.), with a then-outstanding principal balance of $1.75 million (the
                                              28   “$1.75M Loan”). The $1.75M Loan was secured by a deed of trust on the Chalette

                                                                                       -9-
                                                                           COMPLAINT TO QUIET TITLE ETC.
                                         Case 2:17-cv-08894-JFW-JEM Document 1 Filed 12/11/17 Page 10 of 97 Page ID #:10

                                              1   Home (the “$1.75M Chalette DOT”), recorded on or about April 28, 2009, and a
                                              2   deed of trust on the Rexford Home (the “$1.75M Rexford DOT”), recorded on or
                                              3   about April 28, 2009. Effective September 1, 2016, Sina assigned to Israel the
                                              4   $1.75M Loan and all rights associated with the $1.75M Loan.
                                              5         26.    On or about August 10, 2012, Howard obtained a judgment against,
                                              6   among others, the Debtors in the Underlying Action (the “Judgment”). To enforce
                                              7   the Judgment, Howard recorded an abstract of judgment in the County of Los
                                              8   Angeles, State of California, on or about August 29, 2012 (the “Abstract of
                                              9   Judgment”). The Abstract of Judgment created a lien in favor of Howard on,
                                             10   among other things, the Homes.
                                             11   C.    Chalette Home
                                             12         27.    Plaintiffs are informed and believe, and on that basis allege, that
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                                             13   Solyman, his wife Soheila Yashouafar (“Soheila”), and, from time to time, some or
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                                             14   all of their children lived in the Chalette Home until approximately early 2015.
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                                             15         28.    Plaintiffs are informed and believe, and on that basis allege, that on or
                                             16   about February 7, 2002, Solyman executed and delivered to Soheila a quitclaim
                                             17   deed to the Chalette Home.
                                             18         29.    Plaintiffs are informed and believe, and on that basis allege, that on or
                                             19   about January 27, 2004, Soheila borrowed approximately $1,475,000 (the “Chase
                                             20   Chalette Loan”) from Chase, and, as the purported sole owner of the Chalette
                                             21   Home, granted Chase a deed of trust (the “Chase Chalette DOT”) to secure her
                                             22   obligations under the Chase Chalette Loan. The Chase Chalette DOT was recorded
                                             23   on or about February 13, 2004. Chase Custody Services is the trustee under the
                                             24   Chase Chalette DOT, and is named in this action solely in its capacity as trustee
                                             25   under that deed of trust.
                                             26         30.    Plaintiffs are informed and believe, and on that basis allege, that on or
                                             27   about December 27, 2004, Solyman and Soheila executed and delivered to
                                             28


                                                                                      - 10 -
                                                                          COMPLAINT TO QUIET TITLE ETC.
                                         Case 2:17-cv-08894-JFW-JEM Document 1 Filed 12/11/17 Page 11 of 97 Page ID #:11

                                              1   Solyman, as trustee of the Solyman Family Trust, a trust transfer deed to the
                                              2   Chalette Home.
                                              3         31.   Plaintiffs are informed and believe, and on that basis allege, that:
                                              4               (A)    at all times relevant, at least until the purported foreclosure
                                              5                      described in Paragraph 76 below, Solyman, as trustee of the
                                              6                      Solyman Family Trust, owned the Chalette Home; and
                                              7               (B)    if that purported foreclosure on the Chalette Home was void,
                                              8                      Solyman, as trustee of the Solyman Family Trust, owned the
                                              9                      Chalette Home until the order for relief was entered in
                                             10                      Solyman’s bankruptcy, at which time, the estate of that
                                             11                      bankruptcy became the owner of the Chalette Home.
                                             12         32.   Plaintiffs are informed and believe, and on that basis allege, that:
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                                             13               (A)    on or about March 20, 2009, Massoud and Solyman executed a
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                                             14                      promissory note in favor of PWB in the original principal
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                                             15                      amount of $6,551,575 (the “PWB Note”); and
                                             16               (B)    the repayment obligations under the PWB Note were secured by
                                             17                      a deed of trust against the Chalette Home (the “PWB Chalette
                                             18                      DOT”), and a deed of trust against the Rexford Home (the
                                             19                      “PWB Rexford DOT”). Plaintiffs attach a true copy of the PWB
                                             20                      Chalette DOT as Exhibit 3 to this Complaint, and a true copy of
                                             21                      the PWB Rexford DOT as Exhibit 4 to this Complaint. The
                                             22                      PWB Chalette DOT and the PWB Rexford DOT each were
                                             23                      recorded on or about March 25, 2009.
                                             24         33.   Plaintiffs are informed and believe, and on that basis allege, that on or
                                             25   about October 1, 2010, Solyman, as trustee of the Solyman Family Trust, executed
                                             26   and delivered a deed of trust in favor of Dayani (the “Dayani Chalette DOT”),
                                             27   which secured repayment of a loan in the original principal of $1.1 million.
                                             28


                                                                                     - 11 -
                                                                         COMPLAINT TO QUIET TITLE ETC.
                                         Case 2:17-cv-08894-JFW-JEM Document 1 Filed 12/11/17 Page 12 of 97 Page ID #:12

                                              1   Plaintiffs are further informed and believe, and on that basis allege, that the Dayani
                                              2   DOT was recorded on or about December 7, 2010.
                                              3         34.    Plaintiffs are informed and believe, and on that basis allege, that on or
                                              4   about June 13, 2011, Soda Partners recorded an abstract of judgment against the
                                              5   Debtors in Los Angeles County, and on or about June 20, 2011, Soda Partners
                                              6   recorded a second abstract of judgment against the Debtors in Los Angeles County.
                                              7   Plaintiffs are further informed and believe, and on that basis allege, that those
                                              8   abstracts of judgment (together, the “Soda Partners Abstracts of Judgment”) created
                                              9   a lien in favor of Soda Partners on, among other things, the Chalette Home.
                                             10         35.    Plaintiffs are informed and believe, and on that basis allege, that on or
                                             11   about September 26, 2014, DMARC recorded an abstract of judgment against the
                                             12   Debtors in Los Angeles County. Plaintiffs are further informed and believe, and on
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                                             13   that basis allege, that that abstract of judgment (the “DMARC Abstract of
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                                             14   Judgment”) created a lien in favor of DMARC on, among other things, the Chalette
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                                             15   Home.
                                             16   D.    Rexford Home
                                             17         36.    Plaintiffs are informed and believe, and on that basis allege, that
                                             18   Massoud, his wife Parinaz, and, from time to time, some or all of their children
                                             19   lived in the Rexford Home at least until the Summer of 2017.
                                             20         37.    Plaintiffs are informed and believe, and on that basis allege, that:
                                             21                (A)    at all times relevant, at least until the purported foreclosure
                                             22                       described in Paragraph 77 below, Massoud, as trustee of the
                                             23                       Massoud Family Trust, owned the Rexford Home; and
                                             24                (B)    if that purported foreclosure on the Rexford Home was void,
                                             25                       Massoud, as trustee of the Massoud Family Trust, owned the
                                             26                       Rexford Home until the order for relief was entered in
                                             27                       Massoud’s bankruptcy, at which time, the estate of that
                                             28                       bankruptcy became the owner of the Rexford Home.

                                                                                      - 12 -
                                                                          COMPLAINT TO QUIET TITLE ETC.
                                         Case 2:17-cv-08894-JFW-JEM Document 1 Filed 12/11/17 Page 13 of 97 Page ID #:13

                                              1         38.    Plaintiffs are informed and believe, and on that basis allege, that on or
                                              2   about January 2, 2004, Massoud and Parinaz borrowed approximately $2,516,300
                                              3   (the “Chase Rexford Loan”) from Chase, and granted Chase a deed of trust (the
                                              4   “Chase Rexford DOT”) to secure their obligations under the Chase Rexford Loan.
                                              5   The Chase Rexford DOT was recorded on or about January 16, 2004. Quality Loan
                                              6   is the trustee under the Chase Rexford DOT, and is named in this action solely in its
                                              7   capacity as trustee under that deed of trust.
                                              8         39.    Plaintiffs are informed and believe, and on that basis allege, that on or
                                              9   about February 5, 2004, Massoud and Parinaz borrowed approximately $2,000,000
                                             10   (the “Tri-Center Loan”) from Tri-Center Group, Inc. (“Tri-Center”), and granted
                                             11   Tri-Center a deed of trust on the Rexford Home to secure their obligations under
                                             12   the Tri-Center Loan (the “Tri-Center Rexford DOT”). The Tri-Center Rexford
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                                             13   DOT was recorded on or about February 13, 2004.
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                                             14         40.    Plaintiffs are informed and believe, and on that basis allege, that as
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                                             15   alleged above, Massoud, as trustee of the Massoud Family Trust, executed and
                                             16   delivered the PWB Rexford DOT on or about March 20, 2009, which was recorded
                                             17   on or about March 25, 2009.
                                             18         41.    Plaintiffs are informed and believe, and on that basis allege, that, in
                                             19   June 2011, as alleged above, Soda Partners recorded the Soda Partners Abstracts of
                                             20   Judgment that created liens on, among other things, the Rexford Home.
                                             21         42.    Plaintiffs are informed and believe, and on that basis allege, that, in
                                             22   September 2014, as alleged above, DMARC recorded the DMARC Abstract of
                                             23   Judgment that created liens on, among other things, the Rexford Home.
                                             24         43.    Plaintiffs are informed and believe, and on that basis allege, that on or
                                             25   about December 30, 2014, Tri-Center executed, and delivered to Elkwood, a full
                                             26   reconveyance of the Tri-Center Rexford DOT (the “Tri-Center Reconveyance”).
                                             27   Plaintiffs attach a true copy of the Tri-Center Reconveyance as Exhibit 5 to this
                                             28   Complaint.

                                                                                      - 13 -
                                                                          COMPLAINT TO QUIET TITLE ETC.
                                         Case 2:17-cv-08894-JFW-JEM Document 1 Filed 12/11/17 Page 14 of 97 Page ID #:14

                                              1         44.   Plaintiffs are informed and believe, and on that basis allege, that
                                              2   Elkwood did not record the Tri-Center Reconveyance until July 14, 2015. Plaintiffs
                                              3   are further informed and believe, and on that basis allege, that Elkwood delayed in
                                              4   recording the Tri-Center Reconveyance for the purpose, and with the intent, of
                                              5   misleading potential bidders at a foreclosure on the Rexford Home into believing
                                              6   that the Tri-Center Loan was still outstanding and secured by the Tri-Center
                                              7   Rexford DOT. Plaintiffs are further informed and believe, and on that basis allege,
                                              8   that Massoud did not request Tri-Center to record a reconveyance of the Tri-Center
                                              9   Rexford DOT for the purpose, and with the intent, of misleading potential bidders
                                             10   at a foreclosure on the Rexford Home into believing that the Tri-Center Loan was
                                             11   still outstanding and secured by the Tri-Center Rexford DOT, and thereby to assist
                                             12   Elkwood, a company that his relatives owned and controlled and with whom
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                                             13   Massoud had an agreement as to the post-foreclosure treatment of the Rexford
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                                             14   Home, to have a competitive advantage when Elkwood foreclosed under the PWB
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                                             15   Rexford DOT, so that Massoud and his family could continue to reside at the
                                             16   Rexford Home, rent-free, after the purported “foreclosure” on the Rexford Home.
                                             17   E.    Notices of Default/Sale under Various Deeds of Trust
                                             18         45.   Plaintiffs are informed and believe, and on that basis allege, that:
                                             19               (A)    on or about April 29, 2013, Chase declared a default under the
                                             20                      Chase Chalette Loan, and issued a notice of default under the
                                             21                      Chase Chalette Loan and with respect to the Chase Chalette
                                             22                      DOT;
                                             23               (B)    on or about September 20, 2013, Chase declared a default under
                                             24                      the Chase Rexford Loan, issued a notice of default under the
                                             25                      Chase Rexford Loan and with respect to the Chase Rexford
                                             26

                                             27

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                                                                                     - 14 -
                                                                         COMPLAINT TO QUIET TITLE ETC.
                                         Case 2:17-cv-08894-JFW-JEM Document 1 Filed 12/11/17 Page 15 of 97 Page ID #:15

                                              1                        DOT, and commenced foreclosure proceedings against the
                                              2                        Rexford Home;
                                              3               (C)      Chase initially noticed the trustee’s sale under the Chase
                                              4                        Rexford DOT for February 12, 2014, and then for June 11,
                                              5                        2014, and then continued the sale date numerous times; and
                                              6               (D)      Chase noticed the trustee’s sale under the Chase Chalette DOT
                                              7                        for February 26, 2015.
                                              8         46.   Plaintiffs are informed and believe, and on that basis allege, that on or
                                              9   about January 22, 2014, PWB declared a default under the PWB Loan recorded
                                             10   notices of default, and commenced foreclosure proceedings against the Chalette
                                             11   Home and the Rexford Home under the PWB Chalette DOT and the PWB Rexford
                                             12   DOT, respectively.
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                                             13   F.    Sale of the PWB Loan to Elkwood
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                                             14         47.   Plaintiffs are informed and believe, and on that basis allege, that
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                                             15   throughout the early part of 2014, Massoud worked with both Chase and PWB to
                                             16   postpone the pending foreclosure proceeding on the Rexford Home and an
                                             17   anticipated foreclosure proceeding on the Chalette Home.
                                             18         48.   Plaintiffs are informed and believe, and on that basis allege, that by an
                                             19   e-mail dated June 3, 2014, Massoud advised PWB that he had:
                                             20               . . . approached a few private investors to possibly pay-off PWB
                                             21               by taking over the existing note and deed of trust. As I have
                                             22               come close to finalizing a deal, they have inquired about the
                                             23               release price for each home. I appreciate your confirmation that
                                             24               PWB will honor the previously agreed ratios shown on the
                                             25               attached e-mail.”
                                             26         49.   Plaintiffs are informed and believe, and on that basis allege, that one of
                                             27   the unidentified “private investors” was Nourafshan.
                                             28


                                                                                       - 15 -
                                                                           COMPLAINT TO QUIET TITLE ETC.
                                         Case 2:17-cv-08894-JFW-JEM Document 1 Filed 12/11/17 Page 16 of 97 Page ID #:16

                                              1          50.    Plaintiffs are informed and believe, and on that basis allege, that PWB,
                                              2   like most banks, had a policy that it would not sell loans in default to its borrowers
                                              3   or their families and affiliates.
                                              4          51.    Plaintiffs are informed and believe, and on that basis allege, that
                                              5   Massoud and Nourafshan did not reveal to PWB that the potential “private
                                              6   investors” were Massoud’s relatives.
                                              7          52.    Plaintiffs are informed and believe, and on that basis allege, that
                                              8   (A) on or about June 11, 2014, Massoud advised PWB that he “was just contacted
                                              9   by the potential private lender that they are finalizing the letter you requested;” and
                                             10   (B) on June 12, 2014, Massoud caused to be delivered to PWB an expression of
                                             11   interest by Kensington Associates, LLC (“Kensington”) in purchasing the PWB
                                             12   Loan. Plaintiffs are further informed and believe, and on that basis allege, that the
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                                             13   Nourafshan Family owned, and Nourafshan controlled, Kensington until they
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                                             14   cancelled Kensington effective on or about September 19, 2017. Plaintiffs are
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                                             15   further informed and believe, and on that basis allege, in that in that expression of
                                             16   interest, Kensington, through Thelma Guerrero (“Guerrero”), asked whether PWB
                                             17   “. . . is willing to bifurcate the Secured Note into two separate notes, so that one
                                             18   secured note will be secured by the Rexford [Home] (the Rexford Note), and one
                                             19   secured note will be secured by the Chalette [Home] (the Chalette Note).”
                                             20          53.    Plaintiffs are informed and believe, and on that basis allege, that on or
                                             21   about June 30, 2014, Kensington submitted a letter of intent (the “Kensington
                                             22   Letter of Intent”) to purchase the PWB Note for a total purchase price of
                                             23   approximately $5.9 million. Plaintiffs are further informed and believe, and on that
                                             24   basis allege, that in the Kensington Letter of Intent, Kensington offered
                                             25   approximately $3.7 million “for the portion of the secured note allocated to the
                                             26   Rexford Property and the Rexford Deed of Trust,” approximately 62.7% of the
                                             27   purchase price offered, and approximately $2.2 million “for the portion of the
                                             28   Secured Note allocated to the Chalette Property and the Chalette Deed of Trust,”

                                                                                       - 16 -
                                                                           COMPLAINT TO QUIET TITLE ETC.
                                         Case 2:17-cv-08894-JFW-JEM Document 1 Filed 12/11/17 Page 17 of 97 Page ID #:17

                                              1   approximately 37.3% of the purchase price offered. Plaintiffs are further informed
                                              2   and believe, and on that basis alleged, that in late 2014, the Chalette Home was
                                              3   worth approximately $8.5 million and the Rexford Home was worth approximately
                                              4   $12 million to $15 million, approximately 38.6% and 61.4%, respectively, of the
                                              5   combined values of the Homes.
                                              6         54.    Plaintiffs are informed and believe, and on that basis allege, that after
                                              7   Kensington submitted the Kensington Letter of Intent to PWB, negotiations
                                              8   between PWB and Kensington for the sale of the PWB Note proceeded haltingly.
                                              9   Plaintiffs are further informed and believe, and on that basis allege, that on or about
                                             10   July 22, 2014, Massoud advised PWB that:
                                             11                       . . .[t]he delay in finalizing this matter has been due to
                                             12                seemingly inability to bifurcate the properties. The Buyer
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                                             13                already has its committee approval to purchase the portion of
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                                             14                the Note securing the Rexford [Home] (approximately 63% of
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                                             15                the loan). It is trying to complete its due diligence to obtain the
                                             16                approval of the Chalette Property as well. If the Bank is willing
                                             17                to bifurcate the properties, the Rexford portion can be done
                                             18                immediately. Otherwise, I request a few more days to
                                             19                hopefully obtain the approval to proceed.
                                             20         55.    Plaintiffs are informed and believe, and on that basis allege, that by an
                                             21   e-mail dated August 7, 2014, PWB (through Rene Garcia [“Garcia”]) advised
                                             22   Guerrero that PWB had only one loan to sell, by which PWB meant that it would
                                             23   not bifurcate the PWB Loan and the collateral for that Loan.
                                             24         56.    Plaintiffs are informed and believe, and on that basis allege, that by an
                                             25   e-mail dated August 8, 2014, Massoud advised PWB that he was “planning to meet
                                             26   [the potential purchaser] next week to entice them to finalize this transaction.”
                                             27         57.    Plaintiffs are informed and believe, and on that basis allege, that a
                                             28   week later, on or about August 15, 2014, Massoud advised PWB that “I did have a

                                                                                      - 17 -
                                                                          COMPLAINT TO QUIET TITLE ETC.
                                         Case 2:17-cv-08894-JFW-JEM Document 1 Filed 12/11/17 Page 18 of 97 Page ID #:18

                                              1   meeting with the potential buyer of the Note this week and I ended up giving up
                                              2   more concessions in the hopes that a deal would be finalized between them and
                                              3   PWB.”
                                              4            58.   Plaintiffs are informed and believe, and on that basis allege, that on or
                                              5   about August 19, 2014, Massoud advised PWB that he was going to “arrange
                                              6   another meeting with the purchaser attempting to reach a resolution.”
                                              7            59.   Plaintiffs are informed and believe, and on that basis allege, that on or
                                              8   about August 29, 2014, Kensington submitted a revised letter of intent (the
                                              9   “Revised Kensington Letter of Intent”), offering to purchase the entire PWB Note
                                             10   for $6.05 million. Plaintiffs are further informed and believe, and on that basis
                                             11   allege, that subsequent negotiations between Kensington and PWB again proceeded
                                             12   haltingly; and when advised that no agreement had yet been signed, on or about
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                                             13   October 6, 2014, Massoud advised PWB that “I have already put a call to the
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                                             14   potential note buyer to ensure that everything is going forward.”
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                                             15            60.   Plaintiffs are informed and believe, and on that basis allege, that
                                             16   subsequently, PWB and Kensington entered into a Note Sale Agreement (the “Note
                                             17   Sale Agreement”) for the sale of the entire PWB Note from PWB to Kensington for
                                             18   a purchase price of $6.05 million, subject to a due diligence contingency, which
                                             19   would expire on October 27, 2014, with a closing to occur no later than ten days
                                             20   later.
                                             21            61.   Plaintiffs are informed and believe, and on that basis allege, that on or
                                             22   about October 27, 2014, Garcia reported to her superior at PWB that she had
                                             23   received a call “from the prospective buyer earlier requesting until end of year to
                                             24   finalize the purchase of the Yashouafar loan. When I asked why they needed the
                                             25   time, they said that they are talking to Yashouafar and trying to figure out how he
                                             26   will be able to pay them the note amount.”
                                             27            62.   Plaintiffs are informed and believe, and on that basis allege, that on or
                                             28   about November 4, 2014, PWB and Kensington entered into that certain

                                                                                        - 18 -
                                                                            COMPLAINT TO QUIET TITLE ETC.
                                         Case 2:17-cv-08894-JFW-JEM Document 1 Filed 12/11/17 Page 19 of 97 Page ID #:19

                                              1   Amendment No. 1 to Note Sale Agreement (the “Note Sale Amendment”),
                                              2   acknowledging that the due diligence conditions to closing had been satisfied and
                                              3   extending the closing date to December 29, 2014.
                                              4         63.    Plaintiffs are informed and believe, and on that basis allege, that on or
                                              5   about December 23, 2014, Guerrero sent Garcia an email, in which Guerrero stated
                                              6   that “We are intending to complete the purchase of the loan as we have agreed.
                                              7   However, due to the Holidays, we need until February 12, 2015 so we can settle the
                                              8   grievances and issues with the borrowers amicably.”
                                              9         64.    Plaintiffs are informed and believe, and on that basis allege, that PWB
                                             10   declined the request and subsequent requests to delay or alter the transaction.
                                             11         65.    Plaintiffs are informed and believe, and on that basis allege, that on or
                                             12   about December 29, 2014, the sale of the PWB Loan closed, but with the PWB
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                                             13   Loan being assigned to Elkwood, rather than Kensington, under that certain Note
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               617 W. 7th St., Suite 702




                                             14   Sale Agreement dated October 1, 2014 and the First Amendment to that Note Sale
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                                             15   Agreement dated November 4, 2014.
                                             16         66.    Plaintiffs are informed and believe, and on that basis allege, that before
                                             17   PWB assigned the PWB Loan to Elkwood, Massoud and Nourafshan agreed that:
                                             18                (A)   Nourafshan would cause the Nourafshan Family’s entities to
                                             19                      structure the foreclosures under the PWB Rexford DOT and the
                                             20                      PWB Chalette DOT in such a manner as to permit Nourafshan
                                             21                      and his Family’s entities to be the high bidders at the
                                             22                      Foreclosures by credit bidding the amount owed under the PWB
                                             23                      Note, but nothing more, even though the combined values of the
                                             24                      Rexford Home and the Chalette Home exceeded the balance
                                             25                      owing under the PWB Loan by more than $10.5 million;
                                             26                (B)   Solyman would vacate the Chalette Home so that the
                                             27                      Nourafshan entity that purchased the Chalette Home at the
                                             28


                                                                                      - 19 -
                                                                          COMPLAINT TO QUIET TITLE ETC.
                                         Case 2:17-cv-08894-JFW-JEM Document 1 Filed 12/11/17 Page 20 of 97 Page ID #:20

                                              1                      foreclosure under the PWB Chalette DOT could quickly sell the
                                              2                      Chalette Home for a substantial profit; and
                                              3                (C)   Nourafshan would “rent” Massoud the Rexford Home for a
                                              4                      nominal rent of $25,000 per month, but in fact, Massoud would
                                              5                      pay no rent.
                                              6   G.    The Foreclosures
                                              7         67.    Plaintiffs are informed and believe, and on that basis allege, that on or
                                              8   about January 12, 2015, Elkwood substituted Citivest as the trustee under the PWB
                                              9   Chalette DOT and the PWB Rexford DOT, even though Citivest had very limited
                                             10   experience in nonjudicial foreclosures under deeds of trust in California and was
                                             11   not qualified to do business in California.
                                             12         68.    On January 27, 2015, Citivest, as trustee under the PWB Chalette
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                                             13   DOT, recorded a notice of trustee’s sale (the “Chalette Notice of Trustee’s Sale”),
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                                             14   in which Citivest stated that the unpaid balance of the obligation secured by the
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                                             15   Chalette Home was $6,569,508.05 and that the foreclosure sale would take place on
                                             16   February 20, 2015 at 9:30 a.m. Plaintiffs attach a true copy of the recorded Chalette
                                             17   Notice of Trustee’s Sale as Exhibit 6 to this Complaint.
                                             18         69.    On or about the same day, January 27, 2015, Citivest, as trustee under
                                             19   the PWB Rexford DOT, recorded a separate notice of trustee’s sale (the “Rexford
                                             20   Notice of Trustee’s Sale”), in which Citivest stated that the unpaid balance of the
                                             21   obligation secured by the Rexford Home was $6,569,508.05. Plaintiffs attach a true
                                             22   copy of the recorded Rexford Notice of Trustee’s Sale as Exhibit 7 to this
                                             23   Complaint. In the Rexford Notice of Trustee’s Sale, Citivest stated, among other
                                             24   things, that the foreclosure sale would take place on February 23, 2015, at 9:30 a.m.
                                             25   at the southwest entrance of the United States Post Office located at 222 North
                                             26   Grand Avenue, Los Angeles, California 90012. There is, however, no United
                                             27   States Post Office located at 222 North Grand Avenue, Los Angeles, California
                                             28   90012.

                                                                                      - 20 -
                                                                          COMPLAINT TO QUIET TITLE ETC.
                                         Case 2:17-cv-08894-JFW-JEM Document 1 Filed 12/11/17 Page 21 of 97 Page ID #:21

                                              1         70.    On or about January 30, 2015, Citivest caused to be published in the
                                              2   Beverly Hills Courier the first of three public notices that California Civil Code
                                              3   section 2924f(b) requires, in which notice Citivest stated the unpaid balance of the
                                              4   obligation secured by the Chalette Home was $6,569,508.05 and that the
                                              5   foreclosure sale of the property would take place on February 20, 2015.
                                              6         71.    Instead of publishing a combined notice of the trustee's sales of the
                                              7   Rexford Home and the Chalette Home, on or about January 30, 2015, Citivest
                                              8   caused to be published in the Beverly Hills Courier the first of three separate public
                                              9   notices that California Civil Code section 2924f(b) requires, in which notice
                                             10   Citivest stated the unpaid balance of the obligation secured by the Rexford Home
                                             11   was $6,569,508.05 and that the foreclosure sale of the Rexford Home would take
                                             12   place on February 23, 2015.
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                                             13         72.    Plaintiffs are informed and believe, and on that basis allege, that
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                                             14   Citivest sent Sina's copies of the Chalette Notice of Trustee’s Sale and the Rexford
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                                             15   Notice of Trustee's Sale to Taghdiri, counsel for the Debtors. Plaintiffs are further
                                             16   informed and believe, and on that basis allege, that Citivest sent Sina's copy of the
                                             17   Chalette Notice of Trustee’s Sale and the Rexford Notice of Trustee's Sale to
                                             18   Taghdiri, pursuant to the instructions of Nourafshan (ostensibly on behalf of
                                             19   Elkwood and Fieldbrook, but actually on behalf of the Debtors) and/or Debtors,
                                             20   even though those parties knew that Taghdiri was Debtors' general counsel, and that
                                             21   Sina did not and does not know Taghdiri.
                                             22         73.    Plaintiffs are informed and believe, and on that basis allege, that on or
                                             23   about February 18, 2015, Elkwood executed a assign to Fieldbrook “all of its right,
                                             24   title and beneficial interest in and to that certain Deed of Trust dated March 20,
                                             25   2009 executed by SOLYMAN YASHOUAFAR, AS TRUSTEE OF THE
                                             26   SOLYMAN AND SOHEILA YASHOUAFAR 2004 TRUST DATED MARCH 8,
                                             27   2004 as Trustor, to PACIFIC WESTERN BANK, as trustee, for the benefit of
                                             28   PACIFIC WESTERN BANK as beneficiary [i.e., the PWB Chalette DOT] …

                                                                                      - 21 -
                                                                          COMPLAINT TO QUIET TITLE ETC.
                                         Case 2:17-cv-08894-JFW-JEM Document 1 Filed 12/11/17 Page 22 of 97 Page ID #:22

                                              1   Together with the Secured Promissory Note or Notes therein described or referred
                                              2   to [i.e., the PWB Note]” (the “Fieldbrook Assignment”). Plaintiffs attach a true
                                              3   copy of the Fieldbrook Assignment as Exhibit 8 to this Complaint. As a matter of
                                              4   law the assignment of the PWB Chalette Note “[t]ogether with the Secured
                                              5   Promissory Note or Notes therein described or referred to” effectuated an
                                              6   assignment of (1) the PWB Note and the full amount owed under it and (2) all
                                              7   security for the PWB Note, including, but not limited to, the PWB Chalette DOT
                                              8   and the PWB Rexford DOT. Plaintiffs are further informed and believe, and on
                                              9   that basis allege, that at the times of the foreclosures described below, Fieldbrook
                                             10   and Elkwood had not split the PWB Note or the PWB Loan between themselves.
                                             11         74.    Plaintiffs are informed and believe, and on that basis allege, that at all
                                             12   times from and after February 18, 2015, Massoud, as trustee of the Massoud Family
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                                             13   Trust, owed Elkwood nothing, and Elkwood had no rights under the PWB Note or
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                                             14   the PWB Rexford DOT.
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                                             15         75.    Plaintiffs are informed and believe, and on that basis allege, that
                                             16   because
                                             17                (A)   at the request of Elkwood, on behalf of the Debtors, Citivest set
                                             18                      the foreclosure sale under the PWB Rexford DOT to occur after
                                             19                      the Chalette Foreclosure Sale, and
                                             20                (B)   Nourafshan, on behalf of the Debtors, gave Citivest instructions
                                             21                      to make a credit bid of $5,800,000 at the Chalette Foreclosure
                                             22                      Sale,
                                             23   when Citivest filed, served, published and recorded the Rexford Notice of Trustee’s
                                             24   Sale, it knew that as of the foreclosure on the Rexford Home, the balance on the
                                             25   PWB Loan would be at least $5.8 million less than the amount stated in the
                                             26   recorded, served, and published Rexford Notices of Trustee’s Sale.
                                             27

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                                                                                      - 22 -
                                                                          COMPLAINT TO QUIET TITLE ETC.
                                         Case 2:17-cv-08894-JFW-JEM Document 1 Filed 12/11/17 Page 23 of 97 Page ID #:23

                                              1      76.   Plaintiffs are informed and believe, and on that basis allege, that:
                                              2            (A)   on February 20, 2015, at the request of Fieldbrook, on behalf of
                                              3                  the Debtors, Citivest, as trustee under the PWB Chalette DOT,
                                              4                  held a foreclosure sale of the Chalette Home under that DOT
                                              5                  (the “Chalette Foreclosure Sale”);
                                              6            (B)   Fieldbrook was the only bidder at the Chalette Foreclosure Sale;
                                              7            (C)   pursuant to instructions from Fieldbrook, on behalf of the
                                              8                  Debtors, Citivest, purportedly on behalf of Fieldbrook, credit bid
                                              9                  $5,800,000 as the initial bid, approximately $3.6 million more
                                             10                  than the $2.2 million that Kensington had attempted to allocate
                                             11                  to the Chalette Home in its negotiations with PWB; and
                                             12            (D)   Fieldbrook was the successful bidder at the Chalette Foreclosure
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                                             13                  Sale, at the purchase price of $5,800,000.
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                                             14      77.   Plaintiffs are informed and believe, and on that basis allege, that
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                                             15            (A)   on February 23, 2015, at the request of Elkwood, on behalf of
                                             16                  the Debtors, Citivest, as trustee under the PWB Rexford DOT,
                                             17                  held a foreclosure sale under that DOT (the “Rexford
                                             18                  Foreclosure Sale”);
                                             19            (B)   Elkwood was the only bidder at the Rexford Foreclosure Sale;
                                             20            (C)   pursuant to instructions from Elkwood, on behalf of the Debtors,
                                             21                  Citivest, purportedly on behalf of Elkwood, credit bid
                                             22                  $782,508.05, the full balance then owing to Fieldbrook under
                                             23                  the PWB Note, approximately $3 million less than amount that
                                             24                  Kensington had allocated to the Rexford Home in its
                                             25                  negotiations with PWB and $5.787 million less than the unpaid
                                             26                  balance stated in the filed, served, recorded and published
                                             27                  Rexford Notices of Trustee's Sale; and
                                             28


                                                                                  - 23 -
                                                                      COMPLAINT TO QUIET TITLE ETC.
                                         Case 2:17-cv-08894-JFW-JEM Document 1 Filed 12/11/17 Page 24 of 97 Page ID #:24

                                              1                (D)   Elkwood was the successful bidder at the Rexford Foreclosure
                                              2                      Sale, at the purchase price of $782,508.05.
                                              3         78.    Plaintiffs are informed and believe, and on that basis allege, that on or
                                              4   about February 25, 2015, Citivest executed and delivered to Fieldbrook a Trustee’s
                                              5   Deed Upon Sale for the Chalette Home pursuant to the foreclosure under the PWB
                                              6   Chalette DOT (the “Chalette Trustee’s Deed”). Plaintiffs are further informed and
                                              7   believe, and on that basis allege, that on or about February 25, 2015, Citivest also
                                              8   executed and delivered to Elkwood, as the purported high bidder at the foreclosure
                                              9   under the PWB Rexford DOT, a Trustee’s Deed Upon Sale for the Rexford Home
                                             10   pursuant to the foreclosure under the PWB Rexford DOT (the “Rexford Trustee’s
                                             11   Deed”). The Chalette Trustee’s Deed and the Rexford Trustee’s Deed were
                                             12   recorded on or about March 6, 2015. Plaintiffs attach true copies of the Chalette
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                                             13   Trustee’s Deed and the Rexford Trustee’s Deed as Exhibits 9 and 10 to this
             Los Angeles, California 90017
               617 W. 7th St., Suite 702




                                             14   Complaint, respectively.
                   (213) 550-4020
                    LAW OFFICES




                                             15         79.    Plaintiffs are informed and believe, and on that basis allege, that on or
                                             16   about June 26, 2015, Fieldbrook sold the Chalette Home to the Malakzads for
                                             17   approximately $8,995,000, with a net profit to Fieldbrook of at least $2.6 million.
                                             18         80.    Plaintiffs are informed and believe, and on that basis allege, that
                                             19   Reliable received the net proceeds of the sale of the Chalette Home.
                                             20         81.    Plaintiffs are informed and believe, and on that basis allege, that as of
                                             21   February 2015, the fair market value of the Rexford Home was approximately
                                             22   $12 million to $15 million.
                                             23         82.    Plaintiffs are informed and believe, and on that basis allege, that:
                                             24                (A)   Elkwood and Massoud executed a lease for the Rexford Home,
                                             25                      and claim to have executed such lease in or about March 2015
                                             26                      (although Plaintiffs do not know whether such date is accurate),
                                             27                      with Massoud to pay rent of $25,000 per month (the “Lease”).
                                             28


                                                                                      - 24 -
                                                                          COMPLAINT TO QUIET TITLE ETC.
                                         Case 2:17-cv-08894-JFW-JEM Document 1 Filed 12/11/17 Page 25 of 97 Page ID #:25

                                              1                      Plaintiffs attach a true copy of the Lease as Exhibit 11 to this
                                              2                      Complaint;
                                              3                (B)   when Elkwood and Massoud entered into the Lease, Massoud
                                              4                      had no ability to pay the rent under the Lease, and through
                                              5                      Nourafshan, Elkwood knew that Massoud had no ability to pay
                                              6                      the rent under the Lease or to otherwise perform under the
                                              7                      Lease;
                                              8                (C)   Massoud never paid any rent, and no one on his behalf paid any
                                              9                      rent, under the Lease or with respect to the Rexford Home; and
                                             10                (D)   Yet, Elkwood took no action whatsoever to evict Massoud or to
                                             11                      otherwise enforce its rights under the Lease.
                                             12   The Bankruptcies, the Settlement, and Relief from Stay
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                                             13         83.    Solyman’s bankruptcy and Massoud’s bankruptcy (together, the
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               617 W. 7th St., Suite 702




                                             14   “Bankruptcies”) were commenced on August 3, 2016.
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                                             15         84.    The commencement of the Bankruptcies gave rise to an automatic stay
                                             16   (under 11 U.S.C. § 362(a)), which enjoined Plaintiffs from taking any action
                                             17   against the Debtors or their property.
                                             18         85.    The Trustee and Plaintiffs entered into a settlement of various disputes
                                             19   between and among them (the “Settlement”). As part of that Settlement, Plaintiffs
                                             20   were authorized to pursue any and all rights that they would have had with respect
                                             21   to the Homes, the Chalette Foreclosure Sale, and the Rexford Foreclosure Sale
                                             22   (collectively, the “Foreclosure Claims”), as though the Bankruptcies had not been
                                             23   commenced.
                                             24         86.    The bankruptcy court hearing the Bankruptcies entered an order
                                             25   approving that Settlement and, among other things, granting Plaintiffs relief from
                                             26   the automatic stay to pursue their Foreclosure Claims. That order became effective
                                             27   October 11, 2017, and is now final.
                                             28


                                                                                      - 25 -
                                                                          COMPLAINT TO QUIET TITLE ETC.
                                         Case 2:17-cv-08894-JFW-JEM Document 1 Filed 12/11/17 Page 26 of 97 Page ID #:26

                                              1                                             IV.
                                              2                              FIRST CLAIM FOR RELIEF
                                              3   (By Plaintiffs against Chase, Chase Loan Services, Fieldbrook, Nourafshan, Reliable,
                                              4    Dayani, Soda Partners, DMARC, the Trustee, Citivest, and the Malakzads to Quiet
                                              5                                 Title to the Chalette Home)
                                              6         87.    Plaintiffs reallege and incorporate in this Paragraph each and every
                                              7   allegation contained in Paragraphs 1 through 86, inclusive, of this Complaint.
                                              8         88.    As of the Chalette Foreclosure Sale, the Fieldbrook Assignment had
                                              9   not been recorded.
                                             10         89.    Hence, as of the Chalette Foreclosure Sale, Fieldbrook could not
                                             11   exercise the power of sale under the PWB Chalette DOT.
                                             12         90.    As of (A) the recording of the Chalette Notice of Sale, (B) the Chalette
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                                             13   Foreclosure Sale, and (C) the execution and delivery of the Chalette Trustee’s
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               617 W. 7th St., Suite 702




                                             14   Deed, Citivest was not qualified to do business in California.
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                                             15         91.    As a result of the foregoing, the Chalette Foreclosure Sale is void,
                                             16   Citivest was not authorized to execute and deliver the Chalette Trustee’s Deed, and
                                             17   any purported transfer of the Chalette Home to Fieldbrook, and Fieldbrook’s
                                             18   subsequent sale and transfer of the Chalette Home to the Malakzads are void.
                                             19         92.    Plaintiffs therefore are entitled to a judicial declaration that
                                             20                (A)     that Chalette Foreclosure Sale is void;
                                             21                (B)     that title in the Chalette Home is vested in the Trustee, as trustee
                                             22                        of Solyman’s bankruptcy;
                                             23                (C)     that until the order for relief was entered in Solyman’s
                                             24                        bankruptcy, Solyman, as trustee of the Solyman Family Trust,
                                             25                        retained ownership of the Chalette Home despite the Chalette
                                             26                        Foreclosure Sale and any purported transfer of the Chalette
                                             27                        Home;
                                             28


                                                                                       - 26 -
                                                                           COMPLAINT TO QUIET TITLE ETC.
                                         Case 2:17-cv-08894-JFW-JEM Document 1 Filed 12/11/17 Page 27 of 97 Page ID #:27

                                              1                (D)   that once the order for relief was entered in Solyman’s
                                              2                      bankruptcy, ownership of the Chalette Home was transferred to
                                              3                      his bankruptcy estate;
                                              4                (E)   that the liens of Chase, Fieldbrook, Israel, Howard, Dayani,
                                              5                      Soda Partners, DMARC, and each of them, against the Chalette
                                              6                      Home, remain with the same validity and in that order of
                                              7                      priority (the order of priority that they had if the Chalette
                                              8                      Foreclosure Sale had not occurred); and
                                              9                (F)   Of the amount and terms of the liens of Chase, Fieldbrook,
                                             10                      Israel, Howard, Dayani, Soda Partners, and DMARC, and each
                                             11                      of them, against the Chalette Home; and
                                             12         93.    Plaintiffs are informed and believe, and on that basis, that Nourafshan
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                                             13   caused Fieldbrook to transfer to Reliable the proceeds of the sale of the Chalette
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               617 W. 7th St., Suite 702




                                             14   Home to the Malakzads.
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                                             15

                                             16                                            V.
                                             17                            SECOND CLAIM FOR RELIEF
                                             18      (By Plaintiffs against Chase, Quality Loan, Elkwood, Fieldbrook, Soda Partners,
                                             19          DMARC, the Trustee, and Citivest to Quiet Title to the Rexford Home)
                                             20         94.    Plaintiffs reallege and incorporate in this Paragraph each and every
                                             21   allegation contained in Paragraphs 1 through 86, inclusive, of this Complaint.
                                             22         95.    As of the Rexford Foreclosure Sale, Elkwood had no interest in the
                                             23   PWB Loan, and hence, as a matter of law, no interest in the Rexford DOT. Hence,
                                             24   Elkwood’s purported credit bid at that Foreclosure Sale was a nullity.
                                             25         96.    As of (A) the recording of the Rexford Notice of Sale, (B) the Rexford
                                             26   Foreclosure Sale, and (C) the execution and delivery of the Rexford Trustee’s Sale,
                                             27   Citivest was not qualified to do business in California.
                                             28


                                                                                      - 27 -
                                                                          COMPLAINT TO QUIET TITLE ETC.
                                         Case 2:17-cv-08894-JFW-JEM Document 1 Filed 12/11/17 Page 28 of 97 Page ID #:28

                                              1         97.   As a result of the foregoing, the Rexford Foreclosure Sale is void,
                                              2   Citivest was not authorized to execute and deliver the Rexford Trustee’s Deed, and
                                              3   any purported transfer of the Rexford Home to Elkwood is void.
                                              4         98.   Plaintiffs therefore are entitled to a judicial declaration that
                                              5               (A)    that Rexford Foreclosure Sale is void;
                                              6               (B)    that title in the Rexford Home is vested in the Trustee, as trustee
                                              7                      of Massoud’s bankruptcy;
                                              8               (C)    that until the order for relief was entered in Massoud’s
                                              9                      bankruptcy, Massoud, as trustee of the Massoud Family Trust,
                                             10                      retained ownership of the Rexford Home despite the Rexford
                                             11                      Foreclosure Sale;
                                             12                (D) that once the order for relief was entered in Massoud’s
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                                             13                      bankruptcy, ownership of the Rexford Home was transferred to
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               617 W. 7th St., Suite 702




                                             14                      his bankruptcy estate; and
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                                             15               (E)    that the liens of Chase, Elkwood, Israel, Howard, Soda Partners,
                                             16                      and DMARC, and each of them, against the Rexford Home,
                                             17                      remain with the same validity and in that order of priority (the
                                             18                      order of priority that they had if the Rexford Foreclosure Sale
                                             19                      had not occurred).
                                             20

                                             21                                           VI.
                                             22                            THIRD CLAIM FOR RELIEF
                                             23   (By Plaintiffs against Elkwood, Fieldbrook, Reliable, Nourafshan, and Does 1 through
                                             24                      50, inclusive, for Conspiracy to Chill Bidding)
                                             25         99.   Plaintiffs reallege and incorporate in this Paragraph each and every
                                             26   allegation contained in Paragraphs 1 through 86, inclusive, of this Complaint.
                                             27         100. Plaintiffs are informed and believe, and on that basis allege, that the
                                             28   Debtors, Nourafshan (through Fieldbrook and Elkwood), and the Doe Defendants

                                                                                     - 28 -
                                                                         COMPLAINT TO QUIET TITLE ETC.
                                         Case 2:17-cv-08894-JFW-JEM Document 1 Filed 12/11/17 Page 29 of 97 Page ID #:29

                                              1   conspired to defraud Plaintiffs (as junior lienholders “in the money” on the Chalette
                                              2   Home and the Rexford Home) by taking steps to “chill," or prevent entirely,
                                              3   bidding at the Chalette Foreclosure Sale and the Rexford Foreclosure Sale.
                                              4         101. Plaintiffs are informed and believe, and on that basis allege, that
                                              5   Elkwood, Fieldbrook, Reliable, Nourafshan, the Doe Defendants, and each of them,
                                              6   directly and/or through their agents and their co-conspirators, did the acts and
                                              7   things alleged in this Complaint pursuant to, and in furtherance of, such conspiracy.
                                              8   Plaintiffs are further informed and believe, and on that basis allege, that such
                                              9   Defendants’ respective involvements include, but are not limited to:
                                             10                (A)    Elkwood, through Nourafshan, delayed until July 14, 2015 in
                                             11                       recording the Tri-Center Reconveyance for the purpose, and
                                             12                       with the intent, of misleading potential bidders at a foreclosure
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                                             13                       on the Rexford Home into believing that the Tri-Center Loan
             Los Angeles, California 90017
               617 W. 7th St., Suite 702




                                             14                       was still outstanding and secured by the Tri-Center Rexford
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                                             15                       DOT;
                                             16                (B)    Massoud and Nourafshan agreed that:
                                             17                       (1)    Nourafshan would cause the Nourafshan Family’s entities
                                             18                              to structure the foreclosures under the PWB Rexford DOT
                                             19                              and the PWB Chalette DOT in such a manner as to permit
                                             20                              Nourafshan and his Family’s entities to be the high
                                             21                              bidders at the foreclosure sales without having to bid
                                             22                              anything more than the amount of the PWB Loan even
                                             23                              though the value of the Chalette Home and the Rexford
                                             24                              Home, collectively, far exceeded the amount of the PWB
                                             25                              Loan;
                                             26                       (2)    Solyman would vacate the Chalette Home so that the
                                             27                              Nourafshan entity that purchased the Chalette Home at
                                             28


                                                                                        - 29 -
                                                                            COMPLAINT TO QUIET TITLE ETC.
                                         Case 2:17-cv-08894-JFW-JEM Document 1 Filed 12/11/17 Page 30 of 97 Page ID #:30

                                              1                          the Chalette Foreclosure Sale would quickly sell the
                                              2                          Chalette Home for a substantial profit; and
                                              3                  (3)     Nourafshan would “rent” Massoud the Rexford Home for
                                              4                          a nominal rent of $25,000 per month, but in fact, Massoud
                                              5                          would pay no rent;
                                              6            (C)   Elkwood and Fieldbrook, through Nourafshan, acted according
                                              7                  to such agreement;
                                              8            (D)   Citivest noticed the Rexford Notice of Trustee’s Sale to indicate
                                              9                  that the Rexford Foreclosure Sale would occur at a non-existent
                                             10                  Post Office;
                                             11            (E)   Elkwood, Fieldbrook, Nourafshan, Citivest, and Massoud
                                             12                  elected not to record the Fieldbrook Assignment before the
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                                             13                  Chalette Foreclosure Sale;
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               617 W. 7th St., Suite 702




                                             14            (F)   Elkwood, Citivest, Nourafshan, and Massoud elected not to
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                    LAW OFFICES




                                             15                  record the Tri-Center Reconveyance before the Rexford
                                             16                  Foreclosure Sale;
                                             17            (G)   Elkwood, Fieldbrook, Nourafshan, Citivest, and Massoud
                                             18                  elected to state the full balance on the Rexford Notice of
                                             19                  Trustee’s Sale even though they also noticed the Chalette
                                             20                  Foreclosure Sale to occur before the Rexford Foreclosure Sale
                                             21                  would occur, and therefore with full knowledge that the balance
                                             22                  on the PWB Loan would be substantially less (and, indeed, at
                                             23                  least $5,800,000 [the initial, i.e., minimum, bid at the Chalette
                                             24                  Foreclosure Sale] less) by the time of the Rexford Foreclosure
                                             25                  Sale;
                                             26            (H)   Elkwood (in the case of the Chalette Notice of Trustee’s Sale),
                                             27                  Fieldbrook (in the case of the Rexford Notice of Trustee’s Sale),
                                             28                  Nourafshan, Citivest, and Massoud elected to send the Chalette

                                                                                   - 30 -
                                                                       COMPLAINT TO QUIET TITLE ETC.
                                         Case 2:17-cv-08894-JFW-JEM Document 1 Filed 12/11/17 Page 31 of 97 Page ID #:31

                                              1                        Notice of Trustee’s Sale and the Rexford Notice of Trustee’s
                                              2                        Sale to Taghdiri, even though they knew that Taghdiri was the
                                              3                        Debtors’ counsel, not Sina’s;
                                              4                 (I)    Reliable received the net proceeds of the Chalette Home, and
                                              5                        through Nourafshan, intended to receive such proceeds to
                                              6                        defraud Plaintiffs.
                                              7          102. In the alternative, if the Foreclosures are not void, then, as a proximate
                                              8   result of such conspiracy, Plaintiffs were proximately damaged by such conspiracy
                                              9   in an amount to be proven at trial in that their liens on the Homes were extinguished
                                             10   with no payment to Plaintiffs, even though the Homes had approximately $10.5
                                             11   million in equity, net of the liens senior to Israel’s lien.
                                             12          103. Plaintiffs are informed and believe, and on that basis allege, that
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                                             13   Elkwood, Fieldbrook, Reliable, Nourafshan, Does 1 through 50, inclusive, and each
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               617 W. 7th St., Suite 702




                                             14   of them, intentionally, willfully, fraudulently, and maliciously did the things herein
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                                             15   alleged to defraud and oppress Plaintiffs. Plaintiffs are therefore entitled to
                                             16   exemplary and punitive damages in an amount to be proven at trial.
                                             17

                                             18          WHEREFORE, Plaintiffs Howard L. Abselet and Israel Abselet pray for
                                             19   judgment as follows:
                                             20          1.     On the First Claim for Relief, for Quiet Title to the Chalette Home, as
                                             21   against Chase, Chase Loan Services, Fieldbrook, Nourafshan, Reliable, Dayani,
                                             22   Soda Partners, DMARC, the Malakzads, the Trustee, and Citivest,
                                             23                 (A)    for a declaration:
                                             24                        (1)    that Chalette Foreclosure Sale is void;
                                             25                        (2)    that title in the Chalette Home is vested in the Trustee, as
                                             26                               trustee of Solyman’s bankruptcy; and
                                             27                        (3)    that until the order for relief was entered in Solyman’s
                                             28                               bankruptcy, Solyman, as trustee of the Solyman Family

                                                                                         - 31 -
                                                                             COMPLAINT TO QUIET TITLE ETC.
                                         Case 2:17-cv-08894-JFW-JEM Document 1 Filed 12/11/17 Page 32 of 97 Page ID #:32

                                              1                              Trust, retained ownership of the Chalette Home despite
                                              2                              the Chalette Foreclosure Sale and any purported transfer
                                              3                              of the Chalette Home,
                                              4                       (4)    that once the order for relief was entered in Solyman’s
                                              5                              bankruptcy, ownership of the Chalette Home was
                                              6                              transferred to his bankruptcy estate; and
                                              7                       (5)    that the liens of Chase, Fieldbrook, Israel, Howard,
                                              8                              Dayani, Soda Partners, and DMARC, and each of them,
                                              9                              against the Chalette Home, remain with the same validity
                                             10                              and in that order of priority (the order of priority that they
                                             11                              had if the Chalette Foreclosure Sale had not occurred);
                                             12                       (6)    Of the amount and terms of the liens of Chase,
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                                             13                              Fieldbrook, Israel, Howard, Dayani, Soda Partners, and
             Los Angeles, California 90017
               617 W. 7th St., Suite 702




                                             14                              DMARC, and each of them, against the Chalette Home;
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                                             15                              and
                                             16                (B)    for an order that Nourafshan and Reliable turn over to the
                                             17                       Trustee all of the proceeds of the sale of the Chalette Home to
                                             18                       the Malakzads.
                                             19         2.     On the Second Claim for Relief, for Quiet Title to the Rexford Home,
                                             20   as against Chase, Quality Loan, Fieldbrook, Elkwood, Soda Partners, DMARC, the
                                             21   Trustee, and Citivest, for a declaration:
                                             22                (A)    that Rexford Foreclosure Sale is void;
                                             23                (B)    that title in the Rexford Home is vested in the Trustee, as trustee
                                             24                       of Massoud’s bankruptcy;
                                             25                (C)    that until the order for relief was entered in Massoud’s
                                             26                       bankruptcy, Massoud, as trustee of the Massoud Family Trust,
                                             27                       retained ownership of the Rexford Home despite the Rexford
                                             28                       Foreclosure Sale;

                                                                                        - 32 -
                                                                            COMPLAINT TO QUIET TITLE ETC.
                                         Case 2:17-cv-08894-JFW-JEM Document 1 Filed 12/11/17 Page 33 of 97 Page ID #:33

                                              1                (D)    that once the order for relief was entered in Massoud’s
                                              2                       bankruptcy, ownership of the Rexford Home was transferred to
                                              3                       his bankruptcy estate; and
                                              4                (E)    that the liens of Chase, Elkwood, Israel, Howard, Soda Partners,
                                              5                       and DMARC, and each of them, against the Rexford Home,
                                              6                       remain with the same validity and in that order of priority (the
                                              7                       order of priority that they had if the Rexford Foreclosure Sale
                                              8                       had not occurred).
                                              9         3.     On the Third Claim for Relief, for Conspiracy to Chill Bidding, as
                                             10   against Elkwood, Fieldbrook, Reliable, Nourafshan, and Does 1 through 50,
                                             11   inclusive, and all of them, for
                                             12                (A)    compensatory damages in the amount of $15,703,807.33 as of
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                                             13                       date of the settlement agreement by and between the Trustee and
             Los Angeles, California 90017
               617 W. 7th St., Suite 702




                                             14                       the Abselets; and
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                                             15                (B)    exemplary and punitive damages in an amount to be proven at
                                             16                       trial;
                                             17         4.     For interest on all sums;
                                             18         5.     For an award of attorney’s fees, as provided in the various loan
                                             19   documents, deeds of trust, and the Judgment;
                                             20         6.     For costs of litigation; and
                                             21         7.     For such further relief as the Court may award.
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                                                                                       - 33 -
                                                                           COMPLAINT TO QUIET TITLE ETC.
                                         Case 2:17-cv-08894-JFW-JEM Document 1 Filed 12/11/17 Page 34 of 97 Page ID #:34

                                              1   DATED: December 11, 2017           Respectfully submitted,
                                              2
                                                                                     THE DAVID FIRM®
                                              3

                                              4                                      By: __/s/ Henry S. David__________
                                                                                           Henry S. David
                                              5
                                                                                         Attorneys for Plaintiffs
                                              6                                          HOWARD L. ABSELET and
                                                                                         ISRAEL ABSELET
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                                                                                 - 34 -
                                                                     COMPLAINT TO QUIET TITLE ETC.
Case 2:17-cv-08894-JFW-JEM Document 1 Filed 12/11/17 Page 35 of 97 Page ID #:35
                                         Case 2:17-cv-08894-JFW-JEM Document 1 Filed 12/11/17 Page 36 of 97 Page ID #:36

                                              1                             INDEX OF EXHIBITS
                                              2   Ex. No. Description
                                              3      1     Legal Description (Chalette Home)
                                              4      2     Legal Description (Rexford Home)
                                              5      3     Pacific Western Bank Deed of Trust (Chalette Home), recorded
                                              6            March 25, 2009
                                              7      4     Pacific Western Bank Deed of Trust (Rexford Home), recorded
                                              8            March 25, 2009
                                              9      5     Full Recoveyance (Rexford Home), recorded July 14, 2015
                                             10      6     Notice of Trustee’s Sale (Chalette Home), recorded January 27, 2015
                                             11      7     Notice of Trustee’s Sale (Rexford Home), recorded January 27, 2015
                                             12      8     Assignment of Note and Deed of Trust, recorded March 6, 2015
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                                             13      9     Trustee’s Deed Upon Sale (Chalette Home), recorded March 6, 2015
             Los Angeles, California 90017
               617 W. 7th St., Suite 702




                                             14     10     Trustee’s Deed Upon Sale (Rexford Home), recorded March 6, 2015
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                                             15     11     Lease (Rexford Home), dated March 7, 2015
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                                                                                 - 36 -
                                                                     COMPLAINT TO QUIET TITLE ETC.
Case 2:17-cv-08894-JFW-JEM Document 1 Filed 12/11/17 Page 37 of 97 Page ID #:37
Case 2:17-cv-08894-JFW-JEM Document 1 Filed 12/11/17 Page 38 of 97 Page ID #:38



                       Legal Description of the Chalette Home
 LOT 34 IN TRACT NO. 24484, IN THE CITY OF BEVERLY HILLS, COUNTY OF
 LOS ANGELES, STATE OF CALIFORNIA, AS PER MAP RECORDED IN BOOK 657,
 PAGES 99 AND 100 OF MAPS, IN THE OFFICE OF THE COUNTY RECORDER OF SAID
 COUNTY.

 A.P.N. 4391-009-002
 AKA: 580 CHALETTE DRIVE, BEVERLY HILLS, CA 90210
Case 2:17-cv-08894-JFW-JEM Document 1 Filed 12/11/17 Page 39 of 97 Page ID #:39
Case 2:17-cv-08894-JFW-JEM Document 1 Filed 12/11/17 Page 40 of 97 Page ID #:40



                       Legal Description of the Rexford Home
 LOT 5 AND THE NORTHERLY 15 FEET OF LOT 4 OF TRACT NO. 4201, IN THE CITY OF
 BEVERLY HILLS, COUNTY OF LOS ANGELES, STATE OF CALIFORNIA, AS PER MAP
 RECORDED IN BOOK 46, PAGE 63 OF MAPS, IN THE OFFICE OF THE COUNTY
 RECORDER OF SAID COUNTY.

 A.P.N. 4350-009-012
 AKA: 910 NORTH REXFORD DRIVE, BEVERLY HILLS, CA 90210
Case 2:17-cv-08894-JFW-JEM Document 1 Filed 12/11/17 Page 41 of 97 Page ID #:41
Case 2:17-cv-08894-JFW-JEM Document 1 Filed 12/11/17 Page 42 of 97 Page ID #:42

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                                                  Recorder's Office, Los Angeles County,
                                                                     California

                                                           03/25/09 AT 08:00AM


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   Case 2:17-cv-08894-JFW-JEM Document 1 Filed 12/11/17 Page 43 of 97 Page ID #:43


RECORDATION REQUESTED BY:

  RECORDING REQUESTED BY
      STEWARTmLE
WHEN RECORDED MAIL TO:
    Pacific Western Bank
    We111t Covina Office
    220 South Vincent Avenue
    West Covina, CA 91790

SEND TAX NOTICES TO:
    Solyman Yashouafar, Truatee of The Solyman and
    Soholla Yushouafar 2004 Truet und01' the provisions of
    a truet agreement dated March 8, 2004
    660 South Aguaora Street, 24th Floor
    Lo8 Angeles. CA 90017                                                                                      FOR RECORDER'S USE ONLY



                                                          DEED OF TRUST
THIS DEED OF TRUST is dated March 20, 2009, among ~Solyman Yashouafar, ms Trustee of the Solym~ and
Soheila Yashouafar 2004 Trust dated March 8, 2004 ("Trustor"); Pacific Western Bank, whose address is
West Covina Office, 220 South Vincent Avenue, West Covina, CA 91790 (referred to below sometimes as
"Lender" and sometimes as "Beneficiary"); and 1Pacific Western Bank, whose address is 5900 La Place Court,
Carlsbad, CA 92008 (referred to below as "Trustee").
CONVEYANCE AND GRANT. For valuable consideration, Trustor Irrevocably grants, tranafera and asalgna to Trustee In trust, with power
of aale, for the benefit of Lender aa Beneficiary, all of Trustor's right, title, and interest in and to the followmg described reel property,
together with all ex1stmg or subsequently erected or affixed bu1ldmgs, improvements end f1xtures; all easements, rights of way, and
appurtenances; aii water, water rights and d1tch nghts lincludmg stock 10 utilities with dttch or irngatton nghtsl: and ell other rl(!hts,
royalties, and prof1ts relatmg to the real property, includ1ng Without limitation all minerals, oil, gas, geothermal and similar matters, lthe
"Real Property") located In los Angeles County. State of California:
    Lot 34, of Tract No. 24484, in the City of Beverly Hills, County of los Angeles, State of California, as per
    map recorded in Book 657, Pages 99 and 100 of Maps, in the Office of the County recorder of said
    County.
The Real Property or Its address is commonly known as 580 Chelette Drive, Beverly Hills, CA 90210. The
Assessor's Parcel Number for the Real Property is 4391-009-002.
Trustor presently ass1gns to Lender (also known as Benef1crary m this Deed of Trust) all of Trustor's right, trtle, and Interest m and to all
present and future leases of the Property and all Rents from the Property. Th1s 1s an absolute assignment of Rents made in connectiOn
With an obhgatlon secured by reel property pursuant to Cahforma C1vil Code Sect1on 2938. In addition, Trustor grants to Lender a Un1form
Commerc1el Code secunty Interest In the Personal Property and Rents.
THIS DEED OF TRUST, INCLUDING THE ASSIGNMENT OF RENTS AND THE SECURITY INTEREST IN THE RENTS AND PERSONAL
PROPERTY, IS GIVEN TO SECURE (A} PAYMENT OF THE INDEBTEDNESS AND IBl PERFORMANCE OF ANY AND ALL OBLIGATIONS
UNDER THE NOTE, THE RELATED DOCUMENTS, AND THIS DEED OF TRUST. THIS DEED OF TRUST ts GIVEN AND ACCEPTED ON THE
FOLLOWING TERMS:
TRUSTOR'S REPRESENTATIONS AND WARRANTIES. Trustor warrants that: (a) this Deed of Trust 1s executed at Borrower's request end
not at the request of Lander; (b) Trustor has the full power, nght, and authority to enter mto thts Deed of Trust and to hypothecate the
Property; (c) the prov1s1ons of th1s Deed of Trust do not conflict with, or result in a default under any agreement or other mstrument
bmdmg upon Trustor and do not result m a violation of any law, regulat1on, court decree or order applicable to Trustor; (d) Trustor has
established adequate means of obtammg from Borrower on a contmUing basis information about Borrower's financial condrt1on; and lei
Lender has made no representation to Trustor about Borrower {including wtthout limitation the creditworthmess of Borrower).
TRlJSTOR'S WAIVERS. Except as prohib1ted by applicable law, Trustor wa1ves any right to reqUire Lender to (a) make any presentment,
protest, demand, or notice of any k1nd, includmg not1ce of change of any terms of repayment of the Indebtedness, default by Borrower or
any other guarantor or surety, any action or nonact1on taken by Borrower, Lender, or any other guarantor or surety of Borrower, or the
creation of new or additional Indebtedness; (bl proceed aga1nst any person, mcludrng Borrower, before proceedmg agamst Trustor; lei
proceed aga1nst any collateral for the Indebtedness. tncludmg Borrower's collateral, before proc&edlng agamst Trustor; (dl apply any
payments or proceeds rece1ved against the Indebtedness in any order; (e) g1ve nottce of the terms, t•me, and place of any sale of any
collateral pursuant to the Uniform Commarctal Code or any other law governing such ~>ale; lfl disclose any informatron about the
lndebtedneu, Borrower, eny colhnerel, or any other guarantor or surety, or about any action or nonactron of lender; or (g) pursue any
remedy or course of ect1on in Lender's power whatsoever.
Trustor also wa1ves any and all rights or defenses arismg by reason of {h) any diSability or other defense of Borrower, any other guarantor
or surety or any other person; {I) the cessat1on from any cause whatsoever, other than payment m full, of the Indebtedness; IJ) the




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 Case 2:17-cv-08894-JFW-JEM Document 1 Filed 12/11/17 Page 44 of 97 Page ID #:44

                                                           DEED OF TRUST
Loan No: 200366760                                              (Continued)                                                              Page 2


applicetion of proceeds of the Indebtedness by Borrower for purposes other then the purposes understood and intended by Trustor and
Lender; lkl any act of omlsston or commission by Lender which directly or indtrectly results m or contributes to the discharge of Borrower
or any other guarantor or surety, or the Indebtedness, or the loss or release of any collateral by operation of law or otherwtse; (I) any
statute of limitations in any action under this Deed of Trust or on the Indebtedness; or lml any modtfic~:~tion or change m terms of the
indebtedness, whatsoever, includmg without limitat1on, the renewal, extenston, acceleretton. or other change in the time payment of the
Indebtedness is due and any change In the tnterest rate.
Trustor waives all rtghts and defenses anstng out of an election of remedtes by Lender, even though that elect1on of remedtes, such as
non-JUdtclal foreclosure Wtth re11pect to secunty for a guaranteed obhgatton, has destroyed Trustor's rtghts of subrogation and
reimbursement agamst Borrower by the operat1on of Section 580d of the Cehforn•a Code of Civil Procedure, or otherwise.
Trustor waives all rtghts and defenses that Trustor may have because Borrower's obligatton ts secured by real property. Thts means
among other thmgs: {1) Lender may collect from Trustor Without f~rst foreclosing on any real or personal property collateral pledged by
Borrower. (2) If Lender forecloses on any real property collateral pledged by Borrower: (A) The amount of Borrower's obhgat1on may be
reduced only by the price for whtch the collateral IS sold at the foreclosure 11ale, even 1f the collateral is worth more than tho sale price. (BI
Lender may collect from Tru11tor even If Lender, by foreclosmg on the real property collateral, has destroyed any nght Trustor may have to
collect from Borrower. Th1s 1s an unconditional and Irrevocable waiver of any nghts and defenses Trustor may heve because Borrower's
obligation is secured by real property. These nghts and defenses include, but are not hmtted to, eny rights end defenses based upon
Section 580a, 5BOb, 580d, or 726 of the Code of Ctvil Procedure.
Trustor understands and agrees thet the foregoing waiVers are unconditional and Irrevocable watvers of substantive nghts and defenses to
wh1ch Trustor might otherwtso be entitled under state and federal lew. The rtghts and defenses wa1ved tnclude, without hmltatton, those
prov1ded by Cahforma laws of suretyship and guaranty, anti-def1ctency laws, and the Untform Commercu:ll Code. Trustor acknowledges
that Trustor has provtdod these watvers of rights and defenses wtth tho intentton that they be fully relied upon by Lender. Trustor further
understands and agrees that th1s Deed of Trust is a separate and independent contract between Trustor and Lender, given for full and
ample considaration, and IS enforceable on 1ts own terms. Unttl all Indebtedness 1s paid tn full, Trustor watves any right to enforce any
remedy Trustor may have against Borrower's or any othar guarantor, surety, or other person, and further, Trustor wa1ves any nght to
participate m any collateral for the Indebtedness now or hereafter held by Lender.
PAYMENT AND PERFORMANCE. Except as otherwise provided tn thts Deed of Trust, Borrower shall pay to Lender all Indebtedness
secured by thts Deed of Trust as tt becomes due, and Borrower and Trustor shall perform all their respect1ve obhgattons under the Note,
this Dead of Trust, end the Related Documents.
POSSESSION AND MAINTENANCE OF THE PROPERTY. Borrower and Trustor agree that Borrower's and Trustor's possessiOn and use of
the Property shall be governed by the following proVISions:
     Poaaesslon and Use. Unttl the occurrence of an Event of Default, Trustor may (1) remam tn possession and control of the Property;
     (2) use, operate or manage the Property; and (3) colla{)t the Rents from the Property.
     Duty to Maintain. Trustor shall matntam the Property in tenantable condttton and promptly perform all repatrs, replacements, and
     matntenance necessary to preserve 1ts value.
     Compl~nce    With Environmental Laws. Trustor represents and warrants to Lender that: ( 1 I During the pariod of Trustor's ownership
     of the Property, there has been no use, generation, manufacture, storage, treatment, disposal, release or threatened release of any
     Hazardous Substance by any person on, under, about or from the Property; (2) Trustor has no knowledge of, or reason to balleve
     that there has been, except as previoUsly disclosed to and acknowledged by Lender tn wnttng, (a) any breach or violation of any
     Environmental Lows, (b) any use, generation, manufacture. storage, treatment, disposal. release or threatened release of any
     Hazardous Substance on, under, about or from the Property by any pnor owners or occupants of the Property, or (c) any actual or
     threatened ht1gat1on or cla1ms of any kind by any person relating to such matters; and (3) Except as previously disclosed to and
     acknowledged by Lender in wr1tlng, (a) ne•ther Trustor nor any tenant, contractor, agent or other authorized user of the Property
     shall use, generate, manufacture, store, treat, dispose of or release any Hazardous Substance on, under, about or from the Property;
     and (bl any such act1v1ty shell be conducted m compliance wtth all applicable federal, state, and local laws, regulations and
     ordtnances, rncluding without limttatton all Environmental Laws. Trustor authorizes Lender and 1ts agents to enter upon the Property
     to make such inspections and tests, at Trustor's expense, as Lender may deem approprtate to determme compliance of the Property
     w1th this sect1on of the Deed of Trust. Any inspections or tests made by Lender shall be for Lender's purposes only and shall not be
     construed to create any responstblhty or habll1ty on the part of Lendar to Trustor or to any other person. The representations and
   , warrenttes contained here1n are based on Trustor's due dthgence in tnvesttgating the Property for Hazardous Substances. Trustor
     hereby ( 11 releases and watves any future cletms agamst Lender for Indemnity or contribution m the event Trustor becomes lmble for
     cleanup or other costs under any such laws; and (2) agra.es to indemn1fy, defend, end hold harmless Lender agamst any and all
     claims, losses, liabthtte!i, damages, penalties, and expanses whtch Lender may dtrectly or tndtrectly sustain or suffer resultmg from a
     breach of this sectton of the Deed of Trust or as a con11equence of any use, generatiOn, manufacture, storage, dtsposal, release or
     threatened release occurrmg prior to Trustor's ownership or Interest in the Property, whether or not the same was or should have
     been known to Trustor. The provisions of th1s sectton of the Deed of Trust, includtng the obligation to indemntfy and defend, shall
     survtve the payment of the Indebtedness and the satisfaction and reconveyance of the hen of thts Deed of Trust and shall not be
     affected by Lender's acquisition of any Interest m the Property, whether by foreclosure or otherw1se.
     Nuluance, Waste. Trustor shall not cause, conduct or permit any nUisance nor comm1t, permit, or suffer any stripping of or waste on
     or to the Property or any portton of the Propsrty. Without limit1ng the generality of the foregomg, Trustor wtll not remove, or grant to
     any other party the nght to remove, any timber, mmerals (mcludtng oil and gas), coal, clay, scorta, so1l, gravel or rock products
     without Lender's pnor written consent.
     Removal of lmprovamunts. Trustor shell not demolish or remove any Improvements from the Real Property w•thout Lender's pnor
     written conaent. A& a condttion to the ramoval of any Improvements, Lender may require Trustor to make arrangements satisfactory
     to Lender to replace such Improvements wtth Improvements of at least equal value.
     Lender's Rlght to Enter. Lender and Lender's agents end representatiVes may enter upon the Real Property at all reasonable ttmes to




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   Case 2:17-cv-08894-JFW-JEM


                                                          DEED OF TRUST
Loam No: -zoo366760                                         (Continued)                                                              Page 3


    attend to lender's Interests and to mspect the Rea! Property for purpons of Trustor's compliance with the terms and conditions of
    th1s Deed of Trust.
    Compliance with Governmental Requirements. Trustor shall promptly comply w1th all laws, ord1nances, and regulatiOns, now or
    hereafter in effect, of all governmental authorities applicable to the use or occupancy of the Property, includmg Without limitation, the
    Americans With D1sablht1as Act. Trustor may contest in good fa1th any such law, ordmance, or regulation and w1thhold compllenco
    dunng any proceeding, includmg appropriate appeals, so long as Trustor has notified Lender 1n wntmg prior to doing so and so long as,
    1n Lender's sole opm1on, Lander's mterests m the Property are not jeopardized. Lender may requ1re Trustor to post adequate sacunty
    or a surety bond, reasonably satisfactory to lender, to protect lender's interest.
    Duty to FrotGCt. Trustor agrees na1ther to abandon or ieave unattended the Property. Trustor shail do all other acts, In add1t1on to
    those acts set forth above 1n th1s section, wh1ch from the character and use of the Property are reasonably necessary to protect and
    preserve the Property.
DUE ON SALE • CONSENT BY LENDER. Lender may, at Lender's option, declare immediately due and payable all sums secured by this
Deed of Trust upon the sale or transfer, without Lender's pnor wntten consent, of all or any part of the Real Property, or any interest in the
Real Property. A "sale or transfer" means the conveyance of Real Property or any right, title or interest in the Reel Property; whether legal,
ooneflclal or equ1tabla; whether voluntary or 10voluntary; whether by outnght sale, dead, mstallment sale contract, land contract, contract
for de0d, leasehold interest with a term greater than threa (3) years, lease-option contract. or by sale. assignment, or transfer of any
benefmllll mtare!lt m or to any land trust holding t1tle to the Real Property, or by any other method of conveyance of an Interest 10 tho Real
Property. However, thiS option shall not be exercised by Lender if such exercise is prohibited by applicable law.
TAXES AND LIENS. The following provisions relating to the taxes and hens on the Property are part of thiS Deed of Trust:
    Payment. Trustor shall pay when due (and m all events at least ten !10) days pnor to delinquency) all taxes, special taxss,
    assessments, charges (Including water and sewer), f1nes and 1mpos1t1ons levted agamst or on account of the Property, and shall pay
    when due all cla1ms for work done on or for serv1ces rendered or matenal furnished to the Property. Trustor shall mamtein the
    Property free of ell hens having priority over or equal to the 1nterest of Lender under this Deed of Trust, except for the lien of taxes
    and assessments not due, except to; the Ex;stmg Indebtedness ;aferred to below, and except as otherw1ss provtdud m this Deed of
    Trust.
    Right to Contest. Trustor may Withhold payment of any tax, assessment, or cla1m m connection w1th a good faith d1spute over the
    obligatiOn to pey, so long as Lender's mterest in the Property IS not jeopardized. If a hen arises or 1s filed as a result of nonpayment,
    Trustor shall withm fifteen (1 5) days after the hen anses or, 1f a hen is filed, within f1ftaan (151 days after Trustor has notiCe of the
    ftling, secure the d1scharge of the lien, or 1f requested by lender, deposit w1th Lender cash or a suff1c1ent corporate surety bond or
    other secunty satisfactory to Lender in an amount sufficient to dtscharge the hen plus any costs and attorneys' fees, or other charges
    that could accrue as a result of e foreclosure or sale under the lien. In any contest, Trustor shall defend itself and Lender and shall
    satisfy any adverse JUdgment oofore enforcement against the Property. Trustor shall name Lender as an additional obligee under any
    surety bond furnished 1n the contest proceed1ngs.
    Evidence of Payment. Trustor shall upon demand furn1sh to Lender satisfactory ev1dence of payment of the taxes or assessments and
    shall authonze the appropriate governmental offJCaal to deliver to lender at any time a written statement of the taxes and assessments
    agamst the Property.
    Notice of Construction. Trustor shall notify Lender at least fifteen (15) days before any work is commenced, any services are
    furnished, or any matenals are supplied to the Property, 1f any mechanic's hen, materialmen's lien, or other lien could be asserted on
    account of the work, services, or matanals end the cost exceeds $25,000.00. Trustor will upon request of Lender furn1sh to Lender
    advance assurances satisfactory to lender that Trustor can and w1ll pay the cost of such Improvements.
PROPERTY DAMAGE INSURANCE. The following prov1s1ons relating to msurmg the Property are a part of this Deed of Trust.
    Maintenance of Insurance. Trustor shall procure and mamtam policies of fife Insurance with standard extended coverage
    endorsements on a replacement basis for the full msureble value covering aU Improvements on the Real Property in an amount
    suffiCient to avoid application of any cOinsurance clause, and w1th a standard mortgagee clause m favor of Lender. Trustor shall also
    procure and maintain comprehensive general hab1hty insurance in such coverage amounts as lender may request with Trustee and
    Lender oomg named as addmonal msureds in such liab1hty msurance pohc1es. Addlttonally, Trustor shall malntam such other
    msurance, mclud1ng but not limited to hazard, busmess mterruptlon, and boiler Insurance, as Lender may reasonebly requ1ra.
    Notwithstanding the foregomg, in no evant shell Trustor b9 reqUired to provide hazard insurance In excess of the replacement value of
    the 1mprovamants on the Real Property. Policies shall be wntten 1n form, amounts, coverages .;md ba$iS reasonably acceptable to
    Lender and issued by a company or companies reasonably acceptable to lender. Trustor, upon request of Lender, will deliver to
    Lender from t1me to time the policies or cert1f1catas of 1nsur~mce in form utusfactory to Lender, Including stipulations that coverages
    w1ll not b9 cancelled or d1mmished Without at least ten !101 days pnor wntten not1ce to Lender. Each insurance policy a!so sha!l
    1ncluda an endorsement providing that coverage 10 favor of Lender will not be 1mpa1rad 1n any way by any act, omission or default of
    Trustor or any other parson. Should the Real Property be located in an area designated by tho Director of the Federal Emergency
    Management Agency 11s a special flood hazard area, Trustor agrees to obtain and maintain Federal Flood Insurance, 1f 8Va1lable, w1th1n
    45 days after notice 1s g1ven by Lender that the Property is located in a spec1al flood hazard area, for the full unpaid principal balance
    of the loan and any pnor hens on the property securing the loan, up to the maximum policy limits set under the National Flood
    \rntuianca Program, ur as uihurvvisa raquiiad b-·y Lunder, and to rr.ciintain suet. insurance for thu tarrn o1lt.u ~oan.
    Application of Proceeds. Trustor shall promptly notify Landor of any loss or damage to the Property if the estm1ated cost of repair or
    replacement exceeds $25,000.00. lender may make proof of loss if Trustor fails to do so Wlthm fifteen (151 days of the casualty. If
    m Lender's sole JUdgment Lender's secunty Interest 1n tha Property has been impaired, Lender may, at lender's elect1on, receive and
    retain the proceeds of any insurance and apply the proceeds to the reduction of the Indebtedness, payment of any hen affectmg the
    Property, or the restoration end repa1r of the Property. If the proceeds are to be applied to restoration end repair, Trustor shall repair
    or replace the damaged or destroyed Improvements 10 a manner satisfactory to Lender. Lender shall, upon satisfactory proof of such
    expenditure, pay or reimburse Trustor from the proceeds for the reasonable cost of repair or rastorat1on if Trustor 1s not in default




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 Case 2:17-cv-08894-JFW-JEM Document 1 Filed 12/11/17 Page 46 of 97 Page ID #:46

                                                          DEED Of TRUST
Loan No: 200366760                                          (Continued}                                                                Page 4


    under thts Deed of Trust. Any proceeds whtch have not been dtsbursed within 180 days after their recoipt and wh1ch Lender has not
    comm1tted to the repatr or restoration of the Property shall be used first to pay any amount ow1ng to Lender under thts Deed of Trust,
    then to pay accrued Interest, and the rematnder, if any, shall be applied to the prmcipal balance of the Indebtedness. If Lender holds
    any proceeds after payment in full of the Indebtedness, such proceeds shall be patd to Trustor es Trustor's Interests may appear.
    Compliance with Existing Indebtedness. During the period in wh1ch any Existrng Indebtedness descrrbed below ts in effect, compliance
    w1th the Insurance provisions contarned m the tnstrument evidencing such Existmg Indebtedness shall constitute compliance wtth the
    Insurance provtstons under this Deed of Trust, to the extent compliance With the terms of this Dead of Trust would constttute a
    dupllcetton of Insurance requirement. If any proceeds from the insurance become payable on loss, the provisions in this Dead of Trust
    for diviston of proceeds shall apply only to that port1on of the proceeds not payable to the holder of the Existing Indebtedness.
    Truetor's Report on Insurance. Upon request of Lender, however not more than once a year, Trustor shall furnish to Lender a report
    on each ax1stmg policy of Insurance showmg: (11 the name of the msurer; (2) the risks insured; (31 the amount of the policy; (4)
    the property msured, the then current replacement value of such property, and the manner of determinrng that value; and (51 the
    expiration date of the policy. Trustor shall, upon request of Lender, have an independent appraiser satisfactory to Lender determtne
    the cash value replacement cost of the Property.
LENDER'S EXPENDITURES. If any actton or proceedtng is commenced that would matenally affect Lender's interest in the Property or if
Trustor f111ls to comply with any provision of tilts Deed of Trust or any Related Documents, tncludtng but not hmlted to Trustor's failure to
comply v.nth any obligation to ma1nta1n Ex1sttng Indebtedness in good standing as reqUired below, or to discharge or pay when due any
amounts Trustor ts requtred to discharge or pay under thts Deed of Trust or any Related Documents, Lender on Trustor's behalf may (but
shall not be obligated to) take any actton that lender deems appropnate, tncludmg but not limited to discharging or paymg all taxes, hens,
sacunty mtarests, encumbrances and other claims, at any time lev1ed or placed on the Property and paying all costs for tnsunng,
maintaining and preserving the Property. All such expenditures 1ncurred or paid by Lender for such purposes will then bear Interest at the
rete charged under the Note from the date 1ncurred or paid by Lender to the date of repayment by Trustor. All such expanses will become
a part of the Indebtedness and, at lender's option, will lA) be payable on demand; (B) be added to the balance of the Note and be
apporttoned among and be payable w1th any installment payments to become due during etther 11) the term of any applicable rnsurance
policy; or (21 the rema1n1ng term of the Note; or (C) be treated as a balloon payment wh1ch w1ll be due and payable at the Note's
matunty. The De·ed of Trust also will secure payment of these amounts. Such right shall be in addition to all other nghts and remed1es to
which lender may be entitled upon Default.
WARRANTY; DEFENSE OF TITLE. The following provisions relat1ng to ownership of the Property are a part of th1s Deed of Trust:
    Title. Tru!!tor warrants that: (a} Trustor holds good and marketable title of record to the Property in fee s•mpte, free and clear of all
    hens and encumbrances other than those set forth in the Real Property description or in the Existing Indebtedness sact1on below or rn
    any title insurance policy, tttle report, or ftnal title opinion 1ssued 1n favor of, and accepted by, Lender in connect1on with th1s Dead of
    Trust, and (b) Trustor has the full right, power, and authonty to execute and deliver this D&ed of Trust to Lender.
     Defenae of Titlu. SubJBCt to the exception In the paregraph above, Trustor warrants and will forever defend the t1tle to the Property
     against the lewful cla1ms of all persons. In the event any action or proceeding is commenced that questions Trustor's title or the
     Interest of Trustee or lender under thts Deed of Trust, Trustor shall defend the action at Trustor's expense. Trustor may be the
     nom~nal party 1n such proce1rding, but Lender shall be entitled to partiCipate 1n tho proceedmg and to be represented m the proceedmg
     by counsel of Lender's own cho1ce, and Trustor w1ll deliver, or cause to be delivered, to lender such instruments as Lander may
     request from time to ttme to permit such partlclpatton.
     Compliance With Laws. Trustor warrants that the Property and Trustor's use of the Property complies with all ex1st1ng applicable
     laws, ordinances, and regulattons of governmental authont1es.
     Survival of Repreuantatlon• and Wanantles. All representations, warranties, and agreements made by Trustor in this Dead of Trust
     shell survive the execut1on and delivery of this Dead of Trust, shall be contmumg 10 nature, and shall remain m full force and effect
     until such time as Borrower's Indebtedness shall be petd m full.
EXISTING INDEBTEDNESS. The following provisions concerntng Ex1sttng Indebtedness are a part of this Deed of Trust:
    Exlatlng lien. The hen of thts Deed of Trust secunng the Indebtedness may be secondary and tnfenor to the hen sacunng payment of
    an axistmg obhgatton to Chase Manhattan Mortgage Corporet1on described as: Deed of Trust dated January 27, 2004 recorded on
    February 13, 2004 as Instrument No. 04-332465 of Official Records tn the Off1ce of County Recorder of said County. The ex1strng
    obligatton has a current principal balance of approximately $1,475.000.00 and 1s 1n the origmal principal amount of $1.475,000.00.
    Trustor expressly covenants and agrees to pay, or sea to the payment of, the Extsttng Indebtedness and to prevent any default on
    such indebtedness, any default under the instruments ev1dancing such tndebtedness, or any default under any security documents for
    such mdebtedness.
    No Modification. Trustor shall not enter mto any agre-ement w1th the holder of eny mortg11ge, dead of trust, or other secunty
    agreement wh1ch has pnonty over thiS Deed of Trust by whtch that agreement ts modified, amended, extended, or renewed Without
    the pnor wrttten consent of lender. Trustor shall ne1thar request nor accept any future advances under any such security agreement
    without the pnor written consent of Lender.
CONDEMNATION. The followtng provisions relatmg to emment domain and Inverse condemnatiOn proceedings ere a part of this Dead of
Trust:
    Proceedings. If any eminent domam or mverse condemnation proceedtng IS commenced affecting the Property, Trustor shall promptly
    nottfy Lender 1n wnting, and Trustor shall promptly take such steps as may be necessary to pursue or defend the act1on and obtain the
    award. Trustor may be the nominal party 1n any such proceeding, but Lender shall be entitled, at Its election, to partictpate 1n the
    proceedtng and to be represented In the proceedmg by counsel of 1ts own cho1ce, and Trustor will deliver or cause to be delivered to
    Lender such instruments and documentation as may be requested by Lender from time to time to permit such partictpation.
     Application of Net Proceeds. If any award Is made or settlement entered into in any condemnation proceedings affectmg all or any
     part of the Propeny or by any proceeding or purchase 10 heu of condemnation, Lender may at its election, and to the extent porm1tted




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   Case 2:17-cv-08894-JFW-JEM Document 1 Filed 12/11/17 Page 47 of 97 Page ID #:47


                                                         DEED Of TRUST
loan No: 200366760                                           (Continued}                                                             Page 5


    by lew, require that all or any portion of tha award or settlement be applied to the Indebtedness and to thl'l repayment of all reasonable
    costa, fJXPl3nses, end attorneys' fees mcurred by Trustee or lender in connection w1th the condemnation proceadmgs.
IMPOSITION OF TAXES. FEES AND CHARGES BY GOVERNMEIIITAI. AUTHORITIES. The follow1ng prov1s1ons re!atmg to governmental
taxes, fees and charges are a pert of this Deed of Trust:
    Currant Tllllulle, Fesa and Chargee. Upon request by Lender, Trustor shall execute such documents In addition to this 08{ld of Trust
    and take whatever other act1on 18 requested by Lender to perfect and continue lender's lien on the Real Property. Trustor shall
    reimbur~<'~ Lender for all taxes, as described below, together with all expenses Incurred In recording, parrnctlng or continuing this Deed
    of Trust, includmg Without limitation all texas, faes, documentary stamps, and othar charges for recordmg or registering th1s Deed of
    Tru$t.
    Taxou, The following shall constitute taxes to wh1ch th1s sectiOn appl1es: (1) a speclf1c tax upon this type of Deed of Trust or upon
    ell or any part of the Indebtedness secured by th1s Dead of Trust; (2) a specific tax on Borrower which Borrowar is authorlzad or
    required to deduct from payments on the Indebtedness secured by th1s type of Deed of Trust; 131 a tax on this type of Deed of Trust
    chargeable egamst the Lender or the holder of the Note; and (41 a specific tax on all or any ponion of the Indebtedness or on
    paymants of prmc1pal and interest made by Borrower.
    Subeequent Ta11es. If any tax to which th1s section apphes 1s enacted subsequent to the date of this Deed of Trust, this event shall
    have the same effect lll:l an Event of Default, l!nd lender m!ly exercise any or all of its available remedies for en Event of Deflmlt as
    proveded below unless Trustor e1ther ( 11 pays the tax before It becomes delinquent, or (2) contests the tax as provided above in the
    Taxes and liens section and depos1ts w1th Lender cash or a sufficient corporate surety bond or other security satisfactory to lender.
SECURITY AGREEMENT: FINANCING STATEMENTS. The following provisions relating to this Deed of Trust as a secunty agreement are a
part of this Oe.sd of Trust:
    Security Agreement. Th1s Instrument shall const1tute a Security Agreement to the extent any of the Property constitutes f1xturas, and
    Lender shall have all of the nghts of a secured party under the Uniform Commercial Coda as amended from t1me to t1me.
    Sacurlty lntere&t. Upon request by Lender, Ti1Jstor shall take whatever act1on 18 requested by Lender to perfect and contmue Lander's
    security interest m the Rents and Personal Property. Trustor shall reimburse Lender for ;~II eXpenses Incurred in perfecting or
    cont1numg this aecunty Interest. Upon default, Trustor shall not remove, saver or detach the Personal Propeny from the Property.
    Upon default, Trustor shllll assemble any Personal Property not affixad to the Property in a manner end at a place reasonably
    convenient to Trustor end Lender and make 1t ava1lebfe to Lender within three (3) days after rece1pt of wntten demand from Lender to
    the extent perm1tted by applicable law.
    Addranea. The mailing addresses of Trustor (debtor) and Lender (secured party) from wh1ch information concermng the secunty
    mterest granted by this Dead of Trust may be obtained leach as reqUired by the Un1form Commercial Code) are as stated on the f1rst
    page of this Deed of Trust.
FURTHER ASSURANCES; ATTORNEY·IN·FACT. The followmg provisions relating to funher assurances and attorney-m·fact are a part of
thiS Deed of Trust:
    Further Aslllurancea. At any t1me, and from t1me to t1me, upon request of lender, Trustor Will make, execute and deliver, or w111 cause
    to be made, executed or delivered, to lender or to lender's des1gnee, and when requested by Lender, cause to be flied, recorded,
    refiled, or rerecorded, as the case may be, at such t1mes and m such off1ces and places as Lender may deam appropnate, any and all
    such mortgages, deeds of trust, secunty deeds, secunty agreements, financing statements. continuation statements, mstruments of
    further assurance, cenificates, and other documents as may. in the sole opm1on of Lender, be necessary or desirable in order to
    effectuate, complete, perfect, continue, or preserve 11) Borrower's and Trustor's obligations under the Note, th1s Deed of Trust, and
    the Related Documents, and 12) the hens and securtty 1nterosts created by this Dead of Trust on the Property, whether now owned
    or hereafter acquired by Trustor. Unless prohibited by law or Lender agrees to the contrary 1n writmg, Trustor shall reimburse lender
    for all costs and expenses Incurred m connection w1th the matters referred to m this paragraph.
    Attornoy·ln·Fact. If Trustor falls to do any of the thmgs referred to in the preceding paragraph, lender may do so for and m the name
    of Trustor and at Trustor's expense. For such purposes, Trustor hereby irrevocably appoints lender as Trustor's attorney·in-fact for
    the purpose of m11kmg, executing, delivering, fihng, recordmg, and do1ng all other things as may be necessary or des1rable, m Lender's
    sole op1mon, to accomplish the matters referred to 10 the preceding paragraph.
FULL PERFORMANCE. If Borrower and Trustor pay all the Indebtedness when due, and Trustor otherwise performs all the obligations
Imposed upon Trustor under this Deed of Trust, Lender shall execute and deliver to Trustee a request for full reconveyance and shell
execute and deliver to Trustor suitable statements of termmet1on of any financing statement on file ev1denc1ng Lender's secunty mterest in
the Rents and the Personal Property. Lender may charge Trustor e reasonable reconveyance faa at the time of reconveyance.
EVEiliTS OF DEFAULT. Each of the following, at lender's option, shali constitute an Event of Defauh under th1s Deed of Trust:
    Paym~nt   D1tfault. Borrower fails to make any payment when due under the Indebtedness
    Other Defaulta. Borrower or Trustor fa1ls to comply with or to perform any other term, obhgat1on, covenant or condition contatned m
    this Deed of Trust or 1n any of the Related Documents or to comply with or to perform any term, obligation, covenant or cond1t1on
    contemed 1n any other agreement between lender and Borrower or Trustor.
    Compliance Default. Fa11ure to comply w1th any other term, obligation, covenant or cond1t1on contained in this Dead of Trust, the Note
    or in any of the Related Documents.
    Default on Othor Payments. Failure of Trustor withm the t1me required by th1s Dead of Trust to make any payment for taxes or
    msurance, or any other payment necossary to prevent f1hng of or to effect discharge of any hen.
    Default In Favor of Third Parties. Should Borrower or any Trustor default under any loan, extemaon of cred1t, secunty agreement,
    purchase or sales agreement, or any other agreement, 1n favor of any other cred1tor or person that may materially affect any of
    Trustor's property or Borrower's or any Trustor's ability to repay the Indebtedness or perform tha1r respective obhgat1ons undar th1s




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 Case 2:17-cv-08894-JFW-JEM Document 1 Filed 12/11/17 Page 48 of 97 Page ID #:48

                                                         DEED OF TRUST                                                                           7
loan No: 200366760                                         (Continued)                                                               Page 6


    Deed of Trust or any of the Related Documents.
    False Statementa. Any warranty, representation or statement made or furnished to Lender by Borrower or Trustor or on Borrower's or
    Trustor's behalf under th1s 061ld of Trust or the Related Documents IS false or misleading in any material respect, e1ther now or at the
    time made or furnished or bacomes false or misleadmg at any time thereafter.
    Defective Collaterallzatlon. Th1s Deed of Trust or any of the Related Documents ceases to be in full force and effect (rnclud1ng failure
    of any collateral document to create a valid and perfe-cted secunty interest or lienl at any time and for any reason.
    Insolvency. The d1ssolut1on or termination of the Trust, the insolvency of Borrower or Trustor, the appointment of a receiver for any
    part of Borrower's or Trustor's property, any assignment for the banefit of cred1tors, any type of cred1tor workout, or the
    commencement of any proceeding under any bankruptcy or insolvency laws by or against Borrower or Trustor.
    Creditor or Forfeiture Proceedings. Commencement of foreclosure or forfeiture proceedmgs, whether by jud1c1al procaedmg, self-help,
    repossession or any other method, by any cred1tor of Borrower or Trustor or by any governmental agency agamst any property
    securing the Indebtedness. This includes a garntshment of any of Borrower's or Trustor's accounts, tncluding deposit accounts, w1th
    Lender. However, this Event of Default shall not apply 1f there 1s a good fa1th d1spute by Borrower or Trustor as to the vahd1ty or
    reasonableness of the cla1m wh1ch IS tha basi& of the creditor or forfeiture proceedtng and 1f Borrower or Trustor g1ves Landor wntten
    notice of the creditor or forfeiture proceed1ng and depos1ts With Lender montes or a surety bond for the creditor or forfeiture
    proceedmg, 1n an amount determmed by Lender, in 1ts sole discretion, as being an adequate reserve or bond for the dispute.
    Breach of Other Agreement. Any breach by Borrower or Trustor under the terms of any other agreement between Borrower or
    Trustor and Lender that is not remedied w1thm any grace penod prov1ded theretn, mcluding w1thout hm1t111t1on any agreement
    concernmg any Indebtedness or other obhgat1on of Borrower or Trustor to Lender, whether ex1stmg now or later.
    Events Affecting Guarantor. Any of the preced1ng events occurs With respect to any guarantor, endorser, surety, or accommodation
    party of any of the Indebtedness or any guarantor. endorser, surety, or accommodation party d1es or becomes mcompetant, or
    revokes or disputes the validity of, or liability under, any Guaranty of the Indebtedness.
    Adverae Change. A matenal adverse change occurs 1n Borrower's or Trustor's financial condition, or Lender believes the prospect of
    payment or performance of the Indebtedness IS 1mpa1red.
    Insecurity. lender in good fe1th behaves 1tself insecure.
    Exlatln9 Indebtedness. The payment of any Installment of prmctpal or any mterest on the E>ustmg Indebtedness 1s not made withm the
    t1me requtred by the promissory note ev1dencmg such mdebtedness, or a default occurs under the mstrument secunng such
    indebtedness and 1s not cured dunng any applicable grace period in such Instrument, or any suit or other act1on 1s commenced to
    foreclose any existing hen on the Property.
    Right to Cure. If any default, other than a default 1n payment 1s curable and 1f Trustor has not been g1ven a notice of a breach of the
    same provis1on of thl& Deed of Trust Wlthtn the preceding twelve (12) months, 1t may be cured if Trustor, after rece1vmg wntten nottce
    from Lender demanding cure of such default: ( 1) cures the default w1th1n f1fteen ( 15) days; or (21 if the cure requires more than
    fifteen 1151 days, Immediately initiates steps wh1ch Lender deems in Lender's sole d1scret1on to be sufficient to cure the default and
    thereafter continues and completes all reasonable and necessary steps sufficient to produce compliance as soon as reasonably
    practical.
RIGHTS AND REMEDIES ON DEFAULT. If an Evant of Default occurs under this Deed of Trust, at any t1me thereafter, Trustee or lender
may exercise any one or more of the followmg nghts and remedies:
    Election of Ramedhts. Election by Lander to pursue any remedy shall not exclude purswt of any other remedy, and an elect1on to make
    expend1tures or to take act1on to perform an obligation of Trustor under this Deed of Trust, after Trustor's fe1lure to perform, shall not
    effect Lender's nght to declare a default and exercise 1ts remed•es
    Foreclooure by Sale. Upon an Event of Default under th1s Deed of Trust, Beneficiary may declare the entire Indebtedness secured by
    this Deed of Trust immediately due and payable by delivery to Trustee of wntten declaration of default and demand for sale and of
    wntten not1ce of default and of election to cauu to ba sold the Property, wh1ch notice Trustee shall cause to be f1led for record.
    BenefiCiary also shell depos1t w1th Trustee th1s Deed of Trust, the Note, other documents requested by Trustee, and all documents
    evidencing expenditures secured hereby, After the lapse of $UCh time as may then ba reqwred by law following the recordatiOn of the
    notice of default, and notice of sale having been given as then required by law, Trustee, Without demand on Trustor, shall sell the
    Property at the time end place fixed by 1t in the not1ce of sale, etther as a whole or In separate parcels, and in such order as •t may
    determine, at public auction to the highest bidder for cash in lawful money of the Umted States, payable at time of sale. Trustee may
    postpone sale of all or any portion of the Property by pubhc announcement at such t1me and place of sale, and from t1me to t1me
    thereafter may postpone such sale by pubhc announcement at the t1me fixed by the precedmg postponement 10 accordance With
    applicable law. Trustee shall deliver to such purchaser 1ts deed conveying the Property so sold, but wtthout any coW~nant or
    warranty, express or implied. The recttals tn such deed of any matters or facts shall be conclusive proof of the truthfulness thereof.
    Any person, includmg Trustor, Trustee or Beneficiary may purchase at such sale. After deducting all costs, fees and expenses of
    Trustee and of this Trust, mcludmg cost of evidence of title in connection w1th sale, Trustee shall apply the proceeds of sale to
    payment of: ell sums expended under the terms hereof, not then repa1d, with accrued Interest at the amount allowed by law in effect
    at the date hereof; all other sums then securad hereby; and the rematnder, 1f any, to the person or persons legally ent1tlad thereto.
    Judicial Forecloaure. W1th respect to all or any part of the Real Property, Lender shall have the nght in lieu of foreclosure by power of
    sale to foreclose by jud1c1al foreclosure in accordance w1th and to the full extent provided by California law.
    UCC Remedlea. W1th respect to all or any part of the Personal Property, Lender shall have ell the rights and remed1as of a secured
    party under the Un1form Commercial Code, 1ncludmg Without hm1tat1on the right to recover any deficiency m the manner and to the full
    extent provided by California law.
    Collect Rants. Lender shall have the rtght, without not1ce to Borrower or Trustor to take possession of and manage the Property and
    collect the Rents, 1ncludtng amounts past due and unpa1d, and apply the net proceeds, over and above Lender's costs, against the




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   Case 2:17-cv-08894-JFW-JEM Document 1 Filed 12/11/17 Page 49 of 97 Page ID #:49


                                                          DEED Of TRUST
loan No: 200366760                                          (Contim..u~d)                                                             Page 7


     Indebtedness. In furtherance of this nght, Lender may raqu1re any tenant or other user of the Property to make payments of rent or
     use fees directly to lender. If the Rents are collected by Lender, then Trustor Irrevocably des1gnetes Lender as Trustor's
     attorney-m-foct to endorse instruments rsce1ved tn payment thereof in the name of Trustor and to negotiate the same and collect the
     proc<'!eds. Pl.l~'ffient:; by 1emmts or other users to Lender 1n ruponse to Lender's domllnd shell satisfy the obhgat1ons for wh1ch the
     paymanta are made, whether or not any proper grounds for the demand ex1sted. lender may !!Xercise Its nghts under th1s
     subparagraph e1ther in person, by agent, or through a reca1ver.
     Appoint R-!M:elver. Lander shall have the right to have a rece1ver appointed to take possession of all or any part of the Property, w1th
     the power to protect and preserve the Property, to operata the Property precedmg foreclosure or sale, and to collect the Rents from
     the Proparty and apply the procMds, over and above the cost of tho receivership, against the Indebtedness. Th$ rece1var may serve
     w1thout bond if permitted by law. Lander's right to the appointment of a receiver shall exist whether or not the apparent value of the
     Property exceeds the Indebtedness by a substantial amount. Employment by Lender shall not disqualify a person from serving as a
     reca1ver
     Tenancy at Sufferance. If Trustor remains 10 possession of the Propsrty after the Property IS sold as provided above or lender
     otherwise becomes entitled to possession of the Propsrty upon default of Borrower or Trustor, Trustor shall become a tenant at
     sufferance of Lander or the purchaser of the Property and shall, at Lender's option, e1ther (11 pay e reasonable rental for too use of
     the Property, or (2) vacate the Property immediately upon the demand of lender.
     Other Remedl;~e. Trustee or lender shall have any other nght or remedy provided in this Deed of Trust or ths Nots or av::ul11bl0 at law
     or 1n aqwty.
    Notice of Sa~. Lender shall g1ve Trustor reasonable notice of the t1me and place of any public sale of the Personal Property or of the
    t1me after which any pnvate sale or other mtended d1sposJt1on of the Personal Propsrty is to be made. Reasonable not1ca shall mean
    nottce given at leest ten (1 Ol days before the t1me of the sale or disposition. Any sale of the Personal PropertY may ba made m
    conjunction w1th any sale of the Real Property.
    Sale of th11 Property. To the extent permitted by applicable lew, Borrower and Trustor hereby wa1ves any end all nghts to heve the
    Property marshel!ed. In exercnung 1ts rights and remed1es, the Trustee or Lender shall be free to sell all or any pert of the Property
    together or separately, in one sale or by separate sales. Lender shall be entitled to bid at any public sale on all or any port1on of the
    Property.
    Attorneys' Feea: Exp11nselil. If Lender mst1tutes any su1t or act1on to enforce any of the terms of th1s Deed of Trust, Lender shall be
    entrtled to recover such sum as the court may adjudge reasonable as attorneys' fees at trial and upon any appeal. Whether or not any
    court act1on is involved, and to the extent not prohibited by law, all reasonable expt~nssa Lender 1ncurs that 1n Lender's opmron are
    necessary at any t1me for the protection of 1ts Interest or the enforcement of its rights shall become a part of the Indebtedness payable
    on demand and shalt boar mterest at the Note rate from the date of the expenditure until repaid. Expenses covered by th1s paragraph
    mclude, Without limttat1on, however subJect to any l1m1ts under applicable law, Lender's attorneys' fees and lender's legal expanses,
    whether or not there 1s a lewsuit, includ1ng attorneys' fees and expense& for bankruptcy proceedings llncludlng efforts to mod1fy or
    vacate any automatiC stay or injunction I, appeals, and any antlcipoted post-judgment collection services, too cost of searchmg
    records, obtaining tttla reports !including foreclosure reports), surveyors' reports, and appra•sal fees, title insurance, and fees for the
    Trustes, to the extent permitted by applicable law. Trustor also Will pay any court costs, m addition to all other sums prov1ded by
    law.
    Rlghtll of Trustee. Trustee shall have all of the rights and dut1es of Lender as set forth m th1s sectton.
POWERS ANI) OBUGATIONS OF ntUSTEE. The foiiaw1ng provisions relatmg to the powers and obligations of Yrusteo are part of this
Deed of Trust:
    Powera of Trustee. In addition to all powers of Trustee ansmg as a matter of law, Trustee shall have the power to take the following
    ect1ons With respect to the Property upon the written request of Lender and Trustor: (al jo1n m prepanng end filing e map or plat of
    the Real Property, including the ded1catron of streets or other rights to the public; (b) join in grant1ng any easement or creating any
    restnctlon on the Real Property; and (c) JOIO 1n any subordmation or other agreement affecting th1s Deed of Trust or the interas'l of
    Lender under th1s Deed of Trust.
    Obligation:: to Notify. Trustee shall not b3 obligated to not1fy any other party of a pendmg sale under any other trust dstJd or lien, or
    of any action or proceeding 1n which Trustor, lender, or Trustee shall be a party, unless the act1on or proceedmg 1s brought by
    Trustee.
    Truatelt. Trustee shall meet ell quahf1Cilt1ons reqUired for Trustee under applicable lew. In addition to the nghts and remadies set
    forth above, with respect to all or any part of the Property, the Trustee shall have the right to foreclose by not1ce and sale, and lender
    shall have the nght to foreclose by jUdiCial foreclosure, m e1ther case in accordance w1th and to the full extent prov1ded by applicable
    law
    Succeeeor Truetee. Lender, at Lender's option, may from t1me to t1me appomt a successor Trustee to any Trustee appornted under
    this Deed of Trust by en mstrument executed and acknowledged by Lender and recorded 1n the off1ce of the recorder of los Angeles
    County, State of Cehforme. The instrument shall contain, in add1t1on to all other matters reqUired by state law, the names of the
    ongmal Lender, Trustee, end Trustor, the book and page where this Deed of Trust IS recorded, and the name and address of the
    s•-•cc!!s!wr tw~;tee, !lrld tho lnl!WJment sh11!1 be executed !lnd Mknow!edged by Lender or !tl! l!Uanel!sors m Interest. The success!lr
    trustee, without conveyance of the Property, shell succeed to all the title, power, and duties conferred upon the Trustee In this Dead
    of Trus~ Md by !!ppliceble !!!w. Th1s procedure for substitution 9f Trust!!l! sh!!!l govern to the excl!.!!!ion of a!! other provis•oM for
    subst1tut1on.
    Acceptance by Trustee. Trustee accepts th•s Trust when th1s Dead of Trust, duly executed and acknowledged, Is made a public
    record as provided by law.
NOTICES. Any notice required to ba given under th1s Deed of Trust shall be giVen 1n writing, and shall be effective when actually delivered,
when actually recerved by telefocsimile (unless otherwise reqUired by law), when deposited w1th a nationally recogmzed overnight counar,




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 Case 2:17-cv-08894-JFW-JEM Document 1 Filed 12/11/17 Page 50 of 97 Page ID #:50

                                                           DEED OF TRUST
Loan No: 200366760                                           (Continued)                                                               Page 6

or, If mailed, when deposrted 1n the Un1ted States mall, as f1rst class, certified or registered mall postage prepaid, directed to the addresses
shown near the b11g1nnmg of th1s Deed of Trust. Trustor requests that copies of any notices of default and sale be directed to Trustor's
address shown near th11 beginning of th1s Deed of Trust. All cop1es of notices of foreclosure from the holder of any hen wh1ch has pnonty
over this D11ed of Trust shall be sent to Lender's address, as shown near the beginning of this Dead of Trust. Any party may change 1ts
address for nottces under thiS Deed of Trust by giving formal written notice to the other parties, specifying that the purpose of the notice 1s
to change the party's address. For notice purposes, Trustor agrees to keep Lender Informed at all t1mes of Trustor's current address.
Unless otherw•se prov•ded or requirad by law, if there 1s more than one Trustor, any not1ce g1ven by Lender to any Trustor 1s deemed to be
not1ce g1ven to all Trusters.
STATEMENT OF OBLIGATION FEE. Lender may collect a fee, not to exceed the maximum amount permitted by lew, for furnishing the
statement of obhgat•on as provided by Section 2943 of the Ctvll Code of Cahforma.
MISCELLANEOUS PROVISIONS. The following miscellaneous prOVISions are a part of this Deed of Trust:
    Amendmentw. This Deed of Trust, together w1th any Related Documents, constitutes the entire understanding and agreement of the
    parties as to the matters set forth 1n th1s Deed of Trust No alteration of or amendment to th1s Deed of Trust shall be affective unless
    gtVen in writing and signed by the party or partieS sought to be charged or bound by the alteration or amendment.
    Annual Reports. If the Property 1s used for purposes other than Trustor's residence, Trustor shall furnish to Lender, upon request, a
    certified statement of net operating income received from the Property during Trustor's prev1ous fiscal year 1n such form and dated as
    Lender shall require. "Net operating income" shall mean all cash receipts from the Property less all cash expenditures made m
    connection with the operatiOn of the Property.
    Caption Headlngo. Caption headtngs in this Dead of Trust are for convemence purposes only and are not to be used to Interpret or
    defme the provisions of th1s Deed of Trust.
    Merger. Thera shall be no merger of the interest or estate created by th1s Deed of Trust With any other Interest or estate           1n   the
    Property at any time held by or for the benefit of Lender in any capac1ty, w1thout the wntten consent of Lender.
    Governing Law. This Deed of Trust will be governed by federal law applicable to Lender and, to the extent not preempted by federal
    law, the laws of the State of California without regard to Ita conflicts of law provisions. This Deed of Trust haa b&en accepted by
    Lender In tha State of California.
    Choice of Venue. If there •s e lawsuit, Trustor agrees upon Lender's request to submit to the jurisdiction of the courts of Los Angeles
    County, State of Cahforma.
    Jolnt and Several UsbiUty~ All obhgat&ons of Bor:O\!'..rer end Trustor under th1s Deed of Trust shall be Joint end several. and all
    references to Trustor shall mean each and every Trustor, and all references to Borrower shall mean each end every Borrower. This
    means that each Trustor signing below is responsible for all obhget1ons 1n th•s Deed of Trust.
    No Waiver by Lender. Lender shall not be deemed to have waived any nghts under th1s Dead of Trust unless such wa1ver 1s g1ven m
    writing and signed by Lender. No delay or omission on the part of Lender m exerc1smg any nght shall operate as a wa1ver of such
    right or any other rtght. A waiver by Lender of a provision of th1s Deed of Trust shall not preJUdiCe or constitute a waiver of lender's
    r1ght otherwise to demand stnct compliance with that provision or any other provision of this Deed of Trust. No prtor wa1ver by
    Lender, nor any course of dealing between Lender end Trustor, shall constitute a wa1ver of any of Lender's rtghts or of any of
    Trustor's obhgat1ons as to any future transactions. Whenever the consent of Lender 1s reqUired under th1s Deed of Trust, the grantmg
    of such consent by Lender in any mstance shall not constitute continUing consent to subsequent Instances whara such consent Is
    reqUired and 1n all cases such consent may be granted or wtthhald in the sole d1scret1on of Lender.
    Severability. If a court of competent jurisdiction finds any provis1on of th1s Deed of Trust to be Illegal, invalid, or unenforceable as to
    any circumstance, that f1ndmg shall not make the offandmg provision illegal, •nvalid, or unenforceable 111s to any other circumstance. If
    feasible, the offendmg prov1s1on shell be considered mod1f1ed so that 1t becomes legal, valid and enforceable. If the offendmg
    provision cannot be so modtfied, 1t shall be considered deleted from this Deed of Trust. Unless otherwise required by l!!W, the
    tllegahty, mvahdity, or unenforceability of any prov1s1on of th1s Deed of Trust shall not affect the legality, validity or enforceability of
    any other provision of this Deed of Trust
    Succasaors and Auslgns. Subject to any hmrtat1ons stated m this Dead of Trust on transfer of Trustor's mterest, this Dead of Trust
    shall be bindmg upon and mure to the benefit of the psrt1es, th&lf successors and ass1gns. If ownership of the Property becomes
    vested in a person other than Trustor, Lender, without notice to Trustor, may deal w1th Trustor's successors with reference to this
    Deed of Trust end the Indebtedness by way of forbearance or extension without releasmg Trustor from the obhgat•ons of this Deed of
    Trust or liability under the Indebtedness
    Time Is of the Esaence. Time is of the essence m the performance of this Deed of Trust.
DEFINITIONS. The following capitalized words and terms shall have the following mesmngs when used in this Deed of Trust. Unless
specifically stated to the contrary, all references to dollar amounts sh11ll mean amounts 1n lawful money of the United States of Amenca
Words and terms used in the smgular shell mclude the plural, and tha plural shall mclude the singular, as the context may mqu1re. Words
and terms not otherw1se defmed in this Deed of Trust shall have the meemngs attributed to such terms 1n the Umform Commerc1al Code:
    Beneficiary. The word "Beneflclery" means Pacific Western Bank, end 1ts successors and ass1gns.
    Borrower. The word *Borrower" means Massoud Yashouafar and Solyman Yashouater end includes all co-s1gners and co-makers
    s•gmng the Note and all thelf liuccessors and assigns.
    Deed of Truot. The words "Deed of Trust" mean th1s Daed of Trust among Trustor, Lender, and Trustee, and mcludes without
    limitation all ass1gnment and security interest prov1s1ons relating to the Personal Property and Rants.
    Default. The word "Default" means the Default set forth in this Deed of Trust     m the section titled "Default".
    Environmental Laws. The words "Environmental Laws" mean any end all state, federal and local statutes, regulations and ordmances




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  Case 2:17-cv-08894-JFW-JEM Document 1 Filed 12/11/17 Page 51 of 97 Page ID #:51


Loan No: 200366760
                                                       DEED OF TRUST
                                                         (Continued)                                                             Page 9
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   rel&tlng to the protection of human health or the environment, mcluding without limitation the Comprehensive Environmental
   Responae, CompGnsat1on, and L1&b1hty Act of 1980, as amended, 42 U.S.C. Sect1on 9601, et s.eq. ("CERCLA "), the Superfund
   Amendments and Reouthonzet1on Act of 1986, Pub. L. No. 99·499 ("SARA"), the Hazardous Materials Transportation Act, 49 U.S.C.
   Section 1801, at seq., the Resource Conservation and Recovery Act, 42 U.S.C. Sect1on 6901, at seq., Chapters 6.5 through 7.7 of
   Divu;1on 20 of the Califorma Health and Safety Code, Section 25100, et seq .. or other applicable state or federal laws, rules, or
   regulations adopted pursuant thereto.
   Event of Default. The words • Event of Default" mean any of the events of default set forth in this Deed of Trust 1n the events of
   default section of this Deed of Trust.
   Existing lndebteooef!l!. The words "Ex1st1ng Indebtedness" mean the indebtedness dascnbad m the Ex1stmg Liens provis1on of th1s
   Deed of Trust.
   Guaranty. The word "Guaranty" me11ns the guaranty from guarantor, endorser, surety, or accommodatiOn party to lender. mcludmg
   without limitation a guaranty of all or part of the Note.
   Hazardous Submtancem. The words "Hazardous Substances" mean materials that, because of the1r quantity, concentration or
   physical, chem1cal or mfect1ous charactenst1cs, may cause or pose a present or potential hazard to human health or the environment
   when improperly used, treated, stored, d1Spo$1!d of, generated, manufactured, transported or otherw1se handled. The words
   "Hazardous Substances" are used m their very broadest sense and include without hm1tet1on any and all hazardous or toxic
   substances, maten!'lls or w!'!ete as defmad by or listed under the Environmental Laws. Ths tsrm "Hazatdous Substances" also
   mcludes, without limitation, petroleum and petroleum by-products or any fraction thereof and asbestos.
   Improvement#. The word "Improvements" means all existing and future improvements, buildings, structures, mob1le homes affixed on
   the Real Proparty, facilities, additmns, replacements and other construction on the Real Property.
   Indebtedness. The word "Indebtedness" means all principal, •nterest, and other amounts, costs and expenses p11yable under the Note
   or Related Documents, together With all renewals of, extensions of, mod1f1cations of, consolidations of and substitUtions for the Note
   or Related Documents and any amounts expended or advanced by Lender to discharge Trustor's obligations or expens.as incurred by
   Trustoo or Lender to enforce Trustor's obligations under this Deed of Trust, together w1th mterast on such amounts as provided in this
   Deed of Trust.
   Lender. The word "Lender" me11ns Pacific Western Bank, Its successors and assigns.
   Nota.   The word "Note" means the prom1ssory note dated March 20, 2009, in the original principal amount of
   $6,551,575.00       from Borrower to Lender, together with all renewals of, extenstons of, modifications of, refmancmgs of,
   consolidations of, and subst1tut1ons for the promissory note or agreement. NOTICE TO TRUSTOR: THE NOTE CONTAINS A
   VARIABLE INTEREST RATE.
   Personal Property. The words "Personal Property" mean all equ•pment, ftxtures, and other art1cles of personal property now or
   hereafter owned by Trustor, and now or hereafter attached or aff1xed to the Real Property; together with all accessions, parts, and
   addrtlons to, all replacements of, and all substitutions for, any of such property; and together wtth all proceeds (lncludmg w1thout
   limitation all msurance proceeds and refunds of prem1umsl from any sale or other d1spos1t1on of the Property.
   Property. The word "Property" means collectively the Real Property and the Personal Property.
   Real Property. The words "Reel Property" mean the real property, Interests and nghts, as further described In this Deed of Trust.
   Related Document~~ The words "Related Documents" maan an promisaory nota.s_ credtt agra·aments, loan agre&rnent~ .. gacunty
   agreements, mortgages, deeds of trust, secunty deeds, collateral mortgages, and 111! other instruments, agraements and documents,
   whether now or hereafter ex1st1ng, executed 1n connection w1th the Indebtedness; except that the words do not mean any guaranty or
   anv1ronmtllital agreement, whether now or hereafter ex1stmg, executed 1n connect1on w1th the Indebtedness.
   Rents. The word "Rents" means all present and future leases, rents, revenues, income, issues, royalties, profits, and other benef1ts
   denved from the Property together With the cash proceeds of the Rents.
   Trustee. The word "Trustee" means Pactfic Western Bank, whose 11ddress is 5900 La Place Court, Carlsbad, CA 92008 and any
   substitute or successor trustees.
   Trustor. The word "Trustor" means Solyman Yashouafar, Trustee of The Solyman and Sohe1la Yashouafar 2004 Trust under the
   provisions of a trust agreement dated March 8, 2004.
TRUSTOR ACKNOWLEDGES HAVING READ ALL THE PROVISIONS OF THIS DEED OF TRUST, AND TRUSTOR AGREI::S TO ITS TERMS,
INCLUDING THE VARIABLE RATE PROVISIONS OF THE NOTE SECUREO BY THIS OEED OF TRUST.

TRUSTOR:




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  Case 2:17-cv-08894-JFW-JEM Document 1 Filed 12/11/17 Page 52 of 97 Page ID #:52

                                                             DEED OF TRUST
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Loan No: 200366760                                             (Continued)                                                           Page 10



                                             CERTIFICATE Of ACKNOWLEDGMENT

STATE OF    _.::_&r._t-.:._/lj:.....:._:~~}~~:.::.___ _
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COUNTY OF                                                                  l                             'oetr-Y
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                                                                                    (here Insert name and title of the offu:eri
personally appeared Solyman Vaahouafar, who proved to me on the bas1s of satisfactory evidence to be the person(sl whose name(sl
Is/are subscnbed to the wlthm Instrument and acknowledged to me that he/she/they executed the same m his/her/their authonzed
capac•ty(lesl, and that by hts/her/thelr s1gnature(s) on the Instrument the person(sl, or the ent•tv upon behalf of which the person(sl acted,
executed the mstrument.

I certify under PENALTY OF PERJURY under the laws of the State of Cehforma that the foregoing paragraph •s true and correct.




WITNESS my hand and official sea




                                                              (DO NOT RECORD)
                                             REQUEST FOR FULL RECONVEYANCE
                                              (To be used only when obligations have been pa1d m full)

To: - - - - - - - - - - - - - - - - - · • Trustee
The undersigned IS the legal owner and holder of all Indebtedness secured by this Deed of Trust. All sums secured by this Deed of Trust
have been fully paid and satisfied. You are hereby directed, upon payment to you of any sums owmg to you under the~ terms of th1s Deed
of Trust or pursuant to any applicable statute, to cancel the Note secured by this Deed of Trust (wh1ch 1s delivered to you together with
this Deed of Trust), and to reconvey, without warranty, to the part1es des1gnated by the terms of this Deed of Trust, the estate now held
by you under this Deed of Trust. Please mall the reconveyance and Related Documents to:

Date: __________________________________
                                                                                    Beneficiary:----------------
                                                                                       By: ________________________

                                                                                             Its:----------------
LASER PRO Lending, Ver. 5.43.00.103    Copr. Harland Financial Solutions, Inc. 1997, 2009.                    All Rights Reserved.      - CA
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Case 2:17-cv-08894-JFW-JEM Document 1 Filed 12/11/17 Page 53 of 97 Page ID #:53




              GOVERNMENT CODE SECTION 27361.7

    I CERTIFY UNDER PENALTY OF PERJURY THAT THE
    NOTARY SEAL ON THE DOCuMENT TO WHICH THIS
    STATEMENT IS ATTACHED READS AS FOLLOWS:


    NAME OF NOTARY: Michael Robert Johnson

    DATE COMMISSION EXPIRES: Decetnber 1, 2010

    COUNTY WHERE BOND IS FILED: Los Angeles

    COMMISSION NO.: 1707721

    VENDOR NO.: NNAl

    PLACE OF EXECUTION: Irvine

    DATE: 3/24/09

    Stewart Title, California




    Chris Maziar




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Case 2:17-cv-08894-JFW-JEM Document 1 Filed 12/11/17 Page 54 of 97 Page ID #:54
Case 2:17-cv-08894-JFW-JEM Document 1 Filed 12/11/17 Page 55 of 97 Page ID #:55


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                                                     Recorder's Office, Los Angeles County,
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   Case 2:17-cv-08894-JFW-JEM Document 1 Filed 12/11/17 Page 56 of 97 Page ID #:56



RECORDATION REQUESTED BY:

RECORDING REQUESTED BY
    STEWART TtTLE

WHEN RECORDED MAl!. TO:
     Pacific Western Bank
     Woet Covina Office
     220 South Vincent Avenue
     Weat Covina, CA 91790

SEND TAX NOTICES TO:
     Muaoud Yuhouaf&r. Trustee of The Mauoud and
     Parlnaz Vauhouafar 2003 Tru11t under the provialona of
     11 trust agreement dated June 18, 2003
     660 South Rgueora Street, 24th Roor
     lo!! AnMies. CA 90017                                                                                      FOR RECQRDER'S USE ONLV



                                                          DEED OF TRUST
THIS DEED OF TRUST Is dated March 20, 2009, among Massoud Yashouafar. as Trustee of the Massoud and
Parinaz Yashouafar 2003 Trust, u/d/t June 18. 2003 ("Trustor"); Pacific Western Bank, whose address Is West
Covina Office, 220 South Vincent Avenue, West Covina, CA 91790 (referred to below sometimes as "l&nder"
end sometimes as "Beneficiary"); and Pacific Western Bank. whose address is 5900 La Place Court, Carlsbad,
CA 92008 (referred to below as "TrustH").
CONVEYANCE AND GRANT. For valuable consideration. Trustor irrevocably granta, transfers and anlgna to Trustee In truat, with power
of sale, for the benefit of Lendar as Beneficiary, all of Trustor's right, title, and interest an and to the follow1ng descnbed real property,
together With all extstmg or subsequently erected or affuced buildings, Improvements and fixtures; all easements, rights of way, and
appurtenances; all water, water nghts and dttch nghts lincludmg stock 1n utilities wtth dttch or trrtgatton nghtsl; and all other nghts,
royalties, and profits relatmg to the reel property, tncluding without lim1tat1on all minerals, od, gas, geothermal and stmllar matters, (the
"Real PropertY") located in Los Angeles Count)', State of California:
     Lot 5 and the Northerly 15 feet of Lot 4 of Tract No. 4201, In the City of Beverly Hills, County of Los
     Angeles. State of California, as per map recorded In Book 46, Page 63 of Maps, in the Office of the County
     recorder of said County.
The Real Property or Its address is commonly known as 910 North Rexford Drive, Beverly Hills, CA 90210.
The Assessor's Parcel Number for the Real Property Ia 4350-009..012.
Trustor presently assigns to Lender (also known as Beneftciary m thts Deed of Trust) all of Trustor's right, title, and Interest in and to all
present and future leases of the Property and all Rents from the Property. Th1s 1s an absolute assignment of Rents made 10 connectton
with an obltgetlon secured by reel property pursuant to Cahfornia C1v11 Code Sectton 2938. In add1t10n, Trustor grants to Lender a Umform
Commorctal Code secunty interest m the Personal Property and Rents.
THIS DEED OF TRUST, INCLUDING THE ASSIGNMENT OF RENTS AND THE SECURITY INTEREST IN THE REPJTS APJD PERSOf~Al
PROPERTY, IS GIVEN TO SECURE (Al PAYMENT OF THE INDEBTEDNESS AND IBl PERFORMANCE OF ANY AND ALL OBLIGATIONS
UNDER THE NOTE, THE RELATED DOCUMENTS, AND THIS DEED OF TRUST. THIS DEED OF TRUST IS GIVEN AND ACCEPTED ON THE
FOLLOWING TERMS:
TRUSTOR'S REPRESENTATIONS AND WARRANTIES. Trustor warrants that: (a) thts Deed of Trust is executed at Borrower's request and
not at th& request of Lender; (b) Trustor has the full power, nght, and authonty to enter Into thts Def!d of Trust and to hypoth&cate the
Property; lei the prOVISions of this Deed oi Trust do not conflict with, or result m a default under any agreement or other instrument
binding upon Trustor and do not result m a violation of any law, regulation, court decree or order applicable to Trustor; (d) Trustor has
established sdaquate means of obtatmng from Borrower on a contmumg basis information about Borrower's ftnanctal cond1t1on; and (e)
Lender has made no representation to Trustor about Borrower hnciudmg without limttation the cred1tworthmess of Borrower).
TRUSTOR'S WAIVERS. Except as prohtblted by applicable law, Trustor WlliVOS any right to requ1re Lender to (a) make any presentment,
protest, demand, or notice of any kind, lncludtng notice of change of any terms of repayment of the Indebtedness, default by Borrower or
any other guarantor or surety, any action or nonaction takan by Borrower, Lender, or any other guarantor or surety of Borrower, or the
creet1on of new or addttlonal Indebtedness; (b) proceed against any person, includtng Borrower, before proceedmg against Trustor; {c)
procaad agaii1ii airy coUai:stal toi the lndubtadnass, lnc;udmg BoiiUWai•s cuUatUiifilt buforu ptuceedtilQ agam~t Tru5tur; (d) c;ppiy any
payments or proceeds received aga1nst the lndebtadness tn any order; (e) gtve notice of the terms, ttme, and place of any sale of any
collateral pursuant to the Umform Commercial Coda or any other law goverrung such s;;lu; lfl dtsclose 1my information about tho
Indebtedness, Borrower, any collateral, or any other guarantor or surety, or about any action or nonact1on of Lender; or (g) pursue any
remedy or course of actiOn an Lender's power whatsoever.
Trustor also watvas any and all rights or defenses arlsmg by reason of (h) any d1sab1hty or other defense of Borrower, any other guarantor
or surety or any other person; (I) the cessatton from any causa whatsoever, other than payment in full, of the Indebtedness; {j) the




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  Case 2:17-cv-08894-JFW-JEM Document 1 Filed 12/11/17 Page 57 of 97 Page ID #:57

                                                          DEED OF TRUST
Loan No: 200366760                                          (Continued)                                                              Page 2


application of proceeds of the Indebtedness by Borrower for purposes other then the purposes understood and intended by Trustor and
Lender; (kl any act of omtsston or commission by Lender which dtrectly or mdirectly results in or contributes to the dtscharge of Borrower
or any other guarantor or surety, or the Indebtedness, or the loss or release of any collateral by operation of law or otherwtse, (I) any
statute of limitations m any ectton under this Deed of Trust or on the Indebtedness; or (ml any mod1f1cat1on or change tn terms of the
Indebtedness, whatsoever, tncludlng without limltatton, the renewal. extension, acceleratton, or other change m the t1me payment of the
Indebtedness ts due and any change m the mterest rate.
Trustor watves all rights and defenses ansing out of an electton of remedies by Lender, even though that election of remedtes, such as
non-Judtclel foreclosure w1th respect to secunty for a guaranteed obligation, has destroyed Trustor's rights of subrogation and
retmburs&ment egamst Borrower by th& operation of Sect1on 580d of the Cahforma Code of Civil Procedure, or oth&rwlse.
Trustor waives all rights and defenses that Trustor may have because Borrower's obhget1on ts secured by real property. Thts means
among other thtngs: (1 l Lender may collect from Trustor without ftrst foreclosmg on any real or personel property collateral pledged by
Borrower. (21 If Lender forecloses on any reel property collateral pledged by Borrower: IAl The amount of Borrower's obligation may be
reduced only by the pnce for which the collateral1s sold at the foreclosure sale, even 1f the collateral is worth more then the sale pnce. (B)
Lender may collect from Trustor even if Lender, by foreclosmg on the real property collateral, has destroyed any right Trustor may have to
collect from Borrower. Th1s IS an uncond1t1onsl and trrevocable waiver of any rights and defenses Trustor may have because Borrower's
obligatton is secured by real property. These rights and defenses •nclude, but are not limated to, any nghts and defenses based upon
Sect1on 580a, 580b, 580d, or 726 of the Code of Ctvll Procedure.
Trustor understands and agrees that the foregomg wa1vers ere unconditional and Irrevocable watvers of substantive rights and defenses to
whtch Trustor m1ght otherwise be entitled under state and federal law. The rtghts and defenses waived include, w1thout limttatlon, those
prov1ded by California laws of suretyship and guaranty, antt-deficiency laws, and the Umform Commercial Code. Trustor acknowledges
that Trustor has provtded these waivers of rtghts end defenses with the Intention that they be fully rehed upon by Lander. Trustor further
understands and agrees that th1s Deed of Trust is a separate and Independent contract between Trustor and Lender, gtven for full and
ample consideration, and 1S enforceable on 1ts own terms. Until all Indebtedness IS patd m full, Trustor wa1ves any right to enforce any
remedy Trustor may have agamst Borrower's or any other guarantor, surety, or other parson, and further, Trustor waives any nght to
part1c1pate m any collateral for the Indebtedness now or hereafter held by Lender.
PAYMENT AND PERFORMANCE. Except as otherwise provided tn thts Dead of Trust, Borrower shell pay to Lender all Indebtedness
secured by this Deed of Trust as It becomes due, end Borrower and Trustor shall perform all the1r respect1va obligations under tho Note,
thts Deed of Trust, and the Related Documents.
POSSESSION AND MAINTENANCE OF THE PROPERTY. Borrower and Trustor agree that Borrower's and Trustor's possession and use of
the Property shall be governed by the followmg prov1s1ons:
    Poneoolon and Use. Until the occurrence of an Evant of Default, Trustor may (11 remam tn possession end control of tho Property;
    (21 use, operate or manage the Property; and (3) collect the Rents from the Property.
    Duty to Maintain. Trustor shall maintain the Property m tenantable condition and promptly perform all repa1n;, replacements, and
    mamtenance necessary to preserve tts value.
    Compliance With Environmental Laws. Trustor represents and warrants to Lender that: (1) Dunng the penod of Trustor's ownarshtp
    of the Property, there has been no usa, generatton, manufacture, storage, treatment, dtsposal, release or threatened release of eny
    Hezardoua Substance by any person on, under, about or from the Property; (21 Trustor has no knowledge of, or reason to believe
    that there has been, except as previously dtscloaed to and acknowledged by Lender in wnting, (a) any breach or v1olatton of any
    Envtronmentel Laws, (b) any use, generatton, manufacture, storage, treatment, disposal, release or threatened release of any
    Hazardous Substance on, under, about or from the Property by any prior owners or occupants of the Property, or lei any actual or
    threatened litigatton or claims of any kmd by any person relating to such matters; and (3) Except as prev1ously dtsclosed to and
    acknowledged by Lender 1n wnt1ng, (a) netthar Trustor nor any tenant, contractor, agent or other authonzed user of the Property
    shall use, generate, manufacture, store, treat, dtspose of or release any Hazardous Substance on, under, about or from the Property;
    and (b) any such activity shall be conducted in compliance with all applicable federal, state, and local laws, regulations and
    ordmances, includmg without limitation all Envtronmental Laws. Trustor authonzes Lender and its agents to enter upon the Property
    to make such tnspoctlons and tests, at Trustor's expense, as Lender may deem appropriate to determine compliance of the Property
    with th1s sectton of the Dead of Trust. Any inspections or tests made by Lender shall be for Lender's purposes only and shall not be
    construed to create any responsibility or liability on the part of Lender to Trustor or to eny other parson. The representations and
    warranties conta1ned herein aro based on Trustor's due d1hgence in investlgattng the Property for Hazardous Substances. Trustor
    hereby ( 1) releases and watves any future clatms against Lender for Indemnity or contnbut1on in the event Trustor becomes liable for
    cleanup or other costs under any such Jews; and (21 agrees to indemmfy, defend, and hold harmless Lender against any and ali
    claims, losses, liabilittes, damages, penalttes, and expenses which Lender may directly or induectly sustain or suffer resultmg from a
    breach of th1s sectron of the Deed of Trust or es a consequence of any use, generation, manufacture, storage, disposal, release or
    threatened release occumng pnor to Trustor's ownership or tnterest in the Property, whether or not the same was or should have
    been known to Trustor. The provisions of th1s sect1on of the Deed of Trust, includtng the obligation to mdemnify and defend, shall
    survive the payment of the Indebtedness and the satisfaction and reconveyance of the hen of this Deed of Trust and shall not be
    affected by Lender's acquisition of any tnterest in the Property, whethor by foreclosure or otherw1se.
    Nuisance, Wasta. Trustor shall not cause, conduct or permit any nUisance nor commit, permtt, or suffer any stnpptng of or waste on
    or to the Property or any portion of the Property. Wtthout limiting the generality of the foregoing, Trustor wdl not remove, or grant to
    any other party the nght to remove, any timber, minorals (mcludtng oil and gas), coal, clay, scone, soil, gravel or rock products
    Without Lender's prior wrttten consent.
    Removal of Improvements. Trustor shall not demolish or remove any Improvements from the Real Property Without Lender's pnor
    written consent. As e cond1t1on to the removal of any Improvements, Landor may reqUire Trustor to make arrangements satisfactory
    to Lender to replace such Improvements wtth Improvements of at least equal value.
    Lender's Right to Enter. Lender and Lender's agents and representatives may enter upon the Real Property at all reasonable t1mes to




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  Case 2:17-cv-08894-JFW-JEM Document 1 Filed 12/11/17 Page 58 of 97 Page ID #:58


                                                           DEED OF TRUST
loan No: 200366760                                           (Continued}                                                                 Page 3


    attend to Lender's interests and to Inspect the Real Property for purposas of Trustor's compliance w1th the terms and cond1t1ons of
    th1s Deed of Trust.
    Complltlnce with Governmental Requlrem!lflta. Trustor shall promptly comply with all laws, ordinancfls, and regulations, now or
    here111fter in effect, of ell governmentelauthontles applicable to the use or occupancy of the Property, includ1ng Without hm1tBt1on, the
    Amencans With Ou;sblhties Act. Trustor may contest m good faith any such law, ordinance, or reguletion and Withhold compliance
    dunng any proceedmg, includmg appropriata appeals. so long as Trustor has notified Lender in writing pnor to domg so and so long 11s,
    In Lender's sola opimon, Lender's mterests In the Property are not jeopardized. lander may requ1re Trustor to post adequate sacunty
    or a s\Jrety bond, reas~nably satisfactory to Lender, to protect lender's rnterest.
    Duty to Protect. Trustor agrees ne1ther to abandon or ieave unattended the Property. Trustor shall do aii other acts, 1n add1t1on to
    those acts set forth above in this section, which from the character and usa of the Property are reasonably necessary to protect and
    pre servo the Property.
DUE ON SALE • CONSENT BY LENDER. Lender may, at lender's optiOn, declare •mme<hately due and payable all sums secured by this
Deed of Trust upon the sale or transfer, without Lender's pnor wntten consent, of all or any part of the Real Property, or any Interest in the
Real Property. A "sale or transfer" means the conveyance of Real Property or eny nght. title or interest m the Real Property; whether legel,
banef1c1al or equitable; whether voluntary or uwoluntary; whether by outright sale, deed, Installment sale contract, land contract, contract
for dead, leasehQid interest with a term greater than three (3) years, lease-option contract, or by sale, assignment, or transfer of any
ben6fu.;ial interast ;n or to any land trust holding title to the Real Property, or by any other method of conveyance or ar; mterest in the Real
Property. However, th1s option shell not be exerc1sed by Lender if such exerc1sa 1s proh1b1ted by applicable law.
TAXES AND LIENS. The followmg provisions relat1ng to the taxes and liens on the Property are part of this Deed of Trust:
    Payment. Trustor shall pay when due (end in ell events at least ten (101 daya pnor to delinquency) all texas, specu11 taxes,
    assessmenta, charges (includmg water end sewer), fmes and Impositions levied against or on account of the Property, and shall pay
    when due all cl81ms for work dona on or for services rendered or matenal furnished to the Property. Trustor shall mamtain tha
    Property free of all liens havmg priority over or equal to the mterest of lendar under th•s Deed of Trust, except for the hen of taxes
    and assessments not due, except for the Existing lndabtadr.ess referred to below, and except as otherw;sa provided in th1s Deed of
    Trust.
    Right to Conteet. Trustor may Withhold payment of any tax, assessment, or clatm in connection w1th a good fa1th d1sputa over the
    obligation to pay, so long as Lender's Interest in the Property IS not Jeopardized. If a hen anses or is filed as a result of nonpayment,
    Trustor shall Within fiftean I 15) days aft!lr the lien anses or, If a lien 1s fded, within fifteen ( 15) days after Trustor hes not1ce of the
    filing, secura the d1scharge of the hen, or If requested by Lender, depos1t With lender cash or a sufficient corporate surety bond or
    other security satisfactory to Lender in ao amount sufficient to discharge the hen plus any costs and attorneys' fees, or other charges
    that could accrue as a result of a foreclosure or sale under the lien. In any contest, Trustor shell defend Itself end Lander and shall
    satisfy any adverse judgmant before enforcement agamst the Property. Trustor shall name Lender as an add1t1onal obhgae under any
    surety bond furmshed 1n the contest proceedmgs.
    Evidence of Payment. Trustor shell upon demand furnish to Lender satisfactory ev1dence of payment of the taxes or assessments and
    shall euthonze the appropriate governmental offtcial to deliver to Lendtlr at any t1me a wrinen statement of the tllxes and assessments
    agamst the Property.
    Notice of Construction. irustor shall notify Lander at least fifteen (15) days before any work IS commenced, any sarv1ces are
    furmshed, or any materials are supplied to the Property, 1f any mechamc's hen, mat11nalmen's hen, or other hen could be asserted on
    account of the work, sarv1caa, or matanals and the cost exceeds $25,000.00. Trustor w11l upon request of Lender furn1sh to Lender
    advance assurances satisfactory to Lend11r that Trustor can and will pay the cost of such Improvements.
PROPERTY DAMAGE INSURANCE. The followmg provisions ralatmg to insurmg the Property are 11 p11rt of this Dead of Trust.
    Maintenance of Insurance.        Trustor shall procure and mamta1n policies of f1ra insurance w1th standard extended coverage
    endorsements on a replacement basis for the full insurable value covanng all Improvements on the Real Property m an amount
    suff1C1Bnt to avoid application of any coinsurance clause, end w1th a standard mortgages clause m favor of lender. Trustor shall also
    procure and ma1ntam comprehensive general hablhty 1nsuranca in such coverage amounts as lender may requast w1th Trustee and
    Lender bemg named as add1tconal msureds In such liability Insurance policies. Additionally, Trustor shall ma1ntam such other
    insurance, mcluding but not hm1ted to hazard, businass mterruption, and boiler insurance, 1111 lender may reasonably reqUire.
    Notwithstanding the foragomg, m no event sh111ll Trustor be required to provide hazard insurance in excass of the replacement value of
    the Improvements on the Real Property. Policies shall be written m form, amounts, coverages 11nd basis reasonably acceptebla to
    Lender and issued by a company or compamas reasonably acceptable to Lender. Trustor, upon request of Lender, w1ll deliver to
    Lender from t1me to time the policies or cert1f1cetes of msurance in form satisfactory to Lender, including stipulations that coverages
    will not be cancelled or d1mm1shad w1thout et leest ten (tO) d!llys pnor written not1ce to Lender. Each Insurance policy also shall
    include an endorsement prov1d1ng that coverage 1n favor of Lander will not be Impaired in any way by any act, omir.sion or default of
    Trustor or any other persM. Should the Real Property be located m an area designated by the Dlfector of the Federal Emergency
    Management Agency as a special flood hazard area, Trustor agrees to obtain and maintain Federal Flood Insurance, if available, Within
    45 days after notice is given by Lander that tha Property 1s located in a spac1al flood hazard erea, for the full unpa1d pnncipal balance
    of the loan and any pnor hans on the property securmg the loan, up to the max1mum pohcy hmit!l sat under the Net1onal Flood
    Insurance Progrem. or ~s oth~Hwise requu·ed by lendM; H!nd !o m~untain such instuanc@ for th8 't~rm of th~ lo!!n.
    Application of Proceeds. Trustor shall promptly not1fy Lander of any los.s or damage to the Property if the estimated cost of repsir or
    replacement exceeds $25,000.00. Lender may make proof of ioss 1f Trustor fe1ls to do so w1thm fifteen (151 days of the casualty. If
    in Lender's sole judgment Lender's secunty rnterest m the Property has been Impaired, Lender may, at lender's election, raca•ve and
    retain the proceeds of any insurance and apply the proceeds to the reduction of the Indebtedness, payment of any lien affact•ng the
    Property, or the restoration and repa1r of the Property. If the proceeds are to be applied to restoration and repair, Trustor shall repair
    or replece the damaged or destroyed Improvements in a manner satisfactory to lender. Lender shall, upon satisfactory proof of such
    expenditure, pay or reimburse Trustor from the proceeds for the reasonable cost of repair or res.torat1on 1f Trustor 1s not in default




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 Case 2:17-cv-08894-JFW-JEM Document 1 Filed 12/11/17 Page 59 of 97 Page ID #:59


                                                         DEED OF TRUST
Loan No: 200366760                                           (Continued)                                                              Page 4


    under this Deed of Trust. Any proceeds which have not been disbursed Within 180 days after their receipt and whtch Lender has not
    committed to the repair or restoration of the Property shall be used f1rst to pay any amount owmg to Lender under th1s Deed of Trust,
    then to pay accrued mterest, and the remainder, if any, shall be applied to the principal balance of the Indebtedness. If Lender holds
    any proceeds after payment 1n full of the Indebtedness, such proceeds shall be paid to Trustor as Trustor's mterests mt~y t~ppaar,
    Compliance with Existing lndabt!Kineas. Dunng the penod 10 whtch any Existing Indebtedness descnbed below 1s 1n effect, compliance
    w1th tt\8 Insurance provisions contamed 1n the tnstrument evidencing· such Exu~t1ng Indebtedness shall constitute compliance with the
    Insurance provisions under thh; Deed of Trust, to the extent compliance with the terms of this Deed of Trust would constitute a
    duplication of insurance requirement. if any proceeds from the insurance become payable on loss, the provisions in this Deed of Trust
    for divls10n of procesds shall apply only to that portion of tM proceeds not P<3yabla to the holder of tna Existing Indebtedness.
    Trustor's R$port on Insurance. Upon request of Lender, however not more than once a year, Trustor shall furnish to Lender a report
    on each ex1stmg policy of msurance show1ng: (1) the name of the msurar; (21 tho risks insured; (31 the amount of the policy, (4)
    the property tnsured, the then current replacement value of such property, and the manner of determining that value; and (5) the
    exp~ratton date of the policy. Trustor shall, upon request of Lander, have an Independent appraiser satisfactory to Lender determme
    the cash value replacement cost of the Property.
LENDER'S EXPENDITURES. If any action or proceadtng 1s commenced that would materu~lly affect Lender's interest in the Property or 1f
Trustor falls to comply with any prov1s1on of this Dead of Trust or any Related Documents, includtng but not hm1ted to Trustor's failure to
comply with any obligation to mamtein Exastmg Indebtedness 1n good standang fils r&qu1rad below, or to discharge or pay when due eny
amounts Trustor 1s requ1red to discharge or pay under this Deed of Trust or any Related Documents, Lender on Trustor's bBhalf may (but
shall not be obligated to) take any action that Lendar deems appropriate, including but not limited to discharging or paymg all taxes, hens,
sacunty interests, encumbrances and other cla1ms, at any t1me lavied or placed on the Property and paying all costs for 1nsunng,
mamtammg and presarv1ng the Property. All such expenditures Incurred or pa1d by Lender for such purposes w1ll then bear mterest at the
rate charged under the Nota from the date 1ncurred or paid by Lender to the date of repayment by Trustor. All such expenses Will become
a part of the Indebtedness and, at Lender's option, will (AI be payable on demand; (B) be added to the balance of the Note and be
apport toned among and be payable w1th any Installment payments to become due dunng 61thar ( 11 the term of any applicable tnsunmca
policy; or (2) the remaimng term of tho Nota; or (C) ba treated as a balloon pa;;ment wh1ch will be due and payable at the Note's
matuntv. The Deed of Trust also will secure payment of these amounts. Such nght shall be m add1t1on to all other nghts end remed1es to
wh1ch Lender may bB entitled upon Default.
WARRANTY; DEFENSE OF TITLE. The followmg provisions relatmg to ownership of the Property are          a part of this Deed of Trust:
    Title. Trustor warrants that: (a) Trustor holds good end marketable title of record to the Property in fee simple, free and clear of all
    hens and encumbrances other than those set forth 1n the Real Property dascnptlon or 1n the Existing Indebtedness sectton below or in
    any title insurance policy, title report, or f1nel title opmion issued m favor of, and accepted by, Lender 1n connectiOn with this Deed of
    Trust, and lbl Trustor has the full nght, power, and authonty to execute and deliver th1s Deed of Trust to Lender.
    Defense of Title. SubJect to the exception m the paragraph above, Trustor warrants and will forever defend the title to the Property
    against the lawful claams of all persons, In the event any actton or proceeding Is commenced that questions Trustor's t1tle or tha
    mtarest of Trustee or Lender under this Deed of Trust, Trustor shell defend the actton at Trustor's expense, Trustor may be the
    nom1nel party m such proceedmg, but Lender shall be entitled to participate in the proceedmg and to be represented m the proceeding
    by counsel of Lender's own cho1ce, and Trustor w1ll dahver, or cause to be delivered, to Lender such Instruments as Lender may
    request from t1me to time to perm1t such participation.
    Compilanc• ii'Jlth l.iiwu. Trustor warrants that the Property and Trustor's usa of the Property complies with all axmt1ng applicable
    laws, ordinances, and regulations of governmental authorities.
    Survival of Representations Md Warranties. All representations, warranties, and agreements made by Trustor m this Deed of Trust
    shall surv1ve the execut1on and delivery of th1s Deed of Trust, shell be continumg 1n nature, and shall remain In full force and effect
    until such t1me as Borrower's lndabtedness shall be pe1d m full.
EXISTING INDEBTEDNESS. The following provis1ons concerning Ex1st1ng Indebtedness are a part of th1s Deed of Trust:
    ExlstlnJJ Llcm. The lien of th1s Deed of Trust seounng the Indebtedness may be secondary and inferior to the hen securing payment of
    an ex1stmg obligation to Chase Manhattan Mortgage Corporation descnbed as: Deed of Trust dated January 2, 2004 recorded on
    January 16, 2004 as Instrument No. 04-112689 of Official Records m the Off1ce of County Recorder of sa1d County, Tha existing
    obhgat1on has a current principal balance of approximately $2,516,300.00 and ism the ongmal principal amount of $2,616,300.00.
    Trustor expressly covenants and agrees to pay, or see to the peyment of, the Existing lndebtedneu end to prevent any default on
    such indebtedness, any default under the Instruments evidencing such mdebtedness, or any default under any secunty documents for
    such mdebtedness
    No Modification. Trustor shell not enter mto any agreement w1th the holder of any mortgage, deed of trust, or other sacunty
    agreement wh1ch has priority over th1s Deed of Trust by which that agre&ment 1s modified, amended, extended, or renewed Without
    the prior vmtten consent of Lender Trustor shall neither request nor accept any future advances under any such secunty agreement
    w1thout the pnor wntten consent of Lender.
CONDEMNATION. Tho following prov1s1ons relating to emment domain and 1nverse condemnation proceedings are a part of th1s Deed of
Trust:
    Proceedlngf!. !f any amm~mt domam or mverse condtomnat!on procead!!\9 IS commanced affect•ng tha Property, Trustor shall promptly
    notify Lender m writing, and Trustor shall promptly take such steps as may be necessary to pursue or defend the action and obtain the
    award. Trustor may be the nominal party in any such proceeding, but Lender shall be entitled, at 1ts election, to partiCipate 1n the
    proceeding and to be represented 1n the proc&admg by counsel of its own choice, end Trustor w11! deliver or cause to be delivered to
    Lender such mstruments and documentation as may be requested by Lender from t1me to t1me to perm1t such participation.
    Application of Net Procuda. If any award is made or settlement entered mto m any condemnation proce.admgs affecttng all or any
    part of tt\8 Property or by any proceadmg or purchase In heu of condemnation, Lender may at its election, and to the extent permitted




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   Case 2:17-cv-08894-JFW-JEM Document 1 Filed 12/11/17 Page 60 of 97 Page ID #:60

                                                         DEED OF TRUST
Loan No: 200366760                                         (Continued)                                                              Page 5


    by law, requ1re that all or any port1on of tha award or s-ettlement be applied to the Indebtedness and to the repayment of all reasonable
    costs, expenses, and attorneys' fees mcurred by Trustee or Lander In connection w1th the condemnat1on proceedings.
IMPOSITION OF TAXES, FEES AND CHARGES BY GOVERNMENTAL AUTHORITIES. The followmg prov1s1ons relating to governmental
taxes, fees and charges are a part of this Deed of Trust:
    Current Taxes, Fees and Chargee. Upon request by Lender, Trustor shall execute such documents 1n addition to this Deed of Trust
    and take whatever othar act1on 1s requested by Lender to perfect and continue Lender's hen on the Real Property Trustor shall
    reimburse lender for all taxes, as descnbed below, together with all expense11 Incurred 1n recording, perfecting or continuing this Deed
    of Trust, mcludmg without limitation all taxes, fees, documentary stamps, and other charges for recordmg or registering this Deed of
    Trust.
    Taxee. The followmg shell constitute taxes to which th1s section applies: (1) a speCifiC tax upon this type of Deed of Trust or upon
    all or any part of the Indebtedness secured by this Deed of Trust; (21 a spec1f1c tax on Borrower which Borrower 1s authonzed or
    reqwad to deduct from payments on the Indebtedness aecured by this type of Deed of Trust; (3) a tax on this type of Deed of Trust
    chargeable agamst the Lender or the holder of the Note; and (4) a specifiC tax on all or any portion of the Indebtedness or on
    payments of principal and mterest made by Borrower.                                ·
    Subeequent Taxes. If any tax to wh1ch th1s section applies 1s enacted subsequent to the date of this De.sd of Trust, th1s event shall
    have the same effect as an Event of Default, and lender may exercise any or ell of 1ts ava1labla remedies for an Event of Default as
    prov1ded below unless Trustor either (11 pays the tax before 1t becomes delinquent, or (2) contests the tax as provided ebove In the
    Taxes and L1ens section and deposits with Lender cash or a suffiCient corporate surety bond or other sacunty satisfactory to Lender.
SECURITY AGREEMENT; FINANCING STATEMENTS. The followmg proVISIOns relating to this Deed of Trust as a secunty agreement are a
part of this Deed of Trust:
    Security Agreement. This mstrument shall constitute a Secunty Agreement to the extent any of the Property constitutes fixtures, and
    Lender shall have all of the nghts of a secured party under the Umform Commercial Code as amended from t1me to time.
    Security lntereet. Upon request by Lender, Trustor shall take whatever action IS requested by Lender to perfect and contmue Lender's
    security mterest tn the Rents and Personal Property. Trustor shall reimburse Lender for all expensas mcurred 10 perfectmg or
    contmumg this security interest. Upon default, Trustor shall not remove, saver or detach the Personal Property from the Property.
    Upon default, Trustor shall assemble any Personal Property not affixed to the Property 1n a manner and at a place reasonably
    convenient to Trustor and Lender and make it available to Lender within three (3) days after receipt of written demand from Lender to
    the extent permitted by apphcable law
    Addraues. The madmg addresses of Trustor (debtor) and Lender !secured party) from wh1ch Information concerning the sacunty
    mterest granted by this Dead of Trust may be obtained (each as reqUired by the Uniform Commercial Code) are as stated on the f1rst
    page of th1s Deed of Trust.
FURTHER ASSURANCES; ATIORNEY·IN·FACT. The follow1ng provisions relating to further assurances and attorney-In-fact are a part of
this Deed of Trust.
    Further Aaaurancoa. At any time, and from t1me to time, upon request of Lender, Trustor Will make, executa and dehver, or w111 cause
    to be made, executed or delivered, to Lender or to Lender's des1gnee, and when requested by Lender, cause to be filed, recorded,
    refiled, or rerecorded, as the case may be, at such t1mes and in such offices and places es Lander may deam appropnete, any and all
    such mortgages, deeds of trust, secunty deeds, secunty agreements, fmancing statements, contmuat1on statements, instruments of
    further assurance, cert1f1cates, and other documents as may, in the sola op1mon of Lender, be necessary or des1rable in order to
    effectuate, complete, perfect, contmue, or preserve (1) Borrower's and Trustor's obligations under the Note, th1s Deed of Trust, and
    tho Related Documents, and 12) the hens and security interests created by this Deed of Trust on the Property, whether now owned
    or hereafter acquired by Trustor. Unless prohibited by law or Lender agrees to the contrary 1n wntmg, Trustor shall re1mburse Lender
    for all costs and expenses InCurred m connection w1th the matters referred to 1n th1s paragraph.
    Attorney-In-Fact. If Trustor falls to do any of the thmgs referred to in the precedmg paragraph, Lender may do so for and 1n the name
    of Trustor and at Trustor's expense. For such purposes, Trustor hereby Irrevocably appoints Lender as Trustor's ettornay-m-fact for
    the purpose of makmg, executing, dehvenng, filing, recordmg, and domg all other thmgs as may be necessary or des1rable, m Lender's
    sole op1mon, to accomplish tha mutters referred to m the precedmg paragraph.
FULL PERFORMANCE. If Borrower and Trustor pay all the Indebtedness when due, and Trustor otharw1se performs aU the obhgat1ons
imposed upon Trustor under this Deed of Trust. Lender shell executa and deliver to Trustee a request for full reconveyance and shall
execute and deliver to Trustor suitable statements of termination of any fmancing statement on fila av1dencmg Lender's sacunty Interest 10
the Rants and the Personal Property. Lender may charge Trustor a reasonable reconveyance fee at the time of reconveyance.
EVENTS OF DEFAULT. Each of the following, at Lender's option, shall const1tuta an Event of Default under th1s Deed of Trust:
    Payment Default. Borrower fells to make any payment when due under the Indebtedness.
    Other Default.. Borrower or Trustor fads to comply With or to perform any other term, obliget1ofl, covenant or condit1on contamed 10
    this Deed of Trust or m any of the Related Documents or to comply W1th or to perform any term, obligation, covenant or condition
    contained in any other agreement between Lander and Borrower or Trustor.
    CompHMce Default. Failure to comply w1th any other term, obhgat1on, covenant or cond1t1on contained in th1s Deed of Trust, the Note
    or 1n any of the Related Documents.
    Default on Other Payments. Fa11ure of Trustor w1thm the t•me required by th1s Deed of Trust to make any payment for taxes or
    msuranca, or eny other payment necessary to prevent fdmg of or to effect d1scharge of any hen.
    Default In Favor of Third Parties. Should Borrower or any Twstor default under any loan, extens1on of credit, secunty agreement,
    purchase or sales agreement, or any other agreement, in favor of any other cred1tor or parson that may matanally affect any of
    Trustor's property or Borrower's or any Trustor's ability to repay the Indebtedness or perform their respective obligations under this




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 Case 2:17-cv-08894-JFW-JEM Document 1 Filed 12/11/17 Page 61 of 97 Page ID #:61
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Loan No: 200366760
                                                         DEED OF TRUST
                                                                (Continued)                                                          Page 6
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    Deed of Trust or any of the Related Documents.
    False Statements. Any warranty, representation or statement made or furmshad to Lender by Borrower or Trustor or on Borrower's or
    Trustor's behalf under this Daad of Trust or the Related Documents 1s false or m1sleadmg in any material respect, e1ther now or at the
    teme made or furnished or becomes false or misleading at any ttmll thereafter.
    Defective Colhuaraiization. Th1s Deed of Trust or any of the Related Documents ceases to be n'i full force and effect ilnciudmg fallura
    of any collateral document to create a vahd and parfected security interest or hen) at any t1me and for any reason.
    Insolvency. The dissolution or termtnation of the Trust, the tnsolvoncy of Borrower or Trustor, the appointment of a receiver for any
    part of Borrower's or Trustor's property, any assignment for the benefit of creditors, any type of cred1tor workout, or the
    commancamant of any piocvadmg undar any bankruptcy or inso.lvancy IG\t,;; by or aga;nst Bc:rov1ar or TrustorG
    Creditor or Forfeiture Proceeding•. Commencement of foreclosure or forfeiture proceedings, whether by judic1al proceeding, self-help,
    repossession or any other method, by any creditor of Borrowef or Trustor or by any governmental agency against any property
    secunng the Indebtedness. Th1s 1ncludes a garnishment of any of Borrower's or Trustor's accounts, mcluding deposit accounts, w1th
    Lender. However. th1s Event of Default shall not apply if there is a good faith dispute by Borrower or Trustor as to the validity or
    reasonableness of the claim wh1ch IS the basiS of the cred1tor or forfeiture proceeding and if Borrower or Trustor gives Lender written
    notice of the cred1tor or forfo1ture proceedmg and depos1ts With Lender monies or a surety bond for the cred1tor or forfalture
    proceeding, in an amount determined by Lender, 1n ItS sole d1scret1on, as bemg an adequate reserve or bond for the dispute.
    Breach of Othtf Agrument. Any breach by Borrower or Trustor under the terms of any other agreement between Borrower or
    Trustor and Lender that 1s not remed1ed w1th1n any grace panod provided therein, including Without hmitat1on any agreement
    concermng any mdabtedness or other obligation of Borrower or Trustor to Lender, whether existing now or later.
    Events Affecting Guarantor. Any of the preceding events occurs With respect to any guarantor, endorser, surety, or accommodation
    party of any of the Indebtedness or any guarantor, endorser, surety, or accommodation party d1es or becomes mcompetent, or
    revokes or disputes the vahd1ty of. or hab1hty under, any Guaranty of the Indebtedness.
    Advtfse Change. A matenal adverse change occurs tn Borrower's or Trustor's fmanc1al cond1t1on, or Lender behaves the prospect of
    payment or performance of the Indebtedness is impaired.
    Insecurity. Lender in good fe1th behaves Itself Insecure.
    Exbtlng Indebtedness. The payment of any Installment of principal or any Interest on the Ex1stmg Indebtedness 1s not made w1thin the
    time required by the promissory note evidencmg such indebtedness, or a default occurs under the Instrument securmg such
    mdebtedness and 1s not cured dunng any applicable grace penod 1n such rnstrument, or any surt or other action is commenced to
    foreclose any ex1stmg hen on the Property.
    Right to Cure. If any default, other than a default in payment is curable and if Trustor has not been g1ven a notice of a breach of the
    same prov1s1on of this Deed of Trust w1th1n the preced1ng twelve 1121 months, 1t may be cured 1f Trustor. after receiving written notice
    from Lender demandmg cure of such default: (1) cures the default Within f1fteen (15) days; or (2) 1f the cure requires more than
    fifteen (16) days, Immediately Initiates steps which Lender daems In Lender's sole d1scret1on to be suffic1ent to cure the default and
    thereafter contmues and completes all reasonable and necessary steps sufficient to produce compliance as soon as reasonably
    practical.
RIGHTS AND REMEDIES ON DEFAULT. If an Event of Default occurs under this Deed of Trust, et any t1me thereafter, Trustee or Lender
m!!y exercis~t My one or more of the follow1ng nghts and remed1es:
    Election of Remedies. Election by Lender to pursue any remedy shall not exclude pursu1t of any other remedy, and an election to make
    expenditures or to take act1on to perform an obligation of Trustor under thiS Deed of Trust, after Trustor's fa1lure to parform, shall not
    affect Lender's right to declare a default and exercise 1ts remedial!.
    Foreclosure by Sale. Upon an Event of Default under this Deed of Trust, Beneficiary may declare the entire Indebtedness secured by
    thiS Deed of Trust Immediately due and payable by dahvery to Trustee of written declarataon of default and demand for sehl and of
    wntten notice of default and of eleCtion to causa to be sold the Property, which notice Trustee shall cause to be i1led for record.
    Benef1c1ary also shall deposit With Trustee this Dead of Trust, the Note, other documents requested by Trustee, and all documents
    ev1dencmg expandltures secured hereby. After the lapse of such time liS may then be required by I!!W followmg the recordatiOn of the
    not1ce of default, and nottce of sale having been given as then requtred by law. Trustee, Without demand on Trustor, shall sell the
    Property at the t1me and piece fixed by it 1n the not1ce of &ale, Bither as a whole or 1n separate parcels, end in such order as 1t may
    determine, at public auction to the highest bidde; for cash m lawful money of the United States, payable at time of sale. Trustee may
    postpone sale of all or any portion of the Property by pubhc announcement at such t1me and place of sale, and from t1me to t1me
    thereafter may postpone such sale by public announcement at the time fixed by the preceding postponement 1n accordance w1th
    iipphcable law. Trustee shall deliver to such purchasar its dead conveying the Property so sold, but without any covenant or
    warranty, express or 1mphed The recitals m such deed of any matters or facts shall be conclustve proof of the truthfulness thereof.
    Any person, 1ncludmg Trustor, Trustee or Beneficiary may purchase at such sale. After daducting ell costs, fees and expenses of
    Trustee and ot this Trust, mcludmg cost of ev1dence of title tn connection with sale, Trustee shall apply the proceeds of sale to
    payment of: all sums expended under the terms heraof, not then repaid, with accrued Interest at the amount allowed by Jaw 1n effect
    at the date hereof; all other sums then secured hereby; and the remainder, If any, to the person or persons legally entitled thereto.
    Judicii! Foreclosure. With respect to all or any pert of the Real Property, Lender shall have the rrght 10 lieu of foreclosure by power of
    saie to foreclo-se by judiCial 1o;aclusur;; iii accoidanca V¥1th and to tha full extent provided by Cehforrue !sv-1.
    UCC Remedies. W1th respect to all or any part of the Personal Property, Lender shell have all the nghts end remedies of a secured
    party under the Untform Commercial Code, mcludlng without hm1tet•on the right to recover any deficiency in the manner and to the full
    extent provided by California law.
    Collect Rents. Lender shall have the right, without notice to Borrower or Trustor to take possession of and manage the Property end
    collect the Rents, including amounts past due and unpaid, and apply the net proceeds, over and above Lender's costs, agtunst the




                                                                                                                                        071
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   Case 2:17-cv-08894-JFW-JEM Document 1 Filed 12/11/17 Page 62 of 97 Page ID #:62

                                                         DEED OF TRUST
loan No: 200366760                                         (Continued)                                                              Page 7


    Indebtedness. In furtherance of this right, Lender may require any tenant or other user of the Property to make payments of rent or
    use fees d1rectly to Lender. If the Rents are collected by Lender, then Trustor Irrevocably des1gnates Lender as Trustor's
    attorney-in-fact to endors-e mstrumenta received In payment thereof m the name of Trustor and to negot1ate the same and collect the
    proceeds. Payments by tenants or other users to Lender m response to Lender's demand shall sat1sfy the obhget1ons for whtch the
    payments are made, whether or not eny proper grounds for the demand ex1sted. Lender may exerctse tts nghts under th1s
    subparagraph e1ther tn person, by agent, or through a receiver.
    Appoint Receiver. Lender shall have the nght to have a recetver appointed to take possession of all or any part of the Property, with
    the power to protect and preserve the Property, to operate the Property preceding foreclosure or sale, and to collect the Rents from
    the Property and apply the proceeds, over and above the cost of the receivership, against the Indebtedness. The recetver may serve
    w1thout bond if permitted by law. Lender's nght to the appointment of a receiver shall exist whether or not the apparent value of the
    Property exceeds the Indebtedness by a substantial amount. Employment by Lender shall not d1squaltfy a person from servmg as a
    rece1var.
    T!Mancy at Sufferance. If Trustor rematns in possession of the Property after the Property IS sold as provided above or Lender
    otherwise becomes entitled to possessiOn of the Property upon default of Borrower or Trustor, Trustor shall become a tenant at
    sufferance of Lender or the purchaser of the Property and shall, at Lender's option, a1ther (1 I pay e reasonable rental for the use of
    the Property, or (2) vacate the Property Immediately upon the demand of Lender.
    Other Remedlu. Trustee or lender shall have any other nght or remedy provided in this Deed of Trust or the Note or available at law
    or tn equ1ty.
    Notice of Sale. Lender shall g1ve Trustor reasonable nottce of the ttme and place of any pubhc sale of the Personal Property or of the
    time after which any pnvata sale or other mtended dlspos1t1on of the Personal Property 1s to be made. Reasonable nottce shall mean
    notice given at least ten (10) days before the ttme of the sale or disposition. Any sale of the Personal Property may be made m
    conjunction With any sale of the Real Property.
    Sala of the Property. To the extent permitted by applicable law, Borrower and Trustor hereby waives any and all rights to have the
    Property marshalled. In exerctsmg 1ts rtghts and remedies, the Trustee or Lender shall be free to sell all or any part of the Property
    together or separately, m one sale or by separate sales. Lender shall be entitled to bid at any pubhc sale on all or any portion of the
    Property.
    Attorneys' Fees: Expenses. If Lender Institutes any sutt or act1on to enforce any of the terms of this Deed of Trust, Lender shalt be
    entetlad to recover such sum as the court may adjudge reasonable as attorneys' fees at tnal and upon any appeal. Whether or not any
    court actu:m !s u1voJved, and to the extent not proh!b!ted by !aw, a!! reasonable expenses Lender :ncurs that ;n lander's op;mon are
    necessary at any t1me for the protectton of tts Interest or the enforcement of its rights shall become a part of the Indebtedness payable
    on demand and shall bear Interest at the Note rate from the date of the expandeture until repaid. Expanses covered by thts paragraph
    mcluda, Without hm1tet1on, however subject to any ltm1ts under applicable law, Lender's attorneys' fe-es and Lender's legal expenses,
    whether or not there 1s a lawsuit, mcludmg attorneys' fees and expanses for bankruptcy proceedings !including efforts to modtfy or
    vacate any automatic stay or IOJunctiOn), appeals, and any anttctpatad post-judgment collection services, the cost of searchmg
    records, obtatmng t1tle reports hncludmg foreclosure reports), surveyors' reports, and appraisal fees, tttle insurance, and fees for the
    Trustee, to the extent permitted by applicable law. Trustor also will pay any court costs, m add1t1on to all other sums provided by
    law.
    Rights of Truete1t. Trustee shall have ell of the nghts and duttes of Lender as sat forth m thts sacteon.
POWERS AND OBLIGATIONS OF TRUSTEE. The followmg provisions relatmg to the powers and obligations of Trustee are part of th1s
Deed of Trust:
    Powers of Trustee. In addition to all powers of Trustee ansing as a matter of law, Trustee shall have the power to take the following
    actions with respect to the Property upon the wntten request of Lender and Trustor: (a) jOin tn prepanng and filing a map or plat of
    the Real Property, includmg the dedication of streets or other nghts to the public; (b) JOtn m grantmg any easement or creatmg any
    restnction on the Real Property; and (c) JOin m any subordmat1on or other agreement affactmg this Deed of Trust or the mterest of
    Lender under thiS Dead of Trust.
    Obligations to Notify. Trustee shall not be obhgatad to notify any other party of a pending sale under any other trust deed or hen, or
    of any act1on or proceedmg m whtch Trustor, Lender, or Trustee shall be a party, unless the act1on or proceeding is brought by
    Trustee.
    Trustee. Trustee shall meet all qualifications requtred for Trustee under applicable law. In add1t1on to the rights and remed1es set
    forth above, with respect to all or any part of the Property, the Trustee shall have the nght to foreclose by not1ce and sale, and Lender
    shall have the nght to foreclose by judtc•al foreclosure. in either case 10 accordance with and to the full extent provided by applicable
    law.
    Successor Trustee. Lender, at Lender's opt1on, may from time to t1me appotnt a successor Trustee to any Trustee appomted under
    this D&ed of Trust by an Instrument executed and acknowledged by lender and recorded in the office of the recorder of Los Angeles
    County, State of Cahforma. The Instrument shall contain, in additton to all other matters requtred by state law, the names of the
    ortginal Lender, Trustee, and Trustor, the book and page where thts Deed of Trust 1s recorded, and the name and address of the
    successor trustee, and the Instrument shall be executed end acknowledged by lender or tts successors In mterest. The successor
    trustee, w1thout conveyance of the Property, shall succeed to all the title, power, and dut1es conferred upon the Trustee m thiS Deed
    of Trust and by applicable law. This procedure for substitution of Trustee shall govern to the exclusion of all other prOVISIOns for
    subst1tut1on.
    Acceptance by Trustee. Trustee accepts this Trust when thts Dead of Trust, duly executed and acknowledged, 1s made a pubhc
    record as provtded by law.
NOTICES. Any nottce requered to be given under th1s Deed of Trust shall be g1ven 1n writing, and shall be effective when actually delivered,
when actually received by telefacs1m1le (unless otherwise required by law), when depostted w1th a nationally recognized overmght couner,




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 Case 2:17-cv-08894-JFW-JEM Document 1 Filed 12/11/17 Page 63 of 97 Page ID #:63

                                                          DEED OF TRUST
Loan No: 200366760                                             (Continued}                                                              Page 8


or, 1f mailed, when depoSited in the United States mail, as first class, certified or registered mail postage prepaid, d1rected to the addresses
shown near the begmning of th•s Deed of Trust. Trustor requests that cop1ell of any notices of default and sale be directed to Trustor's
address shown near the beginmng of th1s Dead of Trust. All copies of notices of foreclosure from the holder of any hen which has pnonty
over this Deed of Trust shall be sent to Lender's address, as shown near tha beg1nmng of th1s Deed of Trust. Any party may change 1ts
addreu for not1ces under th1s Deed of Trust by g1v1ng formal wntten not1ce to the other parties, specifying that the purpose of tho notice 1s
to change the party's address. For notice purposes, Trustor agrees to keep Lender miormed at all t1mes of Trustor's current address.
Unless otherwise provided or required by law, if there Is more than one Trustor, any notiCe gaven by Lender to any Trustor is deemed to be
notice given to all Trustors.
STATEMENT OF OBLIGATION FEE. Lender may collect a fee, not to exceed the max1mum amount permitted by law, for furn1shmg the
statamant of obligat;on as prov;dad by Sact•on 2943 of the CiVil Coda of CahfOiiii6a
MISCELLANEOUS PROVISIONS. The following miscellaneous prov1s1ons are a part of th1s Deed of Trust:
    Amondments. Th1s Dead of Trust, together w1th any Related Documents, constitutes the entire understanding and agreement of the
    partres as to the matters set forth 1n th1s Deed of Trust. No alterat1on of or amendment to th1s Deed of Trust shell ba effective unless
    given 1n wrrt1ng and signed by the party or parties sought to be charged or bound by the alteration or amendment.
    Annual Raport11. If the Property 1s used for purposes other than Trustor's res1dance, Trustor shall furn1sh to Lender, upon request, a
    certified statement of net operatmg mcome rece1ved from the Property during Trustor's previous f1scal year 1n such form and detail as
    Lendllr shall fllqutra. "Nat opat&ting 1ncoma" shall moan all cash receipts from the Property lass all cash axpend1turas made m
    connection With the operation of the Property.
    Caption Headings. Caption head1ngs m th1s Dead of Trust are for convan1ence purposes only and are not to be used to interpret or
    def1na the prov1s1ons of th1s Deed of Trust.
    MergH. There shall be no merger of the interest or estate created by th1s Deed of Trust w1th any other Interest or estate in the
    Property at any t1me held by or for the benefit of Lender tn any capacity, Without the wntten consent of Lender.
    Governing Law. Thla Deed of Trust will be governed by federal law applicable to lender and, to the extent not preempted by federal
    Jaw, the laws of the State of California without regard to lb1 conflicts of law provlslone. Thle Deed of Truet has been accepted by
    Lender In the State of California.
    Choice of Venue. If there 1s a lawswt, Trustor agrees upon Lender's request to subm1t to the Junsd1ct1on of the courts of Los Angeles
    County, State of Califorma.
    Joint and Several Uablllty. All obligations of Borrower and Trustor under th1s D&ed of Trust shall be JOint and several, and all
    references to Trustor shall mean each and every Trustor, and ali references to Borrower shall mean each and every Borrower. This
    means that each Trustor signing below is responsible for all obhgat1ons m th•s Deed of Trust.
    No Walvllll' by Lender. Lender shall not be deemed to have waived any nghts under th1s Dead of Trust unless such wa1ver 1s g1ven m
    writing and s1gned by Lender. No delay or omission on the pert of Lender in exercising any nght shall operate as a wa1ver of such
    nght or any other nght. A waiver by Lender of a prov1s1on of th1s Deed of Trust shall not preJUdice or constrtute a wa1ver of Lender's
    r1ght otherwise to demand stnct comphance w1th that prov1s1on or any other provision of this Deed of Trust. No prior waiver by
    Lender, nor any course of dealing between Lender and trustor, shall constitute a wa1ver of any of Lender's nghts or of any of
    Trustor's obhgat1ons as to any future transactions. Whenever the con&ant of Lender 1s requ~red under th1s Deed of Trust, the grantmg
    of such consent by Lender 1n any 1nstance shall not constitute continuing consent to subsequent instances where such consent is
    required and m aii cases such consent may be granted or withheld in the soie discretion of Lender.
    Severab!Uty. If a court of competent junsd1ct1on finds any provision of this Deed of Trust to be Illegal, mvahd, or unenforceable es to
    any circumstance, that fmdtng shall not make the offending provision Illegal, Invalid, or unenforceable as to any other Circumstance. If
    feasible, the offending provision shall be considered mod1f1ed so that it becomes legal, vahd and enforceable. If the offending
    provision cannot be so modified, It shall be considered deleted from th1s Deed of Trust. Unless otherwise reqUired by law, the
    1llagahty, 1nvaltd1ty, or unenforceab1hty of any prov1sion of th1s Deed of Trust shall not affect the legality, valtd1ty or enforceability of
    any other provision of th1s Dead of Trust.
    Succasliorii and Aliiilgni. Subject to any limitations stated m th1s Deed of Trust on transfer of Trustor's interest, this Deed of Trust
    shall be b1ndmg upon and 1nure to the benefit of the parties, the•r successors and assigns. If ownership of the Property bacomas
    vested m a person other than Trustor, Lender, w1thout notice to Trustor, may deal with Trustor's successors with refarence to th1s
    Deed of Trust and the Indebtedness by way of forbearance or extension Without releasmg Trustor from the obligations of this Dead of
    Trust or lrab1hty under the Indebtedness.
    Time Is of tha Eaeence. T1ma IS of the essence 1n the performance of th1s Deed of Trust.
DEFINITIONS. The follow1ng cap1tahzed words and terms 5hall have the followrng meanmgs when used m th1s Deed of Trust. Unless
spec1f1cally stated to the contrary, ell references to dollar amounts shall mean amounts in lawful money of the United States of Amertca.
Words and terms u5ed in the singular shall Include the plural, and the plural shall include the smgular, es the context may require. Words
and terms not otherw1se defined 1n this Deed of Trust shall have the mean1ngs attributed to such terms in the Uniform Commarc1el Code:
    Beneficiary. The word "Banef1c1arv" means Pac1fic Western Bank, and 1ts successors and ass1gns.
    Borrower. The word "Borrower" means Massoud Yashouafar and Solyman Yashouafar and includes all co-signers and co-makers
    BIQl'llnQ the Note and aii tha1r successors and assigns.
    Deed of Trust. The words "Deed of Trust" mean th1s Deed of Trust among Trustor, Lender, and Trustee, end 1ncludes Without
    hm1tatcon all assignment and security Interest provisions relatmg to the Personal Property and Rents.
    D11fault. The word "Default" means the Default sat forth in this Deed of Trust    10   the sact1on t1tled "Default".
    Environmental Laws. The words "Env~ronmental Laws" mean any and all state, federal and local statutes, regulations and ordmances




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  Case 2:17-cv-08894-JFW-JEM Document 1 Filed 12/11/17 Page 64 of 97 Page ID #:64

                                                       DEED OF TRUST
loan   No~   200366760                                   (Continued)                                                             Page 9


   relating to the protection of human health or the environment, including without limitation the Comprehensive Environmental
   Response, Compensation, and Liability Act of 1980, as amended, 42 U.S.C. Section 9601, et seq. ("CERCLA "I, the Superfund
   Amendments and Reeuthonzetron Act of 1986, Pub. L. No. 99-499 ("SARA"), the Hazardous Metenels Transportation Act, 49 U.S.C.
   Sect1on 1801, at seq., the Resource Conservation and Recovery Act, 42 U.S.C. Sect1on 6901, at seq., Chapters 6.5 through 7.7 of
   Division 20 of the Cehfornra Health and Safety Code, Sectron 25100, et seq., or other applicable state or federal laws, rules, or
   regulations adopted pursuant thereto.
   Event of Default. The words "Event of Default" mean any of the events of default set forth 1n this Dead of Trust m the events of
   default section of this Deed of Trust.
   Existing Indebtedness. The words "Existing Indebtedness" mean the indebtedness dascnbed m the Existing Lrens prov1sion of this
   D&ed of TruM.
   Guaranty. The word "Guan1nty" means the guaranty from guarantor, endorser, surety, or accommodation party to Lender, rncluding
   w1thout limitation a guaranty of all or part of the Note.
   Hazardous Substances. The words "Hazardous Substances" mean matenels that, because of therr quantity, concantratron or
   physical, chemrcal or tnfect1ous charectenstrcs, may cause or pose a present or potentral halard to humen health or the env1ronment
   when improperly used, treeted, stored, disposed of, generated, manufectured, transported or otherwise handled. The words
   "Hazardous Substances" are used In their very broadest sense and include Without limttation any and all hazardous or toxic
   substances, matenals or waste as defined by or listed under the Environmental Laws. The term "Hazardous Substances" also
   includes, Without limttatton, petroleum and petroleum by-products or any fraction thereof and asbestos.
   Improvements. The word Rlmprovements" means all exrstmg and future improvements, burldmgs, structures, mobile homes affixed on
   the Real Property, facilities, additions, replacements and other construCtion on the Real Property.
   Indebtedness. The word "Indebtedness" means ell prmc1pal, mterest, end other amounts, costs and expenses payeble under the Note
   or Related Documents, together with all renewals of, extensrons of, modrficat1ons of, consolidations of and substitUtiOns for the Note
   or Related Documents and any amounts expanded or advanced by Lender to discharge Trustor's obligations or expenses incurred by
   Trustee or Lender to enforce Trustor's obligations under this Dead of Trust, together wrth mterest on such amounts as provtded rn thrs
   Deed of Trust.
   Lender. The word "Lender" means Pacrf1c Western Bank, Its successors and ass1gns.
   Note.    The word "Note" means the promissory note dated March 20, 2009, in the original principal amount of
   $6,551,575.00       from Borrower to Lender, together With all renewals of, extensrons of, modifications of, refinancings of,
   consoiidat1ons of, and subst1tut1ons for the promissory note or agreement. NOTICE TO TRUSTOR: THE NOTE CONTAINS A
   VARIABLE INTEREST RATE.
   Personal Property. The words "Personal Property" mean all equipment, fixtures, and other articles of personal property now or
   hereefter owned by Trustor, and now or hereafter attached or affixed to the Real Property; together w1th all access1ons, parts, and
   addrtrons to, all replacements of, and all substrtut1ons for, any of such property; and together w1th all proceeds bncludrng Without
   limitation all Insurance proceeds and refunds of premiums) from any sale or other disposition of the Property.
   Property. The word "Property" means collectively the Real Property and the Personal Property.
   Real Property. The words "Real Property" mean the real property, mterests and rights, as further descrrbed in thrs Deed of Trust.
   Related Documents. The words "Related Documents" mean all promissory notes, credrt agreements, loan agreements, security
   agreements, mortgages, d&eds of trust, security deeds, collateral mortgages, and all other instruments, agreements and documents,
   whether now or hereafter ex1stmg, executed 1n connection with the Indebtedness; except that the words do not mean any guaranty or
   envrronmental agreement, whether now or hereafter ex1st1ng, executed rn connect1on wrth the Indebtedness.
   Rents. The word "Rents" means all present and future leases, rents, revenues, rncome, 1ssues, royalties, prof1ts, and other benef1ts
   denved from the Property together wrth the cash proceeds of the Rants.
   Trustee. The word "Trustee" means Pacific Western Bank, whose address is 5900 La Place Court, Carlsbad, CA 92008 and any
   substitute or successor trustees.
   Trustor. The word "Trustor" means Msssoud Yashouafar, Trustee of The Massoud and Pannaz Yashouafar 2003 Trust under the
   provisions of a trust agre-ement dated June 18, 2003.
TRUSTOR ACKNOWLEDGES HAVING READ ALL THE PROVISIONS OF THIS DEED OF TRUST, AND TRUSTOR AGREES TO ITS TERMS,
INCLUDING THE VARIABLE RATE PROVISIONS OF THE NOTE SECURED BY THIS DEED OF TRUST.




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  Case 2:17-cv-08894-JFW-JEM Document 1 Filed 12/11/17 Page 65 of 97 Page ID #:65


Loan No: 200366760
                                                                  DEED OF TRUST
                                                                    (Continued)                                                                         Page 10
                                                                                                                                                                      ,,
                                              CERTIFICATE OF ACKNOWLEDGMENT

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COUNTY OF          &t.J Ae~/t./~                                                  : SS                                   tp/)(
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personally appeared Mlllllaud Ya11houafar, who proved to me on the basis of satisfactory ev1dence to be the person(s) whose namelsl
1s/ara subscnbed to the w1th1n Instrument and acknowledged to me that he/she/they executed the same in his/her/their authonzed
capaclty(ies), and that by h1s/hsr/the1r s1gnature(s) on the instrument the person(s), or the entity upon behalf of which the person(s) acted,
executed the mstrument.

! certify under PENALTY OF PERJURY under the laws of the State of Cahforma that the forego1ng paragraph is true and correct.




                                                                  (DO NOT RECORD)
                                               REQUEST FOR FUll RECONVEYANCE
                                               (To be us-ed only when obhgat1ons have been paid in full)

To: - - - - - - - - - - - - - - - - - • Trustee
The undersigned 1s the legal owner and holder of all Indebtedness secured by this Deed of Trust. All sums secured by th1s Dead of Trust
have been fully pa1d and sat1sf1ed. You are hereby directed, upon payment to you of any sums owing to you under the terms of th1s Deed
of Trust or pursuant to any applicable statute, to cancel the Note secured by th1s Deed of Trust (which Is delivered to you together Wtth
thts Deed of Trust), and to reconvey, Without warranty, to the part1as designated by the terms of this Deed of Trust, the estate now held
by you under this Deed of Trust. Please ma1l the reconveyance end Related Documents to:


Date: _ _ _ _,                                                                                Beneficiary:----------------
                                                                                                        By: _____________________________

                                                                                                        Its:----------------
LASER PRO Lend1ng, Ver. 5 .43.00.1 03    Copr. Harland F1nanc1al Solut•ons, Inc.                        1997, 2009. AU Rights Reserved. - CA
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Case 2:17-cv-08894-JFW-JEM Document 1 Filed 12/11/17 Page 66 of 97 Page ID #:66




              GOVERNMENT CODE SECTION 27361.7

    I CERTIFY UNDER PENALTY OF PERJURY THAT THE
    NOTARY SEAL ON THE DOCUMENT TO WHICH THIS
    STATEMENT IS ATTACHED READS AS FOLLOWS:


    NAME OF NOTARY: Michael Robert Johnson

    DATE COMMISSION EXPIRES: December 1, 2010

    COUNTY WHERE BOND IS FILED: Los Angeles

    COMMISSION NO.: 1707721

    VENDOR NO.: NNAl

    PLACE OF EXECUTION: Irvine

    DATE: 3/24/09

    Stewart Title,California




    Chris Maziar




                                                                              066
                                                                   Citivest000182
Case 2:17-cv-08894-JFW-JEM Document 1 Filed 12/11/17 Page 67 of 97 Page ID #:67
        Case 2:17-cv-08894-JFW-JEM Document 1 Filed 12/11/17 Page 68 of 97 Page ID #:68




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       Case 2:17-cv-08894-JFW-JEM Document 1 Filed 12/11/17 Page 69 of 97 Page ID #:69


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                  APN: A350-009.012

                  WHF..N RECdRDED, MALI, TO:                                                                     "z~~5p~q~098.

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                     1 CAPITOL MALL #660
                    SACRAMENTp,~A 95814



                                                                            BULL R~CONVEYANCE

                  TO; CHICAGO TITLE COMPANY,a California Cori., TRUSTEE

                           The undersigned is the legal owner and holder of the Note and Nfltes for the original sum of
                  TWO MILLIOi~1 AND NO/100 DOLLARS,{$2,000,000 ,and all other indebtedness secured. by Deed of
                  Trust dated February S, 2004 made by MASSOUD YASHOUA~AR and PAR(NAZ YASHOUAFAR
                  INDIVIDUALS, Trustor, to CHICAGO T[TLE COMPANY. Trustee, and recorded on February 13,
                  200~~, as instrument number 04-335]43 in Book         ,Page         ,of Official Records, in the office
                  ofthe County R.ecarder of Los Angeles Coun#v, California:

                           Said Note or Notes, together with all other indebtedness secured by said Deed of Trust, have been
                  fully paid and satisfied; and you are hereby requested and directed, upon delivery to you of said Deed of
                  Trust and said Note or Notes and upon payment to you of any sums owing to you under the terms of said
                  Deed of Trust, to cancel said Note or Notes above mentioned, and ail other evidences of indebtedness
                  secured by said Deed of Trust, together with the said Deed of Trust, and to reeonvey, without warranty, to
                  the parties legally entitled thereto, all the estate note held by you under the Deed uf'1"rust.

                  Dated. December 3 O ,2014

                  TRI-CENTER GROUP,INC., a California corporation



                  Rp:-~               "~'~~
                           Kambsz Joseph Shabani
                  (ts:     P'resident



                   State of Catifbrnia               )
                   County of Los Angeles             )ss.


                  On ~etg~~Cr ~O , 20 (~{ before me,                   ~1.~~~Vim✓►                        ~           , a Notary Public,
                  personally appeared ~~,~~i~'~osial„ 54,,,4,,n;                     —'                                                ,
                  who proved to me on the basis of satisfa
                                                         ry   oc  evidence to be the person(aj whose natne(~) islaFc subscribed to the
                  within instrument and acknowledged to me that he/sheltl~ey executed the same in )w.~her/t}~ authorized
                  caplcity(jes), and that by hielher/t6r~r srgnature(a) on the instrument the person(S.}; or the entity upon behalf of
                  which khe person(ej`acted, executes! the instrument.

                   t certify under AENALTY dF PERJURY under the laws of the State ~F California khat the foregoing paragraph is
                   true and wrrecY.

                   WITNESS my hand and official seal,

                                                                                              ary Puhlic
                   ~].',~`•~'           KIM NGUYEN
                   ~      '~~`     Commission M 2077709
                   a:=~ "          NotBry Public ~ California
                   z ~ ~!'~          loe Angatea County
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Non-Order Search                                                     Page 242 of 242        Requested By: Susan Mariscal ,Printed: 9/2712016 4:46 PM
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Case 2:17-cv-08894-JFW-JEM Document 1 Filed 12/11/17 Page 70 of 97 Page ID #:70
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Case 2:17-cv-08894-JFW-JEM Document 1 Filed 12/11/17 Page 71 of 97 Page ID #:71
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Case 2:17-cv-08894-JFW-JEM Document 1 Filed 12/11/17 Page 72 of 97 Page ID #:72



     RECORDING REQUESTED BY:

     CITIVEST FINANCIAL SRS

     WHEN RECORDED MAIL TO:

     CITIVEST FINANCIAL SERVICES
     P.O. BOX 861894
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                                                                          *20150095416*
     LOS ANGELES, CA 90086

     APN: 4391-009-002                      T. S. NO. 15-0l-1002a                     REF: CHALETTE




                                 NOTICE OF TRUSTEE'S SALE


                                      IMPORTANT NOTICE

    YOU ARE IN DEFAULT UNDER A DEED OF TRUST DATED MARCH 20,2009.
    UNLESS YOU TAKE ACTION TO PROTECT YOUR PROPERTY, IT MAY BE
    SOLD AT PUBLIC SALE. IF YOU NEED AN EXPLANATION OF THE
    NATURE OF THE PROCEEDING AGAINST YOU, YOU SHOULD CONTACT A
    LAWYER.

     On FEBRUARY 20, 2015 at 9:30 A.M. Citivest Financial Services, Inc. as duly
     appointed Trustee or Successor Trustee under and pursuant to a Deed of Trust recorded
     on 3/25/2009, as instrument number 2009-0425658 of Official Records in the office of
     the County Recorder of Los Angeles County, State of California, Executed by

              Solyman Yashouafar, as trustee of the So lyman and Soheila Yashouafar 2004
    Trust dated March 8, 2004 as Trustor

    WILL SELL AT PUBLIC AUCTION TO THE HIGHEST BIDDER FOR CASH, A CASHIER'S
    CHECK DRAWN ON A STATE OR NATIONAL BANK, A STATE OR FEDERAL CREDIT
    UNION, OR A STATE OR FEDERAL SAVINGS AND LOAN ASSOCIATION/THRIFT
    DOMICILED IN THE STATE OF CALIFORNIA or other form of payment authorized by 2924h(b),
    (payable at the time of sale in lawful money of the United States)

    PLACE OF SALE: ON THE STEPS OF THE SOUTH WEST ENTRANCE OF UNITED STATES
    POST OFFICE AT 900 N Alameda Street, Los Angeles, CA 90012.

    All rights, title and interest conveyed to and now held by it under said Deed of Trust in
    the property situated in said County and State described as follows:

            Lot 34 in tract no. 24484, in the city of Beverly Hills, County of Los Angeles,
            State of California, as per map recorded in Book 657, Pages 99 and 100 of maps,
            in the office of the county recorder of said county,




                                                                                                          021
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Case 2:17-cv-08894-JFW-JEM Document 1 Filed 12/11/17 Page 73 of 97 Page ID #:73




    APN: 4391-009-002                T. S. NO. 15-0l-1002a                   REF: CHALETTE



    The street address and other common designation, if any, of the real property described
    above is purported to be: 580 CHALETTE DRIVE, BEVERLY HILLS, CA 90210,,

    The undersigned Trustee disclaims any liability for any incorrectness of the street address
    and other common designation, if any shown herein.

    Said sale will be made, but without covenant or warranty, express or implied, regarding
    title, possession, or encumbrances, to pay the remaining principal sum of the note(s)
    secured by said Deed of Trust, with interest thereon, as provided in said note(s),
    advances, if any, under the terms of said deed of trust, fees, charges and expenses of the
    Trustee and of the trusts created by said Deed of Trust.

    The total ESTIMATED amount of the unpaid balance of the obligation secured by the
    property to be sold and reasonable estimate costs, expenses and advances at the time of
    the initial publication of the Notice of Sale is $6,569,508.05. The beneficiary under said
    Deed of Trust heretofore executed and delivered to the undersigned a written Declaration
    of Default and Demand for Sale, and written Notice of Default and Election to Sell. The
    undersigned caused said Notice of Default and Election to Sell recorded as instrument
    number 2014-0086798 on January 27, 2014, of Official Records in the office of the
    County Recorder of Los Angeles County, State of California, where the real property is
    located.



    Dated January 26, 2015                      CITIVEST FINANCIAL SERVICES, INC.




                                                                       resident

                                                Los Angeles, CA 90086
                                                Telephone No. 888-666-1685 Ext. 503




                                                                                                022
                                                                                     Citivest000057
Case 2:17-cv-08894-JFW-JEM Document 1 Filed 12/11/17 Page 74 of 97 Page ID #:74
Case 2:17-cv-08894-JFW-JEM Document 1 Filed 12/11/17 Page 75 of 97 Page ID #:75



     RECORDING REQUESTED BY:

     CITIVEST FINANCIAL SRS

     WHEN RECORDED MAIL TO:

     CITIVEST FINANCIAL SERVICES
     P.O. BOX 861894
     LOS ANGELES, CA 90086

     APN: 4350-009-012                     T. S. NO. 15-01-1002b              REF: REXFORD



                                NOTICE OF TRUSTEE'S SALE


                                     IMPORTANT NOTICE

     YOU ARE IN DEFAULT UNDER A DEED OF TRUST DATED MARCH 20,2009.
     UNLESS YOU TAKE ACTION TO PROTECT YOUR PROPERTY, IT MAY BE
     SOLD AT PUBLIC SALE. IF YOU NEED AN EXPLANATION OF THE
     NATURE OF THE PROCEEDING AGAINST YOU, YOU SHOULD CONTACT A
     LAWYER.

     On FEBRUARY 23, 2015 at 9:30 A.M. Citivest Financial Services, Inc. as duly
     appointed Trustee or Successor Trustee under and pursuant to a Deed of Trust recorded
     on 3/25/2009, as instrument number 2009-0425659 of Official Records in the office of
     the County Recorder of Los Angeles County, State of California, Executed by

               Massoud Yashouafar, as Trustee of the Massoud and Parinaz Yashouafar 2003
     Trust, u/d/t June 18, 2003 as Trustor

     WILL SELL AT PUBLIC AUCTION TO THE HIGHEST BIDDER :FOR CASH, A CASHIER'S
     CHECK DRAWN ON A STATE OR NATIONAL BANK, A STATE OR FEDERAL CREDIT
     UNION, OR A STATE OR FEDERAL SAVINGS AND LOAN ASSOCIATION/THRIFT
     DOMICILED IN THE STATE OF CALIFORNIA or other form of payment authorized by 2924h(b),
     (payable at the time of sale in lawful money of the United States)

     PLACE OF SALE: ON THE STEPS OF THE SOUTH WEST ENTRANCE OF UNITED STATES
     POST OFFICE AT 222 N Grand Ave., Los Angeles, CA 90012.

     All rights, title and interest conveyed to and now held by it under said Deed of Trust in
     the property situated in said County and State described as follows:

     Lot 5 and the Northerly 15 feet of Lot 4 of Tract No. 4201, in the city of Beverly Hills,
     County of Los Angeles, State of California, as per map recorded in book 46, page 63 of
     maps, in the office of the county recorder of said county.




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Case 2:17-cv-08894-JFW-JEM Document 1 Filed 12/11/17 Page 76 of 97 Page ID #:76




    APN: 4350-009-012                T. S. NO. 15-0l-1002b                   REF: REXFORD



    The street address and other common designation, if any, of the real property described
    above is purported to be: 910 NORTH REXFORD DRIVE, BEVERLY HILLS, CA
    90210.

    The undersigned Trustee disclaims any liability for any incorrectness of the street address
    and other common designation, if any shown herein.

    Said sale will be made, but without covenant or warranty, express or implied, regarding
    title, possession, or encumbrances, to pay the remaining principal sum of the note(s)
    secured by said Deed of Trust, with interest thereon, as provided in said note(s),
    advances, if any, under the terms of said deed of trust, fees, charges and expenses of the
    Trustee and of the trusts created by said Deed of Trust.

    The total ESTIMATED anlolmt of the unpaid balance of the obligation secured by the
    property to be sold and reasonable estimate costs, expenses and advances at the time of
    the initial publication of the Notice of Sale is $6,569,508.05. The beneficiary under said
    Deed of Trust heretofore executed and delivered to the undersigned a written Declaration
    of Default and Demand for Sale, and written Notice of Default and Election to Sell. The
    undersigned caused said Notice of Default and Election to Sell recorded as instrument
    number 2014-0086791 on January 27, 2014, of Official Records in the office of the
    County Recorder of Los Angeles County, State of California, where the real property is
    located.



    Dated January 26,2015                       CITIVEST FINANCIAL SERVICES, INC.




                                                E.M. MAZZARIN{(President
                                                P.O. Box 861894
                                                Los Angeles, CA 90086
                                                Telephone No. 888-666-1685 Ext. 503




                                                                                               025
                                                                                    Citivest000141
Case 2:17-cv-08894-JFW-JEM Document 1 Filed 12/11/17 Page 77 of 97 Page ID #:77
Case 2:17-cv-08894-JFW-JEM Document 1 Filed 12/11/17 Page 78 of 97 Page ID #:78




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     Case 2:17-cv-08894-JFW-JEM Document 1 Filed 12/11/17 Page 79 of 97 Page ID #:79


          RECORDING REQUESTED BY

          RUTGERS PROPERTIES

          AND WHEN RECORDED MAIL TO:

NAME                FIELDBROOK, INC.
ADDRESS             16633 VENTURA BLVD., 6 FLOOR
STATE &ZIP          ENCINO, CA 91436


                  ASSIGNMENT OF DEED OF TRUST AND PROMISSORY NOTE
TITLE ORDER NO.                                          ESCROW NO. CHALETIE                                APN NO. 4391-009-002


For Value Received, the undersigned ELKWOOD ASSOCIATES, LLC, A CALIFORNIA LIMITED LIABILITY COMPANY
hereby grants, assigns, transfers and conveys to FIELDBROOK, INC., A CALIFORNIA CORPORATION all of its right, title
and beneficial interest in and to that certain Deed of Trust dated MARCH 20, 2009 executed by SOL YMAN
YASHOUAFAR, AS TRUSTEE OF THE SOLYMAN AND SOHEILA YASHOUAFAR 2004 TRUST DATED MARCH 8,
2004 as Trustor, to PACIFIC WESTERN BANK~ as Trustee, for the benefit of PACIFIC WESTERN BANK as beneficiary
and recorded as Instrument No. 20090425658, on March 25, 2009, in Book                       , Page              of Official
Records in the Office of the County Recorder of Los Angeles County, California, describing land in said county as,

Lot 34 in Tract No. 24484, in the city of Beverly Hills, County of Los Angeles, State of California, as per map recorded in
book 657, pages 99 and 100 of maps, in the office of the county recorder of said county.

A.P.N. 4391-009-002          AKA: 580 CHALETTE DRIVE, BEVERLY HILLS, CA 90210

Together with the Secured Promissory Note or Notes therein described or referred to, the money due and to become due
thereon with interest, and all rights accrued or to accrue under said Deed of Trust, any liens, security interest, and
remedies arising thereunder. This Assignment is made without recourse, representateions or warranties of any kind
except as may be set forth in any Loan Sale Agreement that may be between assignor and assignee.

A notary public or other officer completing this certificate verifies only the identity of the individual who signed the document
to which this certificate is attached, and not the truthfulness, accuracy, or validity of the document •


Dated: February 18, 2015                                                    ELKWOOD ASSOCIATES, LLC


                                                                        BY:~The!    a S. Guerrero, Manager
'f
STATE OF CALIFORNIA                }
COUNTY OF LOS ANGELES} S.S.


On FEBRUARY 18, 2015 before m/ EDWARD M. MAZZARINO, (a Notary Public), personally appeared Thelma S. Guerrero, who
proved to me on the basis of satisfactory evidence to be the person(s) whose name(s) is/are subscribed to the within instrument and
acknowledged to me that he/she/they executed the same in his/her/their authorized capacity(ies), and that by his/her/their signature(s)
on the instrument the person(s), or the entity upon behalf of which the person(s) acted, executed the instrument.

I certify under PENALTY OF PERJURY under the laws of the State of California that the foregoing paragraph is true and correct.


WITNESS my hand and official seal.




DOCUMENT PROVIDED BY CITIVEST FINANCIAL SERVICES, INC.                                                               ASSGN.OOC


                                                                                                                        007
                                                                                                             Citivest000042
Case 2:17-cv-08894-JFW-JEM Document 1 Filed 12/11/17 Page 80 of 97 Page ID #:80




   A notary public or other officer completing this
   certificate verifies only the identity of the individual
   who signed the document to which this certificate is
   attached, and not the truthfulness, accuracy, or
   validity of that document.




   State of California

   County of        L{7_5:    fl.,lji;i('f;,>



   on      ·<_- 1 'l. ~ 1 ~                       before me,c:-~ il~tJJ.D !f,;f   f. II zz-(tf.tJJIJ<'7   ,Notary Public
                                                                         {Insert Name of Notary Public and Title)

   personally appeared            I   n<SL I'll tb· tf.       6'151'-Ro.q,tJ

   who proved to me on the basis of satisfactory evidence to be the person(s} whose

   name(s} is/are subscribed to the within instrument and acknowledged to me that

   he/she/they executed the same in his/her/their authorized capacity(ies), and that by

   his/her/their signature(s) on the instrument the person(s), or the entity upon behalf of

   which the person(s) acted, executed the instrument.



   I certify under PENALTY OF PERJURY under the laws of the State of California that the

   foregoing paragraph is true and correct.




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                                                                                                                    Citivest000043
Case 2:17-cv-08894-JFW-JEM Document 1 Filed 12/11/17 Page 81 of 97 Page ID #:81
Case 2:17-cv-08894-JFW-JEM Document 1 Filed 12/11/17 Page 82 of 97 Page ID #:82




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                      RUTGERS PROPERTIES             I
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                      WHEN RECORDED MAIL TO          I
                      AND MAIL TAX STATEMENTS TO      I
                                                     I
      NAME:              FIELDBROOK, INC.            I
      ADDRESS:           16633 VENTURA BLVD.• 6 FL   I
      CITY:              lOS ANGElES                 I
      STATE, ZIP:         CA 91436

      Trustee's Sales Number: 15-01-1002~i!. _J                      Assessor's Parcel Number: 4391-009-002
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     _XX_ GRANTEE _XX_ WAS_ WAS J>lQf THE FORECLOSING BENEFICIARY: CONSIDERATION $5J!OO,()(I().OO
           UNPAID DEBT: 5.800.000.00 NON-EXEMPT AMOUNT: L_QJ!Q

              COMPUTED ON THE CONSIDERATION OR VALUE OF PROPERTY CONVEYED.

                COMPUTED ON THE CONSIDERATION OR VALUE LESS LIENS OR ENCUMBRANCES REMAINING AT TIME OF
                SALE

                UNINCORPORATED AREA ~XX- CITY OF: BEVERLY HILLS


                                           TRUSTEE'S DEED UPON SALE
     CITIVEST FINANCIAL SERVICES, INC., A CORPORATION (HEREIN AFTER CALLED TRUSTEE),
     HERBY GRANTS AND CONVEYS, BUT WITHOUT COVENANT OR WARRANTY OF ANY KIND,
     EXPRESSED OR IMPLIED, REGARDING TITLE TO SAID PROPERTY OR ANY ENCUMBRANCES
     THEREON TO

                      FIELDBROOK INC., A CALIFORNIA CORPORATION

     (HEREIN CALLED GRANTEE), THE REAL PROPERTY IN THE CITY OF BEVERLY HILLS,
     COUNTY OF LOS ANGELES, STATE OF CALIFORNIA, DESCRIBED AS FOLLOWS:

     Lot 34 in Tract No. 24484, in the city ofBeverly Hills, County of Los Angeles, State of
     California, as per map recorded in book 657, pages 99 and 100 of maps, in the office of
     the county recorder of said county.

      A.P.N. 4391-009·002
      AKA: 580 CHALETTE DRIVE, BEVERLY HILLS, CA 90210

     THE CONVEYANCE IS MADE PURSUANT TO THE AUTHORITY AND POWERS VESTED IN
     SAID TRUSTEE, AS TRUSTEE, OR SUCCESSOR TRUSTEE, OR SUBSTITUTED TRUSTEE,
     UNDER THAT CERTAIN DEED OF TRUST EXECUTED BY SOLYMAN AND SOHEILA
     YASHOUAFAR 2004 TRUST DATED 3-8~2004 {"TRUSTOR"), RECORDED 03-25-2009, AS
     DOCUMENT NO. 2009-0425658, OF OFFICIAL RECORDS OF LOS ANGELES COUNTY,
     CALIFORNIA: AND PURSUANT TO THE NOTICE OF DEFAULT RECORDED 1127/2014, AS
     INSTRUMENT NO. 2014-0086798, IN BOOK,    PAGE        , OF OFFICIAL RECORDS OF
     SAID COUNTY.    TRUSTEE HAVING COMPUED WITH ALL APPLICABLE STATUTORY
     REQUIREMENTS OF THE STATE OF CALIFORNIA AND PERFORMED ALL DUTIES REQUIRED
     BY SAID DEED OF TRUST, INCLUDING, AMONG OTHER THINGS, AS APPLICABLE, THE
     MAILING OF COPIES OF NOTICES OR THE PUBLICATION OF A COPY OF THE NOTICE OF
     DEFAULT OR THE PERSONAL DELIVERY OF THE COPY OF THE NOTICE OF DEFAULT OR
     THE POSTING OF THE COPIES OF THE NOTICE OF SALE OR THE PUBLICATION OF A COPY
     THEREOF.


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   Case 2:17-cv-08894-JFW-JEM Document 1 Filed 12/11/17 Page 84 of 97 Page ID #:84




         AT THE TIME AND PLACE FIXED IN THE NOTICE OF TRUSTEE'S NOTICE OF SALE, SAID
         TRUSTEE DID SELL SAID PROPERTY ABOVE DESCRIBED AT PUBLIC AUCTION ON
         FEBRUARY 20, 2015 TO SAID GRANTEE, BEING THE HIGHEST BIDDER THEREFORE, FOR
         $5,800,000.00, CASH, LAWFUL MONEY OF THE UNITED STATES, IN SATISFACTION OF THE
         INDEBTEDNESS THEN SECURED BY SAID DEED OF TRUST.

                  X A notary public or other officer completing this certificate verifies only the identity of
         the individual who signed the document to which this certificate is attached, and not the truthfulness,
                                        accuracy, or validity of the document.


         DATED: FEBRUARY 25,2015                                    CITIVEST FINANCIAL SERVICES, INC.




         .,__,


         STATE OF CALIFORNIA   J
         COUNTY OF LOS ANGELES ) S.S.

         On FEBRUARY 25, 201~before me, EDWARD M. MAZZARINO, (A Notary Public), personally
         appeared R.M. SANDOVAL, who proved to me on the basis of satisfactory evidence to be the person(s)
         whose name(s) is/are subscribed to the within instrument and acknowledged to me that he/she/they
         executed the same in his/her/their authorized capacity(ies), and that by his/her/their signature(s) on the
         instrument the person(s), or the entity upon behalf of which the person(s) acted, executed the instrument.

          I certify under PENALTY OF PERJURY under the laws of the State of California that the foregoing
          paragraph is true and correct.


         WITNESS my hand and official seal.




         DOCUMENT PROVIDED BY CITIVEST FINNJCIAL SERVICES                                        TRUSTEE'S DEED. DOC




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Case 2:17-cv-08894-JFW-JEM Document 1 Filed 12/11/17 Page 85 of 97 Page ID #:85




   A notary public or other officer completing this
   certificate verifies only the identity of the individual
   who signed the document to which this certificate is
   attached, and not the truthfulness, accuracy, or
   validity of that document.




   State of California

   County of       L 15 J1. A!tj~!<{;~


                                                  before      mePt~Yf-,()   Wt r' 1AZ'flt<f't}f'         ,Notary Public
                                                                        (Insert Name of Notary Public and Title)

   personally appeared           -"""'""'-R:....'_f1__;;;-'$_P......;..Jt_J1___6'_I/_-t.~~-_'--------------'
   who proved to me on the basis of satisfactory evidence to be the person(s) whose

   name(s) is/are subscribed to the within instrument and acknowledged to me that

   he/she/they executed the same in his/her/their authorized capacity(ies), and that by

   his/her/their signature(s) on the instrument the person(s), or the entity upon behalf of

   which the person(s) acted, executed the instrument.



   I certify under PENALTY OF PERJURY under the laws of the State of California that the

   foregoing paragraph is true and correct.
                                                                                     ··'"""'"'~~~~o. EDWARD M. MAZZARINO ::J'
                                                                                                    COMM. # 2015231          :..
                                                                                                 tlOTARY PUBliC • CAliFORNIA G)
                                                                                                 LOS ANGELES COUNTY 0
                                                                                                COMM. EXPIRES MARCH 26, 2017 ..




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Case 2:17-cv-08894-JFW-JEM Document 1 Filed 12/11/17 Page 86 of 97 Page ID #:86
Case 2:17-cv-08894-JFW-JEM Document 1 Filed 12/11/17 Page 87 of 97 Page ID #:87




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                              THIS FORM IS NOT TO BE DUPLICATED
           E503741                                                                                                                                  002
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Case 2:17-cv-08894-JFW-JEM Document 1 Filed 12/11/17 Page 88 of 97 Page ID #:88




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                      RECORDING REQUESTED BY          I
                                                      I
                      ELKWOOD ASSOCIATES, LLC          I
                                                      I
                     WHEN RECORDED MAIL TO            I
                     AND MAIL TAX STATEMENTS TO       I                         20150248924'
                                                      I
            NAME:       ELKWOOD ASSOCIATES, LLC        I
            ADDRESS:    1 CAPITOL MALL #660           I
            CITY:       SACRAMENTO                    I
            STATE, ZIP: CA 95814                       I
            Trustee's Sales Number: 15·01-1002b                        Assessor's Parcel Number: 435o-009-012
     )&..   T'e..                                 1
                 ~~!':'.._ ~;f.NJ:;:.l) fJec .. l'i.£/ii:~
            DOCUMENTARY TRANSFER TAX$ NONE

            _XX_ GRANTEE_XX_ WAS_ WAS Wd'J!THEFORECLOSING BENEFICIARY: CONSIDERATION $782,508.05
                  UNPAID DEBT: 781.508.05 NON-EXEMF'I' AMOUNT: $ ·0·

            _COMPUTED ON THE CONSIDERATION OR VALUE OF PROPERTY CONVEYED.

            _ _ COMPUTED ON 1HE CONSIDERATION OR VALUE LESS LIENS OR ENCUMBRANCES REMAINING AT TIME OF
                    SALE

            _ _ UNINCORPORATED AREA _ X X _ CITY OF: BEVERLY HILLS


                                             TRUSTEE'S DEED UPON SALE
            CITIVEST FINANCIAL SERVICES, INC., A CORPORATION (HEREIN AFTER CALLED TRUSTEE),
            HERBY GRANTS AND CONVEYS, BUT WITHOUT COVENANT OR WARRANTY OF ANY KIND,
            EXPRESSED OR IMPLIED, REGARDING TITLE TO SAID PROPERTY OR ANY ENCUMBRANCES
            THEREON TO

                     ELKWOOD ASSOCIATES, LLC, A CALIFORNIA LIMITED LIABILITY COMPANY

            (HEREIN CALLED GRANTEE), THE REAL PROPERTY IN THE CITY OF BEVERLY HILLS,
            COUNTY OF LOS ANGELES, STATE OF CALIFORNIA, DESCRIBED AS FOLLOWS:

            Lot 5 and the Northerly 15 feet of Lot 4 of Tract No. 4201, in the city of Beverly Hills,
            County of Los Angeles, State of California, as per map recorded in book 46, page 63 of
            maps, in the office of the county recorder of said county.
            AP.N. 4350-009-012
            AKA: 910 NORTH REXFORD DRIVE, BEVERLY HILLS, CA 90210

            THE CONVEYANCE IS MADE PURSUANT TO THE AUTHORITY AND POWERS VESTED IN
            SAID TRUSTEE, AS TRUSTEE, OR SUCCESSOR TRUSTEE, OR SUBSTITUTED TRUSTEE,
            UNDER THAT CERTAIN DEED OF TRUST EXECliTED BY MASSOUD YASHOUAFAR, AS
            TRUSTEE OF THE MASSOUD AND PARINAZ YASHOUAFAR 2003 TRUST, u/d/t JUNE 18, 2003
            ("TRUSTOR"), RECORDED 03-25-2009, AS DOCUMENT NO. 2009-0425659, OF OFFICIAL
            RECORDS OF LOS ANGELES COUNTY, CALIFORNIA: AND PURSUANT TO THE NOTICE OF
            DEFAULT RECORDED 1/27/2014, AS INSTRUMENT NO. 2014-0086791, IN BOOK,   PAGE
            , OF OFFICIAL RECORDS OF SAID COUNTY. TRUSTEE HAVING COMPLIED WITH ALL
            APPLICABLE STATUTORY REQUIREMENTS OF THE STATE OF CALIFORNIA AND
            PERFORMED ALL DUTIES REQUIRED BY SAID DEED OF TRUST, INCLUDING, AMONG
            OTHER THINGS, AS APPLICABLE, THE MAILING OF COPIES OF NOTICES OR THE
            PUBLICATION OF A COPY OF THE NOTICE OF DEFAULT OR THE PERSONAL DELIVERY OF
            THE COPY OF THE NOTICE OF DEFAULT OR THE POSTING OF THE COPIES OF THE NOTICE
            OF SALE OR THE PUBLICATION OF A COPY THEREOF.



                                                             1
                                                                                                                             003
                                                                                                                  Citivest000119
Case 2:17-cv-08894-JFW-JEM Document 1 Filed 12/11/17 Page 89 of 97 Page ID #:89




      AT THE TIME AND PLACE FIXED IN THE NOTICE OF TRUSTEE'S NOTICE OF SALE, SAID
      TRUSTEE DID SELL SAID PROPERTY ABOVE DESCRIBED AT PUBLIC AUCTION ON
      FEBRUARY 23, 2015 TO SAID GRANTEE, BEING TilE lllGHEST BIDDER THEREFORE, FOR
      $782,508.05, CASH, LAWFUL MONEY OF THE UNITED STATES, IN SATISFACI'ION OF THE
      INDEBTEDNESS TiffiN SECURED BY SAID DEED OF TRUST.

                   +Anotary public or other officer completing this certificate verifies only the identity of
      the individwll who signed the document to which tbis certificate is attached, and not the truthfulness,
                                      accuracy, or validity of the document •


      DATED: FEBRUARY 25, 2015                              CITIVEST FINANCIAL SERVICES, INC.




                                                           BY~4.4£
                                                                R. M. S      OVAL, V. P.
      I
      STATE OF CALIFORNIA   )
      COUNTY OF LOS ANGELES } S.S.

      On FEBRUARY 25, 20151Jefore me, EDWARD M. MAZZARINO, (A Notary Public). personally
      appeared R.M. SANDOVAL, who proved to me on the basis of satisfactory evidence to be the person(s)
      whose name(s) is/are subscribed to the within instrument and acknowledged to me that he/she/they
      executed the same in his/her/their authorized capacity(ies), and that by hislher/theif signature(s) on the
      instrument the person(s), or the entity upon behalf of which the pe~:son(s) acted, exi!Cuted the instrument.

          I certify under PENALTY OF PERJURY under the laws of the State of California that the foregoing
          paragraph is true and correct.


      WITNESS my hand and official seal.




      DOCUMENT I'ROVICEO BV C:lnlll!$TFI~CJA<. $eRVICES                                         TALJSTEE'S OEEO.OOC:




                                                           2
                                                                                                                   004
                                                                                                        Citivest000120
Case 2:17-cv-08894-JFW-JEM Document 1 Filed 12/11/17 Page 90 of 97 Page ID #:90




   A notary public or other officer completing this
   certificate verifies only the Identity of the individual
   who signed the document to which this certificate is
   attached, and not the truthfulness, accuracy, or
   validity of that document.




   State of California




                                                                                                       ·~
   on        z   -2 ~- lo                         before me, {3/),i.t\ <'1    1\1) r'191~Z4>'l~ :'Notary Public
                                                                     {Insert Name of Notary Public and Title I

   personally appeared _             ___;/2:;:__. ..:..JYl-----:5::::,_4_u---='1):......./l_iJ_A'~l~~-----------'
   who proved to me on the basis of satisfactory evidence to be the person(s) whose

   name(s) is/are subscribed to the within instrument and acknowledged to me that

   he/she/they executed the same in his/her/their authorized capacity(ies). and that by

   his/her/their signature(s) on the instrument the person(s), or the entity upon behalf of

   which the person{s) acted, executed the instrument.



   I certify under PENALTY OF PERJURY under the laws of the State of California that the

   foregoing paragraph is true and correct.




                                                                                                                            005
                                                                                                                 Citivest000121
Case 2:17-cv-08894-JFW-JEM Document 1 Filed 12/11/17 Page 91 of 97 Page ID #:91
                 Case 2:17-cv-08894-JFW-JEM Document 1 Filed 12/11/17 Page 92 of 97 Page ID #:92

                                                                                                                                                                          EXHIBIT



         ,,`.     oaz,t>=adlvlly.
                  t.ssQCt'.rioN
                                                                      RiSibENTiAL,LIASE OR
                                                          MONTH- TO.)VIONT i-1 RENTAL. AGREEMENT
          c'r OP xt.xlaI.'co zts'                                       (C.A.R, Pon LR, Revised ß2l43)
    Date3/                             ,                                          ylw            nrrì Elkwood Associates, T,r,{(utandlord'gand
                                                    1!                                  '                                                               ('Tenant') agree as follows:
    I.    PROPERTY:               'I
          A. landfordrents to Tenant and Tenant rents from Landlord, the real property and tmprovements.described as:                            cr 1   f) N      R P3rf rij
                          D.                                                                                                                                              (" Premises"),
          E. The amrsesareforUte sots. use as a personal residence by the.folloWin named person(s) °ply:
                                hö                                                              heir 4 c illdr                             ssoud
         C. The following personal pr arty, main nine pursuant to paragraph i1, is included:                 NnnP
                                                                                            .   or (lf'checked) the personal property on the attached addendum.
        D. The Premises may be subject lo a local rent control ordinance Nn
    2, TERM: The term hegins on (date) ' 3 / 7/ 201 .!                                                        ("Conimencehtent Date "), (Ohebk A or B);
         A.   Monthto,Monttt: and continues as a month- tomotiltt     tenancy. Tenant may terminate the tenancy by giving written notice at (east 30 days
              prior.lo lbg intended termination date. Landlord may lemtlnate the tenancy by giving written notice as provided by law. Sitch notices may be
              given on atíy date,
         [? B.Lease: ati, shall terminate on (date)                  3 /1/2017                                     at                      12:01
                                                                                                                                           NAM! O PM.
              Tenant shall Vacate the Premises upon termination of the Agreement, unless; (l) Landlord and Tenant havé extended this Agreement in
              Writing or signed a new agreement; (U) mandated by ipoal rent coiltrol'taw; or (ill) Landlord accepts Rent from Tenant (other than past due
              Rent), in which case a month-tomonth tenancy shall be created which either party may termttmie as specified in paragraph.2A, Rent shall
              be aim rate agreed to by Landlord and Tenant, or as allowed by law. All other terms and conditions of this Agreement shalt remain in full
                                                                                                                                               ,
              ferce and effect,
    3, RENT: "Rent" shall'inean ail monetary obligations of Tenant to landlord under the terms of the Agreement, except security deposit.
         A. Tenant agrees to pay S 25,00'0                  .  per month for the term of the Agreement.
         B. Kent is payabt In advance on he ism (orU                  ) clay clench catendatt month, and is delinquent on the next day.
         C. If commencement Date fails on any day other than the day Rent is payable under paragraph 3B, and Tenant has paid one full month's Rent In
            advance.of Co1(imencement Date, Rent for Ute second calendar month shall be prorated and Tenant shall pay 1l3otit of Cite monthiy rent per day


                                                                 .
            for each day.rematntng in proratedsecond month.
         D. PAYMENT: Re shall be paid by @personal Bieck, [,,money order, IRoashler's check, or Dottier                                                 , to
            (name)      EakwondLg s_Qcaa}                     r,T                                        (phone)                                          at      -




        (address)                    +w                                                                                                                     ( or
        at any other (oration stn, sequently spec fie ,y endlord in writing to Tenant) (and U if checked, rent may be paid personally, between the hours
        of     $ : 3 OAM         and 5 : 3 OPM             on the following days            First of Month                                   j. if any payment
        is returned for'non- sufficient funds ( "NSF") or because tenant stops ayment, (lieti, after that; (I) Landlord may, In writing, require Tenant to pay
        Rent in cash fór three months and (r)) all future Rent shall be paid byLl money order, prpoashlees check.
q. SECURITY DEPOSIT:
    A. Tenant agrees to pay $           0                                     as a security deposit. Security deposit will be   transferred to and held bÿ the
    ' owner of tttePremises, orUheid in owner's Brokers trust account.
    13. Allor any potion of thesecurity deposit may be used, as reasonably necessary, to: (I) cure Tenant's default In payment of Rent (which includes
        Late Charges,NSF fees or other sums due); (it) repair damage, èxduding ordinary wear and tear, caused by Tenant or by a guest or licensee of
        Tenant; (IiI) cII al Premises, if necessary, upon termination of fife tenancy; and (lv) replace, or return personal propetl r or'epputtenahces,
        SECURITY DEpoSIT SHALL NOT BE USED BY TENANT IN LtEU'Oi PAYMENT'OP LAST MONTH'S RENT. If all or any portion of the
           security depos lls user! during the tenancy;, Tenaltt agrees to reinstate the total security deposit within Cite days after written notice Is delivered to
           Tenant. Wtlhin 2i 'days after Tenant vacates Ute Premises, Landlord shall: (ß) furnish Tenant an itemized statement Indicating the amount of any
          'security deposit'tecetved and Use basis for its disposition and supporting dooumentatton as required by Çailfomta Civil Code § 1260,6(g); and (2)
           return any rdit)t;tn(ng portion of the security deposit to Tenant,
       C; Seourity depósit will not he returned tt {stil all Tenants have vacnted the`Pvenüses and all keys returned. AO security' deposit returned
           by cheat sitatf he made out to all Tenants named on this Agreement, or as subsequently modified,                          .1.
                                                                                                                                                1.
       D. No interestwl)I he paid on security deposit unless required by local law.
       E. if the aeouttty,'depostt Is held by Owner, Tenant agrees not to hold Broker responsible for Its return. if the security deposit Is held In owner's
           Broker's trust :caount, and Brokers authority is terminates! before expiration of tills Agreement, and security deposit is released to someone
         ' other than Tenant, then Broker shalt notify Tendnl, In Writing, where and to whom security deposit has been released. Once Tenant has been
     '     provided suctr,notIoe, Tenant agrees not to hold Broker responsible for the security deposit,
    6. 4ViOVE -IN COSTS;tECEIVEb1DUE Move -in Rinds made payable to
       011(111 VG}.WU Vil 1lJG,UMu,,q,cwU, ,w ' J .... 1--- ...- .-- .__...
               Category '                        Total Due                 Payment'Received                    Brilance Due                    . Date Due
         Rent frotp
         To                "(date)
         *security Deposit , '.                                                                                                                                       .
                                 ,'                                                                                                                                                              ;

         Other                   l..
         Total                                                                                                 '
         "The maximum atriqunt landlord may receive as security daposu, however                      tlesignated,.uaiuwl Exceed   Iwo monUis'   R ent for uhfumished p ret rises, or
         three months' Reni for turn h  remises.

         Tenant's Initials (.                      ) ('          )
                                                                                                         t.andlord'sIttlUals (                            )   t
    © 2013, Callfomta Assa                 of REALTORS ®. Inc.                                                                                  Date
                                                                                                        IRevievfed by
    IR REVISED 12113 WAGE ß OF 6)                                                                                                                                                `(A rillw""'W
                                                                                                                                                         'I our 6)
                               RE-SiPENTIAL LEASE OR MONTH- ToNIONTI-1 RENTAL.IUGR>~MENT (LR PAGE
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                   Case 2:17-cv-08894-JFW-JEM Document 1 Filed 12/11/17 Page 93 of 97 Page ID #:93



      Premises;                                                                                                                        Date;
     G,     LATE CHARGE; RETURNED çHECKS:
            A. Tenant acknowledges either tate payment of Rent or Issuance of a returned check may cause Landlord to incur costs and
               expenses, the exact amounts of which are extremely difficult and impractical to determine. These costs may Include, but are not
               limited' to, processing, enforcement and accounting expenses, and late. charges Imposed on Landlord. If any Installment of Rent
                  due front Tenant is not received by Landlord within 5 (or              ) calendar days after the date due, or if a check is returned,
                 'Tenant shall pay to Landlord, respectively, an additional sum       of $ 200               or                % of the Rent due as
                   a Late Charge and 325.00 as a NSF fee (or the first returned check and $35.00 as a NSF fee (or each additional returned check,
                   either or both of which shall be deemed additional Rent.
           B. Landlord and Tenant agree that these charges represent a fair and reasonable estimate of. the costs Landlord may Incur by
              reason of Tenant's late or NSF payment, Any Late Charge or NSF fee due shall be paid with the current installment of Rent,
              Landlord's acceptance of any Late Charge or NSF fee shall not constitute a' waiver as to any default of Tenant. Landlord's right
              to collect a Late Charge or. NSF fee shall not be deemed an extension of the date Rent is due under paragraph 3 or prevent
                 Landlord iron exercising any other rights and remedies under this Agreement and as provided by law,
  7. PARKING: (Check A or B) .
          A. Parking is permitted as follows: On             site
                      The right to parking fis U is not included In the Rent charged pursuant to paragraph 3. If not Included in the Rent, the
                      parking rental fee shall be an additional S                       .   per month. Parking space(s) are to be used for parking
                      properly licensed and operable motor vehicles, except for trailers, boats, campers, buses or trucks (other than pick-up
                      trucks). Tenant shall pads in assigned space(s) only, Parkng space(s) are to be kept clean. Vehicles leaking all, gas or other
                      motor vehicle fluids shalt not be parked on the Premises, Mechanical work or storage of inoperable vehicles is not permitted
               in parking space(s) or elsewhere on the Premises.
 OR            Parking is not permitted on the Premises.
             13,
 s.       STORAGE: (Check A or B)                          -

          A. Storage is permitted as follows; On s to
                 The right to separate storage space (J Is, 0 is not, included in the Rent charged pursuant to paragraph 3. if not included in
                      the Rent, storage space fee shall be an additional S                                          per month. Tenant shall store only personal
                     property Tenant owns, and shall not store property claimed by another or ill which another has any right, title or interest.
             '       Tenant shall not store any Improperly packaged food or perishable goods, flammable materials, explosives, hazardous waste
            or other inherently dangerous material, or illegal substances,
OR B,       Except for Tenant's personal property, contained entirely within the Premises, storage is not permitted on the Premises.
S, UTILITIES: Tenant agrees to pay for all utilities and services, and the following charges; electric , water , gait
    except, sewer, tel . , cable , etc                                      which shall be paid for by-
                                                                                  ,                               f ()ay utilities are not separately metered;
    Tenant shall pay Tenant's proportional share, as reasonably determined and directedby- L.                     es are separately metered, Tenant shall
    place utilities in Tenant's naine as of the Commencement Date. Landlord is only responsible       n- :11 iv and maintaining one usable telephone jack
    and one telephone line to the Premises. Tenant shalt pay any cost for conversion from existing utilities service provider. .
ß0, CONDITION OF PREMISES: Tenant his examined Premises and, If any, all furniture, furnishings, appliances, landscaping and fixtures, including
    smoke detector(s),
          Check all that apply:)
                     Tenant acknowledges these items are clean and in operable cond(Non, With the following exceptions:      None
            a.       Tenant's acknowledgment of the condition of these items is contained In an attached statement of condlllon (C,A.R. Form MIMO).
      Ed C,          (i) Landlord will Deliver to Tenant a statement of condition (C,A.R, Form MiMO)                       within 3 clays after execution of this
                     Agreement; prior to the Commencement Date; within 3 clays after the Commencement Date.
                     (ii) Tenant shall complete and return the MiMO to Landlord within 3 (or               ) days after Delivery. Tenant's failure to
                     return the MIMO within that time shall conclusively be deemed Tenant's Acknowledgement of the condition as stated In the
                    MIMO,      _.    .


      E3D.. Tenant will provide Landlord a list of items that are damaged or not in operable condition within 3 (or                                 ) days- after
                     Commencement Date; not as a contingency of this Agreement but rather as an acknowledgment alike condition of the Premises.
      E.  other:
i1. MAINTENANCE:
       A. 'Tenant shall properly use, operate and safeguard Premises, Including if applicable, any landscaping, furniture, furnishings and
           appliances,     all mechanical, electrical, gas and plumbing fixttlres, and smoke alarms, and keep. them and the Premises clean,
                    and well ventilated. Tenant shall be responsible for checking and maintaining all carbon monoxide detectors and any
           sanitary and
           additional phone lines beyond the one line and Jack that Landlord shall provide and maintain. Tenant shall immediately notify
           Landlord, in Writing, of any problem, malfunction or damage with any item on the property. Tenant shall he charged for all repairs
           or replacements caused by Tenant, pets, guests or licensees of Tenant, excluding ordinary wear and tear. Tenant shall be
           charged for all damage to Premises as a result of failure to report .a problem in a timely manner. Tenant shall be charged for
             repair of drain blockages or stoppages, unless caused by defective plumbing parts or tree roots invading sewer lines,
       B.      Londford (Tenant shall Water the garden, landscaping, trees and shrubs, except:

       C. ULandlord LI/fenant shall maintain the garden, landscaping, trees and shrubs, except:

       D. I Landlord L ,Tenant shall maintain Ail property
 '     E. Tenant's failure to maintain any lens for which Tenant is responsible shall 'give Landlord the right to hire someone to perform
             such maintenance and charge Tenant to cover the cost of such maintenance.
       F. The following Items of personal properly are included In the Premises without warranty and Landlord will not maintain, repair or
             replace them:          None                .




Tenant's initiais (                                                                               Landlord's initials

                                                                                                     IReviewed by       f/      Dale
                                                                                                                                                          A_!
                                                                                                                                                          41
                                                                                                                                                       (qWll,V6iWAI
LR REVISED 12 /13 (PAGE 2 OF G)                                                                                                                         W70AIWMY

                          RESIDENTIAL LEASE OR MONTH -TO -MONTH RENTAL AGREEMENT (LR PAGE 2 OF 6)
               Case 2:17-cv-08894-JFW-JEM Document 1 Filed 12/11/17 Page 94 of 97 Page ID #:94



      Premises:                                                                           .
                                                                                                                                 Date:
      12, NEIGHBOI*IOOD CoNDtTtONS: Tenant is advised to satisfy him or herself as to neighborhood
                                                                                                                     or area conditions, including
          schools, proximity and adequacy of law enforcement, crime statistics, proximity of registered felons or offenders, fire protection,
          governmental services, availability, adequacy and cost of any wired, wireless                                                       tither
         other technology services and Installations, proximity to commercial,
                                                                                            Internet connections or other telecommunications or
                                                                                   Industrial or agricultural activities, existing and proposed
         transportation, construction and development that may affect noise,
                                                                             view, or traffic, airport noise, noise or odor from any source, wild
         and dotnestio animals, . other nuisances, hazards, or circumstances, cemeteries,
                                                                                           facilities and condition of common areas, conditions
         and tnlluences of significance to certain cultures and /or religions, and personal needs, requirements and preferences of Tenant.
  i3. PETS: Unless otherwise provided             In California C(vli Code § 54.2, no animal or pet shall be kept on or about                 the    Premises
          Jtrout Landlord's prior written consent, except:
  14.       (If checked) No SMOKING: No smoking of any substance Is allowed on the Premises or common areas. If smoking does occur
        on Ute Premises or common areas, (I) Tenant is responsible for all damage caused by the smoking including, but not limited
                                                                                                                                          to
        stains, burns, odors and removal of debris; (II) Tenant Is In breach of this Agreement; (Ili) Tenant, guests, and ail others may be
        regtired to leave the Premises; and (Iv) Tenant acknowledges that in order to remove odor caused by smoking, Landlord may freed
        to replace carpet and drapes and paint the entire premises regardless of when these items were last cleaned, replaced, or repainted,
        Such actions and other necessary steps will impact the return of any security deposit. The Premises or common areas may be
     subject to a local non- smoking ordinance.
 15. RULES/REGULATIONS:
        A. Tenant agrees to comply with all Landlord rules and regulations that are at any Ume posted on the Premises or delivered to
           Tenant. Tenant shalt not, and shall ensure that guests and licensees of Tenant shall not, disturb, annoy, endanger or Interfere
           with other tenants of the building or neighbors, or use the Premises for any unlawful purposes, including, but not limited to,
           uslpg, manufacturing, selling, storing or transporting Illicit drugs of other contraband, or Violate any law or ordinance, or commit a
        Waste or nuisance on or about the Premises.
    B. (if applicable, check one)
          81. Landlord shat provide Tenant wtthta copy of the rules and regulations within          days or
    OR     2. Tenant has been provided with, and acknowledges receipt of, a copy of the rules and regulations.
16. Oaf checked) CONDOMINIUM; PLANNED UNIT DEVELOPMENT:
    A. Ti e Premises are a unit In a condominium, planned unit development, common Interest subdivision or other development
        governed by a homeowners' association ( 110A "). The name of the HOA Is
             Tenant agrees to comply with all HOA covenants, condkions and restrictions, bylaws, rules and regulations and decisions ( "HOA
             Rules "), Landlord shall provide Tenant copies of HOA Rules, if any. Tenant shall reimburse Landlord for any fines or charges
             Imposed by HOA or other authorities, due to any violation by Tenant, or the guests or licensees of Tenant.
       B. ;Check one)      .
          U 1. Landlord shalt provide Tenant with a copy of the HOA Rules within                                                                        days
                or
       OR D 2. Tenant has been provided with, and acknowledges receipt of, a copy of the HOA Rules.
17. ALTERATIONS; REPAIRS: Unless otherwise specified by taw or paragraph 2SC, without Landlord's prior written consent,. (I) Tenant
   shall not make any repairs, alterations or Improvements in or about the. Premises including: painting, wallpapering, adding or
   changing locks, installing antenna or satellite dlsh(es), placing signs, displays or exhibits, or using screws, fastening devices, large
  . nails or adhesive materials; (ti) Landlord shall not be responsible for the costs of alterations or repairs made by Tenant; (ill) Tenant shall not deduct
    from Rent the costs.of any repairs, alterations or improvements; and (Iv) any deduction made by Tenant shall be considered unpaid Rent.
18. KEYS; LOCKS;
    A. Tenant acknowledges receipt of (or Tenant will receive       hrtor to the Commencement Date, or                                                     ):
                 key(s) to Premises,                                          remote control devlce(s) for garage door/gate opener(s),
            IJ::: ltey(s) to mailbox,                                                                                                                      ,
                      key(s), to common area(s),
       B. Tenant acknowledges that locks to the Premises [] have,        have not, been re- keyed,
       C.   If Tenant re -keys existing locks or opening devices, Tenant Well humediately deliver copies of all keys to Landlord, Tenant shall
       pay all costs and chargessrclated to loss of any keys or opening devices`. Tenant may not remove locks, even [(Installed by Tenant.
10. ENTRY:                                                                1.
       A. Tenant shall make Premises available to Landlord or Landlord's representative for the purpose of entering to make necessary or
           agreed repairs, (including, but not limited to, Installing, repairing, testing, and maintaining smoke detectors and carbon monoxide
           devices, and bracing, anchoring or strapping water heaters), decorations, alterations, or improvements, or to supply necessary
           or agreed services, or to show Premises td prospective or actual purchasers, tenants, mortgagees, lenders, appraisers, or contractors.
       B. Landlord and Tenant agree that 24 -hour written notice shall* be reasonable and sufficient notice, except as follows: (1) 48 -hour written notice
           Is required to conduct an Inspection of the Premises prior to the Tenant moving out, unless Ure Tenant waives the right to such notice, (2)
           if Landlord has hi writing Informed Tenant that the Premises are for sale and that Tenant will be notified orally to show the premises (C,A,R,
            ,Form NSE), then, for the next 120 days following the delivery of the NSE, notice may be given orally to show the Premises to actual
             or prospective purchasers. (3) No written notice is required if Landlord and Tenant orally agree to an entry for agreed services or repairs If
             the date and Urne of entry are within one week of the oral agreement. (4) No notice Is required: (i) to enter in case of an emergency; (Ii) If
         the Tenant is present and consents at the time of entry; or (Ill) if the Tenant has abandoned or surrendered the Premises.
       C.    (If checked) Tenant authorizes the use of a keysafellockbox to allow entry Into the Premises and agrees to sign a
        .keysafeliockbox addendum (C,A.R. Form KLA). '
20.. SIGNS: Tenant authorizes Landlord to place FOR SALE/LEASE signs on the Premises.
21. ASSIGNMENT; SUBLETTING: Tenant shall not sublet all or any part of Premises, or assign or transfer this Agreement or any Interestin il, without
    Landlord's prior written consent, Unless such consent is obtained, any assignment, transfer or subletting of Premises or this Agreement or tenancy,
       by voluntary act of Tenant, operation of law or otherwise, shall, at the option of Landlord, terminate this Agreement. Any proposed assignee,
       transferee or sublessee shall submit to Landlord an application and credit information for Landlord's approval and, If approved, sign a separate         '
       written agreement with Landlord and Tenant. Landlord's consent to any one assignment, transfer or sublease, shall not be construed as consent to
       any subsequent asstgnn -n 'transfer or sublease and does not release Tenant of Tenant's obligations under tit      reement.

Tenant's Initials (                )(               )                                         Landlord's Initials.(           )(               )

                                                                                                 IReviewed by             Date
LR REVISED 12113 (PAGE 3 OF 6)
                      RL- "SIDENTiAL LEASE OR MONTH- TO -IVtON TH RENTAL AGREEMENT (LR PAGE 3 OF 6)
                  Case 2:17-cv-08894-JFW-JEM Document 1 Filed 12/11/17 Page 95 of 97 Page ID #:95

           Premises:
                                                                                                                                                               Date:
        22. JOiNT AND INDIVIDUAL OBLIGATIONS: If there Is itiore
                                                                                     than one Tenant,
            responsible for the perforhtance of all obligations of Tenant under this Agreement, each one shall be Individually and completely
            whether or not in possession.                                                                   jointly with every other Tenant, and individually,
        23.0 LEAD -BASED PAINT (if checked): Premises were constructed
                                                                                        prior to 1978. In accordance with federal law,. Landlord gives and
               Tenant acknowledges receipt of the disclosures on the attached foram (C.A.R. Form FLD) and
        24.0 MILITARY ORDNANCE DISCLOSURE: (if                                                                 a federally approved lead pamphlet.
                                                                 applicable and known to Landlord) Premises are located within one mile
               once used for military training, and may contain potentially explosive munitions.                                                   of an area
        25,0 PERIODIC PEST CONTROL: Landlord has entered into a contract for
                                                                                                  periodic pest control treatment of the Premises and shall
               give Tenant a copy of the notice orfginaily.given to Landlord by the pat .control company.
                                                                                                            '
        26.[] METHAMPHETAMINE CONTAMINATION: Prior to signing
                                                                                   this. ,etglement, Landlord has given Tenant a notice that a health
               official has Issued an order prohibiting
                                                              occupancy of the property because of methamphetamlne contamination. A copy of the
                 notice and order are attached.
       27. MEGAN'S LAW DATABASE DISCLOSURE: Notice: Pursuant to
           registered sex offenders is made available to the public via an . Section 290.46 of the Penal Code, Information about specified
                                                                             Internet Web site maintained by the Department of Justice at
          www.nmeganstaw.ca.gov. Depending on an offender's criminal history, this information will
                                                                                                    include either the address at which the
          offender resides or the community of residence and ZIP Code to which he or she resides. (Neither  Landlord nor Brokers, it any, are
           required to check this website. If Tenant wants further information, Tenant should .obtain information directly from this
       28. POSSESSION:                                                                                                               website.)
            A. Tenant   is not in possession of the Premises,
                                                                 if Landlord is unable to deliver possession of
                such Date shall be extended to the ciste on which possession Is made available to Tenant.Premises on Commencement Date,
                possession within 5 (or O.                                                                        If Landlord is unable to deliver
                                                           ) calendar days after agreed Commencement Date,
                                                                       .


                by giving written notice to Landlord, and shall bq refunded all Rent and security deposit paid.Tenant may terminate this Agreement
                                                                                                                Possession
                when Tenant has returned all keys to the Premises to Landlord.                                       Is deemed terminated
                                                                                      '
          'B; (] Tenant 1s already In possession of the Premises.
       29. TENANT'S OBLIGATIONS UPON VACATING PREMISES:
           A, Upon termination of this Agreement, Tenant shall; (I) give Landlord all copies
                                                                                             of all keys or opentng..devlces to Premises,
                Including any common ateas; (It) vacate and surrender Premises to Landlord, empty. of all
                and /or storage space; (iv) clean and deliver Premises, as specified* in paragraph C below, topersons;  (ill) vacate any /all parking
                                                                                                               Landlord in the same condition as
                referenced in paragraph 10; (v) remove all debris; (vi) give written notice
                                                                                             to Landlord of Tenant's forwarding address; and (vii)
            B. All alterations /improvements made by or caused to be made by Tenant, with or without Landlord's consent, become the
                                                                                                                                        property
               of Landlord upon termination. Landlord may charge Tenant for restoration of the Premises to the condition
               alterations/improvements..
                                                                                                                         it was in prior to any
            C. Right to Pre-Move-Out inspection and .Repairs: (i) After giving or receiving notice of termination of a tenancy .(C.A.R.
                                                                                                                                           Fenn
               NTT), or before the end of a lease, Tenant has the right to request that an inspection of the Premises take place prior
                                                                                                                                              to
                termination of the lease or rental (C.A.R. Form NRl). If Tenant requests such an Inspection, Tenant shall be given an opportunity
                to remedy Identified deficiencies prior to termination, consistent with the terms of this Agreement. (ill Any repairs or alterations
                made to the Premises as a result of this inspection (collectively, "Repairs ") shall be made at Tenant's expense. Repairs
                                                                                                                                             may be
                perfomed by Tenant or through others, who have adequate insurance and 'licenses and are approved by Landlord. The work
              . shall   comply with     applicable      law,       including   governmental         permit,    inspection       and     approval       requirements.     Repairs     shall be
               'performed in a good, skillful manner with materials of quality and appearance comparable to existing materials. It Is understood
                that exact restoration of appearance or cosmetic items following all Repairs may not be possible. (iii) Tenant shall: (a) obtain
                receipts for Repairs performed by others; (b) prepare a written statement indicating the Repairs performed by Tenant and
                the date of such Repairs; and (c) provide copies of receipts and statements to Landlord prior to termination. Paragraph 29C does not
               apply when the tenancy is terminated pursuant to California Code of Civil Procedure § 1161(2), (3) or (4).
      30. BREACH OF CONTRACT; EARLY TERMINATION: In addition to any obligations established by paragraph 29, in the event of
          termination by Tenant prior to completion of the original term of the Agreement, Tenant shall also be responsible for lost Rent, rental
         ,commissions, advertising expenses and painting costs necessary to ready Premises for re- rental. Landlord may withhold any such
            amounts from Tenant's security deposit.
      31, TEMPORARY RELOCATION: Subject to "local law, Tenant agrees ", 'upon demand of Landlord, to temporarily vacate Premises for a
          reasonable period, to allow for fumigation (or other methods) to control wood destroying pests or organisms, or 'other repairs to
          Premises. Tenant agrees to comply with all instructions and requirements' necessary to prepare Premises to accommodate pest
          control, fumigation or other work, including bagging or storage of food and medicine, and removal of perishables and valuables.
           Tenant shall only be entitled to a credit of Rent equal to the per diem Rent for the period of time Tenant is required to vacate Premises.
      32. DAMAGE TO PREMISES: if, by no fault of Tenant. Premises are totally or partially damaged or destroyed by fire, earthquake, accident or
          other casualty that render Premises totally or partially uninhabitable, either Landlord or Tenant may terminate this Agreement by giving the
          other written notice. Rent shall be abated as of the date Premises become totally or partially uninhabitable. The abated amount shall be the
          current monthly Rent prorated on a 30-day period. If the Agreement is not terminated, Landlord shalt promptly repair the damage, and Rent shall
          be reduced based on the extent to which the damage interferes with Tenant's reasonable use of Premises. if damage occurs as a result of an act
         of Tenant or Tenant's guests, only Landlord shalt have the right of termination, and no reduction in Rent shall be made.
      33. INSURANCE: Tenant's or guest's personal property and vehicles are not insured by Landlord, manager or, if applicable; 11OA,
          against loss or damage due to fire, theft, vandalism, rain, water, criminal or negligent acts of others, or any other cause. Tenant Is
           advised to parry Tenant's own insurance (renter's insurance) to protect Tenant from any such toss or damage. Tenant shall
           comply with any :requlrement imposed on Tenant by Landlord's insurer. to avoid:                                    (1)   , an Increase . In Landlord's . Insurance premium
    3 3b for Tenant shall pay for the increase in premium); or (ii) loss of insurance.                                                                                    .

      .:4. WATERBEDS: Tenant shall not use or have waterbeds on the Premises .unless: (i) Tenant obtains a valid waterbed insurance pottcy;
           (ii) Tenant Increases the security deposit in an amount equal to one-half of one month's Rent; and (Iii) the bed conforms to the floor
          load capacity of Premises.
.     35. WAIVER: The waiver of a        breach shall not be construed as a continuing waiver of the same or any subsequent beach.

      Tenant's Initials (               )(                     )                                                   Landlord's Initials                      )(
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               Case 2:17-cv-08894-JFW-JEM Document 1 Filed 12/11/17 Page 96 of 97 Page ID #:96



     Premises;        910 N. Rexford Dr. B.H. CA 90210
                                                                                                                                                   Date :3 /7/15
    3G NOTICE: Notices may be served at the following address,
                                                               or at any other location subsequently designated:
           Landiord;Elkwood Associates                             LLC
               1 capi a   ssocxaes                             '    ..ii
                                                                                                       Tenant:Massoud Yashouafar
               Sacramento, CA 95814                                                                      910 N. Rexford Dr
  36b.                                                                                                   B.H.CA 90210
    37. TENANT ESTOPPEL CERTIFICATE:
                                               Tenant shall execute and return a tenant estoppel certificate delivered to Tenant by Landlord
          ,Landlord's agent within 3 days after Rs receipt, Failure to coniply with                                                          or
                                                                                    this requirement shall he deemed Tenant's
       that the tenant estoppel certificate Is true and correct, and may be relied upon by                                                                         acknowledgment
                                                                                           a lender or purchaser,                                                            '
   38. REPRESENTATION:
           A. TENANT REPRESENTATION; OBLIGATIONS REGARDING OCCUPANTS; CREDIT: Tenant warrants
          Tenant's rental application are accurate, Landlord requires all occupants 18 years of age or older and all that all statements In
          complete a lease rental application. Tenant acknowledges this requirement and agrees to notify Landlord             emancipated minors to
          Premises reaches the age of 18 or becomes an emancipated minor. Tenant authorizes Landlord and 'Broker(s)       when any occupant of the
          credit report periodically during the tenancy In                                                                        to obtain Tenant's
                                                               connection with the modification or enforcement of this Agreement. Landlord
          cancel this Agreement: (1) before occupancy begins; (II) upon disapproval of the credit report(s); or                                 may
          that information tri Tenant's application is false. A negative credit report reflecting on Tenant's    (Ill) at any time, upon discovering
                                                                                                              record may be submitted to a credit
          reporting agency ((Tenant falls to fulfill the terms of payment and other obligations under this Agreement,
          B. LANDLORD REPRESENTATIONS: Landlord warrants, that unless otherwise specified
                                                                                                                 in writing, Landlord
                                                                                                                       is unaware of (i) any
          recorded Notices of Default affecting the Premise; (it) any delinquent amounts due under any loan secured
          any bankruptcy proceeding affecting the Premises.                                                         by the Premises; and (i(i)
                                                                                                                       .

  38. MEDIATION:
        A, Consistent with paragraphs B and C below, Landlord and Tenant agree to mediate any dispute or claim arising
             of this Agreement, or any resulting transaction, before resorting to court action. Mediation fees,                              between them out
             among the parties involved, if, for any dispute or claim to which this paragraph applies,                        if any, shall be divided equally
      .     attempting to resolve the matter through mediation,                                                   any party commences an action without first
                                                                         or refuses to mediate after a request has been made, then that party shall
            not be entitled to recover attorney fees, even if they would otherwise be available to that party in any such action.
        B. The following matters are excluded from mediation: (i) an unlawful detainer action; (iI) the
                                                                                                                       filing or dnforcement of a mechanic's
            lien; and (iiI) ally matter within the jurisdiction of a probate, small claims or bankruptcy court. The filing of a court action
           the recording of a notice of pending action, for order of attachment, receivership, Injunction, or other provisional                      to enable
             not constitute a waiver of the mediation provision.                                                                                remedies, shall
      C. Landlord and Tenant agree to mediate disputes or claims Involving Listing Agent, Leasing Agent or property
                                                                                                                           manager ( "Broker"),
         provided Broker shall have agreed to such mediation prior to, or within a reasonable time after, the dispute or claim is presented
      .                                                                                                                                                                      to
             such Broker. Any election by Broker to participate In mediation shall not result In Broker being deemed a party to this Agreement.
 40, ATTORNEY FEES: in any action or proceeding arising out of Uds Agreement, the prevailing party between Landlord and Tenant shall
     be entitled to reasonable attorney fees and costs, except as provided In paragraph 39A,
 41. C.A.R. FORM: C.A.R. Form means the specific form referenced or another comparable form agreed to by the parties.
 42, OTHER TERMS AND CONDITIONS; SUPPLEMENTS; D Interpreter/Translator Agreement (C.A,R, Form ITA):
      8Keys'afe /Lockbox Addendum (C.A,R, Form KLA);        LeadBased Paint and Lead -Based Paint Hazards Disclosure (C,A,R. Form FLD1;
        Landlord in Default Addendum (C,A,R, Form LID)

     The following ATTACHED supplements are Incorporated in titis Agreement:


43. TIME OF ESSENCE; ENTIRE CONTRACT; CHANGES; Tillie Is of the essence. All understandings between the parties
                                                                                                                                             are
    incorporated iii this Agreement. Its terms are intended by the parties as a final, complete and exclusive
                                                                                                                expression of their Agreement
   with - respect to its subject matter, and may. not be contradicted by. evidence of any prior agreement or contemporaneous oral
    agreement, If any provision of ttis Agreement is held to be ineffective or Invalid, the remaining provislons will nevertheless be given full
   Coke and.. effect, Neither tills Agreement nor any provision in It may be extended, amended, modified, altered or changed except* in
   writing. This Agreement Is subject to California landlord- tenant law and shall incorporate all changes required by 'amendment or
   successors to such law. This Agreement and any supplement, addendum or nodiflcatiotn, including any copy, may be signed In two or
    more counterparts, all of which shall constitute one and the sane writing.
44. AGENCY:
    A. CONFIRMATION: The following agency relationships) are hereby confirmed for this transaction;
        Listing Agent: (Print firm name) '             None                            -Jr.r4,114-laro flo rtios..
        Is the agent of (cheat one): D the Landlord exclusively; or °both the Landlord and Tenant,
                                                                                                                             -
            Leasing Agent; (Print firm name)            None                                  - -,r?,rt4Ppeyerllos--
            Of not same as j.isti ng Agent) is the agent of (check one):    [j the Tenant excursively; or U the Landlord exclusively; or
           ['both the Tenant and Landlord.
     B. DISCLOSURE: D (If checked); The term of this lease exceeds one year. A disclosure, regarding real estate agency relationships
         (C,A.R, Form AD) has been provided to Landlord and Tenant, who each acknowledge Its receipt.
45.D TENANT COMPENSATION TO BROKER: Upon execution of this Agreement., Tenant agrees to pay compensation. to Broker as
           specified In a separate written agreement between Tenant and Broker.
36b. Check & Correspondence should be mail to:
         Reliable Properties
         6399 Wilshire Blvd. Suite 604
                  .




                      Losgeles, CA 90048                                                                                             (jai
Tenant's Initials (                )(                                                                   Landlord's Initials (

                                                                                                             Reviewed by                    Date
LR REVISED 12113 (PAGE 5 OF 6)

                      RESIDENTIAL LEASE OR MOÑTH- TO- MVION'l'H RENTAL. AGREEIViEN-T (LR PAGE 5 OF 6)
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                   Case 2:17-cv-08894-JFW-JEM Document 1 Filed 12/11/17 Page 97 of 97 Page ID #:97



         Premises:
         46,0 tNTERPRETERffRANSLATOR: The terms                                                                                                                                Date:
                                                                                    of this     Agreement have been Interpreted for Tenant into . the following
                                                                                                                                                                 language:
                   the attached interpreter/translator agreement (C.A,R. Form lTA).                                             . Landlord and Tenant acknowledge receiptof
         47, FOREIGN LANGUAGE NEGOTIATION: If this Agreement has
                                                                           been                                           negotiated by Landlord and Tenant primarily In Spanish,
             Chinese, Tagalog, Korean or Vietnamese, pursuant to the California
                                                                                                                         Civil Code, Tenant shall be provided a translation of this
               Agreement In the language used for the negotiation.
        48. OWNER COMPENSATION To BROKER: Upon execution of this Agreement, Owner agrees
            specified In a separate written agreement between
                                                                                         to pay compensation to Broker as
                                                               Owner and Broker (C,A,R, Fort LOA).
        49, RECEIPT: if specified in paragraph 5, Landlord or Broker, acimowiedgesrecefpt of move -in funds.

              Landlord and Tenant acknowledge and agree Brokers: (a) do
                                                                                not guarantee the condition of the Premises; (b)
              representations made by others; (c) cannot provide legal or tax advice; (d) . will not provide other advice or information cannot verify
              the kpowledge, education or experience required to obtain a real estate license. Furthermore, If Brokers                    that exceeds
              Landlord in this Agreement, Brokers: (e) do not decide what                                                      are not also acting as
                                                                           rental rate a Tenant should pay or Landlord should accept;
              not decide upon the length or other terms of tenancy. Landlord and Tenant agree that they will seek legal, tax, insurance and (f) do
              desired assistance from appropriate professionals.                                                                             and other

       Tenant agrees to ref # t!1                :1        Ises o11 tl e    ...               and co          i ions.
       Tenant
       Address                                                                                       City
                                                                                                                                                                 Date
                                                                                                                                                                 State
                                                                                                                                                                                Y/71/5--Zip
       Telephone                                               Fax                                          E -mail
       Tenant
       Address
      'Telephone
                                            __,r_             Fax
                                                                                                     City
                                                                                                            E-mail
                                                                                                                                                                 Date
                                                                                                                                                                 State                  zip
                                                                                                                                                    .


           0 GUARANTEE:' In consideration of              execution of this Agreement by and between Landlord and Tenant and
                                                                      the
                 consideration,        receipt        of    which
                                                                                                                                      for valuable
                                                         hereby acknowledged, the undersigned ("Guarantor") does hereby: (i)
                                                                      is
                 unconditionally lo Landlord and Landlord's agents, successors and assigns,                                              guarantee
                                                                                             the prompt payment of Rent or other sums that
                 become due pursuant to this Agreement, Including any and all court costs and attorney fees Included In enforcing the Agreement;
                (li) consent to any changes, modifications or alterations of any terni In this Agreement agreed to by Landlord and Tenant; and (iii)
                waive any right to require Landlord andlor Landlord's agents to proceed against Tenant for any default
                                                                                                                               occurring under this
                Agreement before seeking to enforce this Guarantee,
                Guarantor (Print Name)




                                                             -
                Guarantor                                                                                                                                        Date
                Address                                                                                           City                                          State      '           Zip
                Telephone                                            Fax                                     E -mail
     Landlord agre rr_ to r it the Premmi e$ son the above terns and conditions.
     Landlord     #V                        .1 /   Date                Landlord                                                                                                        Date
     Address
     Telephol
                                         `9
                                                  ,
                                                            (/vt l ç;
                                                             Fax
                                                                                                      F. ¿.
                                                                                                        E-mail
                                                                                                                            4                 `A                c              aoA
     REAL ESTATE BROKERS:
     A, Real estate brokers who are not also Landlord under this Agreement are not parties                                                              to    the Agreement between Landlord
     andTenant.
     13. Agency relationships are confirmed In paragraph 44.                                                                                                                                    -
     C, COOPERATING BROKER. COMPENSATION: Listing Broker agrees to pay Cooperating Broker (Leasing Flrm) `'and ' Cooperating
     Broker agrees to accept: (I) the amount specified in the MLS, 'provided }Cooperating Broker is a Participant of the MLS in which the
 'Property is offered for sale or a reciprocal MLS; or (II) 0 (If checked) the amount specified In a separate written agreenlentbetween Listing Broker and
  Cooperating Broker.
I.
     Real Estate Broker (Listing Firm) .tt?. Prtsf                          Mz'                                                                              BRE Lic.#-01'85881-1-
     By (Agent)                                                                                                   BRE Lic, #                                   Date
     Address                                                                                    City                                                            State       Zip
     Telephone                            . Fax                                                         E-mail
     Real Estate Broker (Leasing FirmF.F..fylPro-p -6R e. -                                                                                                  BRE Lic. It
     By (Agent)       '                                                                                           BRE Lic,l1-018S8e11-                        Date
     Address                                                                                    City.                                                          State               Zip
     Telephone                                              ' Fax     .                          .      E -mail
     a sota, Colifamta Assodallat of REALTORSO, fnc. Unttad Slates copyt:gltt taw Mlle 17 Us. Code) (orblds the unouthód:ed dfstributton, display and reptoduetlon of Oils form, or any portion thereof, by '
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     THIS FORM FIAS BEEN APPROVED BY THE cAUFORNIA Assocl,v 1oN Or REALTORSO (CARL NO REPRESENTATION IS MADE AS TO THE LEGAL VALIDITY OR ADEQUACY OFANY
     PROVISION IN ANY sPEctFla TRANSACTION, A REAL Esl'ATE eR01(ER IS 111E PERSON QUALIFIED TO ADVISE ON REAL ESTATE TRANsACTtoNs. IF YOU DESIRE LEGAL OR TAX ADVICE,
     CONSULT AN APPROPRIATE PROFESSIONAL.
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